                                           REPORTERS            RECORD
                                                4                                                3765
     1

                                VOLUME                   OF        25         VOLUMES
 2                             TRIAL COURT              CAUSE      NO.       800112


 3

         THE   STATE    OF    TEXAS                                     IN    THE    DISTRICT        COURT         OF
 4

         VS.                                                            HARRIS       COUNTY      T    E    X   A    S

 5

         CHARLES    MAMOU          JR.                                  179TH       JUDICIAL     DISTRICT
 6



 7




 8




 9




10


11
                                         VOIR    DIRE    EXAMINATION
12


13


14


15


16                     On    the    9th    day    of    September              1.999    the     following

17       proceedings         came    on    to    be    heard       in    the       above-entitled           and


18       numbered      cause       before       the    Honorable             Bob    BurdetteJudge

19       Presiding          held    in    Houston        Harris          County        Texas.


20                     Proceedings          reported          by   machine           shorthand.


21


22                                          WENDY WILKERSON
                               Deputy       Official Court Report
                                                                  e/                     FILED IN
23                                        179th District Court
                                                                                    COURT OFCRIMINAL APPEALS
                                          Harris       County           Texas
24
                                                                                        MAR    2 1 2000

25
                                            ORIGINAL
                                                                                             Bennett      Jr. Clerk
                                                                                   Troy 0.
 1                                    A    P    P   E    A   R   A   N   C   E   S

 2



 3   MR.    LYN    MCCLELLAN
     SBOT    NO.        13396100
 4

     MS.    CLAIRE       CONNORS
 5   SBOT    NO.        0470500


 6   Assistant District                   Attorneys
     1201 Franklin  Ste                   600
 7   Houston           Texas      77002
     713         755-5800
 8

     ATTORNEYS          FOR    THE    STATE         OF   TEXAS
 9




10   MR.    WAYNE       HILL
     SBOT    NO.       59656300
11   4515    Southwest          Freeway
     Houston           Texas         77027
12   713         623-8312


13   MR.    KURT       WENTZ
     SBOT    NO.       21179300
14   5629    W    FM    1960
     Houston           Texas    77069
15   281         587-0088


16   ATTORNEYS          FOR    THE   DEFENDANT

17


18


19


20


21


22


23


24


25
 1                                              CHRONOLOGICAL                                           INDEX
                                                                                                                                                                                    PAGE
 2

     VOLUME    4      1-233
 3

     September        9    1999
 4

     VOIR    DIRE    EXAMINATION
 5
                                        -       -       -       -       -       -       -       -       -       -       -       -       -       -       -       -       -       -
     Appearances           -    -

 6   Proceedings          at    the             Bench                   -       -       -       -       -       -       -       -       -       -       -       -       -       -     3


     Prospective          Juror             No.             9           Eric                Hernandez                                   -       -       -       -       -       -     4


 7   Prospective          Juror             No.             18              Jerri                   McGraw                      Tinnemeyer-                                     -     6




 8   General       Voir    Dire             by          the             Court                   -       -       -       -       -       -       -       -       -       -       -    10



 9   Prospective Juror No. 8 Ruben Cardenas
     Defense   Challenge granted.
10   Prospective Juror No. 9 Eric Hernandez
     Defense   Challenge granted.
11   Prospective  Juror No. 12 Brenda                                                                   Wagy                    -       -       -       -       -       -       -    48

     Exemption granted.
12

     VENIRE    PERSONS                                                                  COURT                               STATE                           DEFENSE
13   GEORGE    PENA                                                                             51                                  53                                  73

     Accepted        into       jury                pool.
14
     JOYCE    SCOTT                                                                             88

15   Defense        Challenge                   granted.

16   FRANCES       HASHAGEN                                                                     92                                  95                                  112
     Accepted        into       jury                pool.
17
     ALEJANDRA       SOLANO             AMIE                                                130                                 133                                     152
18   Accepted        into       jury                pool.

19   JERRIE    MCGRAW          TINNEMEYER                                                   167                                 170                                     184

     Accepted        into       jury                pool.
20
     RAMIE    COLLEEN          COOKSEY                                                      191
21   Excused        by    agreement.

22   STACIE    MARIE       SIBLEY                                                           198                                 202                                     217

     Accepted        into       jury                pool.
23
     Court    adjourned             -       -       -       -       -       -       -       -       -       -       -       -       -       -       -       -       -       -       232
24   Court    Reporters                 Certificate                                         -       -       -       -       -       -       -       -       -       -       -       233


25
     1                               ALPHABETICAL          INDEX


 2                                              COURT           STATE     DEFENSE   VOL.
         AMIE  ALEJANDRA       SOLANO               130          133       152       4


 3       CARDENAS   RUBEN                            45                              4




         4-SIBLEY
         COOKSEY     RAMIE    COLLEEN               191                              4


 4       HERNANDEZ     ERIC                           4                              4


         PENA    GEORGE                              51            53       73       4


 5       SCOTT    JOYCE                              88

                 STACIE MARIE                       198          202       217       4

 6       TINNEMEYER   JERRI MCGRAW             6167              170       184       4


         WAGY  BRENDA                                48                              4

 7




 8

                                          EXHIBIT    INDEX
 9




10

                     There     are   no    exhibits       for   this    volume.
11


12


13


14


15


16


17


18


19


20


21


22


23


24


25
                                                                                                                                      1




                                      P    R    O       C    E    E   D    I    N    G    S

     2




     3




     4   VOLUME          4     1-233

 5       September             9     1999


 6




 7                             THE    COURT                  Okay.             For       the       purposes          of       the


 8       record              were back              in       Cause         No.       800112.                 State       of


 9       Texas          versus       Charles Mamou.                            The       time       of       the    clock       on


10       the       courtroom wall                   is       about         822           a.m.


11                             Before          beginning                  the       voir       dire          individually

12       as    I    understand             it           earlier this morning                                 Venire       Person


13       No.       12    who    travels             by       the      name          of    Brenda             Wagy

14       W-A-G-Y              called       the          courtroom               and       it       is    my

15       understanding                that          Mr.       McClellan                   the       prosecutor                who


16       simply happened                   to       be       here          picked             up    the       phone


17       having          no    idea       who       the.         caller         was       and       it       was    indeed


18       Ms.       Wagy.        And       without             going            into       that           I    understand

19       Mr.       McClellan              you       talked            to       her       firsthand.                 What       did


20       you       say        please

21                             MR.    MCCLELLAN                       First          of       all        I    answered          the


22       phone          as    capital            and          she         asked          for       the       179th


23       District             Court       and       I       said      this          is    179       Capital          Court


24       and       she       identified          herself               as       being          a    juror          who    was


25       selected             yesterday          and          identified                  herself             as    No.       12
                                                                                                                                     2




 1   Ms.    Wagy.           She       said          she       should          have             brought          it    up


 2   yesterday             she       has       a    5-year-old                kindergartner                      that       she


 3   takes       care       of.


 4                         She       was       able          to    get       somebody to                   watch       the


 5   child       or       make       arrangements                      for    the          child          to    get    to        -




 6   kindergarten                the       other             day.           Today          they          were    unable


 7   to    do    so.        And       she          said            I        should             have       claimed my


 8   child       exemption                when       I       had       the    opportunity                        and       she


 9   was    not       going          to    be       able          to    be    here             and       she    doesnt

10   know       whether          she       could             be    here       during                any    of    the


11   trial.


12                         She       said          she       wanted          to       be       a    juror       before

13   would       like       to       be    a       juror           but       this          appeared             to    be    a


14   problem she                couldnt              work          around.                 I       told    her       she


15   needed          to    call       back          at       820        and       talk             to    you     Judge.


16                         THE       COURT               Its           824            and          my    recollection

17   is    Ms.       Wagy       is    blond.                 Shes           not       called             back        yet.


18   Each       is    accurate.                    The       questionnaire                         she    had    filled


19   out    does          show       she       has       a    5-year-old                   child          that       goes       to


20   school.              And    while             Im not              speaking                for       Ms.    Wagy

21   Mr.    McClellan                did       not       use       the       magic             words       thus       of    the


22   problem          is    that          she       wishes             to    claim             her       exception.


23                         Mr.       Hill.          any       objection                to          that    claim

24                         MR.       HILL            Judge              all       I    would             ask    since       her


25   number          is    12    and       not       going             to    be       getting. to               her        Im
                                                                                                                                3




 1   probably          not       going          to       have       any        objection.             She       did


 2   indicate          she       would          call          back       to       the    court.           Perhaps


 3   you    could       just          visit          with       her          for    a    moment       since          were

 4   just    talking             about          several             minutes.


 5                      If       we       get    to       her       and       she        hasnt       called              I-ll


 6   certainly          address             the          Court.              Is    that       all    right

 7                      THE       COURT                  Thats           a    deal.           Now    dont           --    off


 8   the    record.


 9                      Off           the       record          discussion.


10                      THE       COURT                  Gentlemen                 would       you    come          up

11   please        for       a    second.                 No.       9    and       18.


12                      MR.       MCCLELLAN                     The          other       person       I    saw       was


13   not    in    the    pool.              That          was       maybe          somebody else.

14                      THE       COURT                  Okay.           So       two.        Would       you       come


15   up    just    a    second            before              you       leave.


16                      Bench              conference                   not       recorded.

17                      THE       COURT                  Ladies          and       gentlemen              good


18   morning       to    you.             And        before             we    begin           there       is    a



19   matter       that       I    need          to       attend          to.        And        please           I    hope


20   that    you       dont           think          that       anything                out    of    the       ordinary

21   is    going       on        but      there           are       a    couple          of    you    I    need          to


22   invite       up    to       ask      you        a    couple             of    questions

23   individually.                    So please dont                              think       youve        done


24   anything          wrong          because             you       certainly             havent.               Its

25   just    something                I   need           to    attend             to.
                                                                                                                           4




 1                         Mr.        Hernandez              where              are    you      sir           If    you


 2   would       come       up         please.           This              is    Mr.    Eric       Hernandez


 3   Venire       Person              No.    9.        Mr.    Hernandez                     before       we


 4   begin       the       process           that       we    discussed                 yesterday              earlier


 5   this    morning             while           you    and       a        number       of    the       other


 6   folks       --    not       all        of    them       --       the        prospective             jurors


 7   were    seated              in    the       hallway              did        you    have       occasion           to


 8   see    anything                   What       did    you          have           occasion       to       hear

 9   Any conversation                       related          to       this           defendant          in    this


10   case

11                         VENIRE           PERSON       HERNANDEZ                      No     sir.


12                         THE        COURT            Did    you           see       anything          that       you


13   took    to       be    out        of    the       ordinary                 related       to    this


14   defendant             that        in    any       way    involved                 what    the       case       is


15   about        sir

16                         VENIRE           PERSON       HERNANDEZ                      No     sir.


17                         THE        COURT            All    right.                  Mr.    McClellan              any


18   questions




--23
19                         MR.    MCCLELLAN                   No.


20                         THE        COURT            Mr.    Hill               from       you     sir

21                         MR.    HILL             Could          you           ask    Mr.    Hernandez             if


22   he    saw    Mr.       Mamou           at    all    and          if        so


                           THE    COURT                Did    --       earlier out                 in    the


24   hallway          before          we     brought          you          in        here     did       you    have


25   occasion          to    see        the       defendant                     Mr.    Mamou        out       in   the
                                                                                                                         5




 1   hallway

 2                      VENIRE       PERSON          HERNANDEZ                 I    saw       him        pass       by


 3   with    the       guard

 4                      THE    COURT            Okay.          What       was       there               if



 5   anything           at    all    about       seeing         him       that          caught           your       -




 6   eye

 7                      VENIRE       PERSON          HERNANDEZ                 Just          the        way    he


 8   was    dressed          up.


 9                      THE    COURT            And     how     was       he       dressed               sir

10                      VENIRE       PERSON          HERNANDEZ                 In       an    orange


11   outfit.           That    was    it     sir.


12                      THE    COURT            Okay.


13                      VENIRE       PERSON          HERNANDEZ                 He       was        cuffed.


14   I    think    he    was       cuffed.


15                      THE    COURT            That     was     a    conclusion


16                      VENIRE       PERSON          HERNANDEZ                 I    think           I    saw




--18
17   him


                        THE    COURT            Mr.     Hernandez                  what       if        anything

19   at    all    do    you    think       as    a    result         of    seeing             what           you


20   saw         What    result       or    what        affect            if       anything              at    all

21   would       that    have       upon     your ability                 to       be    a    juror           in



22   this    case

23                      VENIRE       PERSON          HERNANDEZ                 Nothing                  sir.


24                      THE    COURT            Would     it     in       any       way       interfere


25   with    what       we    had    discussed           yesterday                  that       is        to    say
                                                                                                                    6




 1   the    defendants                 presumption              of    innocence

 2                      VENIRE          PERSON           HERNANDEZ             Im not          sure.


 3                      THE       COURT         Okay.            Mr.       Hill

 4                      MR.       HILL          Yes        sir.


 5                      THE       COURT         Thank           you.       Mr.        Hernandez          have


 6   a    seat        sir.        Do    you    have        a    motion

 7                      MR.       HILL         Yes         Your       Honor.


 8                      THE       COURT         Its            granted.          Ms.     Tinnemeyer

 9   if    you    would        please         come        up     maam.           Ms.     Tinnemeyer             I




10   want    to       ask    you       some    questions              about      this    morning

11   while       you    and       perhaps       all        --    at    least      many       of    the


12   other       panelists             were    out        in    the    hallway         before       the


13   process          began.           Did    you    have        occasion             anytime this

14   morning in             the    hallway          to     see       the   defendant          in    this


15   case        Mr.    Mamou

16                      VENIRE          PERSON       TINNEMEYER                   Nods       head.

17                      THE       COURT         Please           talk      out.


18                      VENIRE          PERSON       TINNEMEYER                  Im      sorry.          No

19   I    didnt.

20                      THE       COURT         You        shook       your      head    no.       She


21   needs       to    take       it    down.


22                      VENIRE          PERSON       TINNEMEYER                  Okay.


23                      THE       COURT         Were           you    privy      to    any


24   conversation              from any         source           whether         it    was    another


25   venire       person           whether          it    was        somebody else            about
                                                                                                                                  7




 1   Mr.    Mamou             the       defendant             in    this          case           at       all    this


 2   morning




 they-6
 3                           VENIRE          PERSON          TINNEMEYER                     No.           People       were


 4   just       talking            about          why       someone          out    of          jail        they


 5   shouldnt                be    in       jail.           Im not           quite          sure          what


     were       talking            about.


 7                           THE    COURT               And    relate             that          to    me    again

 8   please          what          you       heard.


 9                           VENIRE          PERSON          TINNEMEYER                     Somebody             said

10   Why        is   a       capital          murderer             out       and    why          arent           they       in


11   jail
12                           THE    COURT               And    was          there       a       response          to       that


13   rhetorical               question                  I    guess          it    was       rhetorical.


14                           VENIRE          PERSON          TINNEMEYER                     I    dont           know.        My


15   response            was            I    dont           know    if       he    is       or       he    is    not.

16   You    see      what          Im saying

17                           THE    COURT               It    was       asked       of          you

18                           VENIRE          PERSON          TINNEMEYER                     Yeah.


19                           THE    COURT               Okay.           I    see.           That          was    the       end


20   of    it    from         your          standpoint             as       far    as       you       know

21                           VENIRE          PERSON          TINNEMEYER                     Im trying                 to




--24
22   think.          Yes           it       was     mostly about                  getting             here       at    800

23   oclock              I    mean

                             THE    COURT               Ive        heard          that          from       all    these


25   guys.
                                                                                                                   8




     1                      VENIRE    PERSON          TINNEMEYER                And    everybody


     2   thought       830.         Were        not     supposed          to    be    here       today

     3   supposed       to    be    here    tomorrow.               Ya11 dont               do     me    that


     4   way.     I    remember       we    were        talking          about        figuring          out


         the    forms.        They    were       long.
                                                                                                               -

     5




     6                      THE    COURT         Just       general        socializing.                  Okay.


     7   Mr.    McClellan           any    questions

     8                      MR.    MCCLELLAN               So      you    did not        see


     9   Mr.    Mamou       come    into    the       --    coming        to    court       today

    10                      VENIRE    PERSON          TINNEMEYER                No.



    11                      MR.    MCCLELLAN               Okay.


    12                      THE    COURT         Mr.       Hill.


    13                      MR.    HILL     I        guess      the      only    question           I    would


    14   have    is    if    this    potential             juror        could    identify           for       us


    15   the    people       that    were       making       the        comment       about        why    a



    16   person       charged       with    capital          murder        is    not     in      jail.         I




    17   mean     you       dont     need       to    turn      around.          And     if      you     could


    18   look    at    the    panel       and    tell       the     Court       where       theyre

    19   seated        that       would    be    helpful           to    us.


    20                      VENIRE    PERSON          TINNEMEYER                No.    3.



    21                      THE    COURT         From       the     right       front       row

    22                      VENIRE    PERSON          TINNEMEYER                Uh-huh.            Chair


    23   one     two        three.        Chair       three.


    24                      THE    COURT         Young       man         tall    young        man

    25                      VENIRE    PERSON          TINNEMEYER                Got    to     be    the
1
                                                                                                                      9




 1   third one.


 2                      MR.    HILL         It     would       be       No.        6     right

 3                      THE    COURT         What        direction

 4                      VENIRE       PERSON        TINNEMEYER                      Im     coming             from


 5   right       here.        One     two        three.


 6                      MR.    HILL         Shes         got       me       turned        around.


 7                      VENIRE       PERSON        TINNEMEYER                      I    tend       to       turn


 8   people       around.


 9                      THE    COURT         Well            that       wouldnt               be    the       same.


10                      MR.    HILL         First        three          would           get    to       three.


11                      MR.    MCCLELLAN                Dont        worry about                    me.


12                      MR.    HILL         Im      --       just       a    couple           more.           Are


13   you    counting          from    the    closest           to       the        Judge       here

14                      VENIRE       PERSON        TINNEMEYER                      Uh-huh.


15                      MR.    HILL         Okay.            One        two            three.           The


16   gentleman          thats        wearing        a    beige          shirt.


17                      THE    COURT         The        kind       of       tall        young       man

18                      VENIRE       PERSON      TINNEMEYER                        Uh-huh.              I   mean


19   if    youre        asking       was    anything           said          directly               no        I




--22
20   dont        think    so.        It    was     just       --    I       think        we    were


21   questioning

                        THE    COURT         Let        me    also          tell        you    and          assure


23   you    no    one    thinks       there      was         any    nefarious                 activity.


24   Thats        the    point       of    this.         There          are        some       things          we


25   need    to    explore       to       make   certain            we       do        understand             the
                                                                                                                                10




     1   depth    of       what       did       occur           because              quite       frankly

     2   through       the       fault          of     absolutely                   nobody       here     there        was


     3   some    administrative                       snafu          this       morning          that    may     have


     4   opened       up    the       potential                 for       a    problem.


     5                      Is    there          anything                 else                                          -




     6                      MR.       HILL             No.


     7                      THE       COURT                Ladies             and    gentlemen           please

     8   this    is    just       certainly                 remarkably                unusual           there     is        a



     9   telephone          call.           I    never              go    to    telephone             calls.      If



    10   youll remember                 yesterday                        we    invited          10.     And    look


    11   around.           Youll        see           nine.              No.    10    is    on    the    phone.             I




    12   need    to    attend          to       it.         I       need       to    take       these    gentlemen

    13   with    me.


    14                      Recess              taken.

    15                      THE       COURT                Ladies             and    gentlemen           now     there


    16   should       only be          nine           of    you.              Let    the    record       reflect


    17   that    the       20-minute             after              800 oclock                  phone    call     to


    18   us   occurred           at    20       minutes of                    900.         Lets        dont      hold


    19   these    folks          up.        Well            pick          that       up.


    20                      Ladies          and        gentlemen                    this    is    the    first


    21   day     and        I    guess           first              days       quite       frequently          breed


    22   confusion.              If    that           is    the          case       they    ordinarily          do

    23   today    is       no    exception.                     I    want       to    spend       a    couple     of


    24   minutes       to       talk    with           you          about       what       we    did    not    talk


    25   about    yesterday.
1
                                                                                                                                    11




 1                      And            quite       frankly              the    reason             we    didnt

 2   talk    about          them        yesterday             is    because             of    the       size          of


 3   the    crowd.           And        what       were        going          to       talk       about          we


 4   could       have       made        no    headway          because             we    dont           know          whos

                 to    be    in        the    group.           And            want       to       have       it       tha-t
 5   going                                                               I




 6   way    so    were           sure        we    understand                whats           on    the       table             so


 7   to    speak.


 8                      We       talked           yesterday             about          the    case          thats

 9   involved.              We    talked           about       the       defendant                over       here

10   Mr.    Charles          Mamou            whos           represented                by    his       two


11   attorneys              Mr.    Wayne           Hill       and       Mr.    Kurt          Wentz           who       is



12   out    running          errands              and       will    be       along       shortly.                 The


13   State       of    Texas            two       Assistant             District             Attorneys                 Lynn


14   McClellan          and       Claire           Connors.


15                      We       talked           about       the       defendant             in       this       case


16   is    charged          with        the       offense          of    capital             murder.


17   Specifically                 it     is       alleged          to    have          occurred             in    Harris


18   County           Texas        on        the       7th    day       of    December                 1998.


19                      We       talked           about       if    the       defendant                is    found


20   guilty of          the       offense              of    capital          murder              the       State          is



21   going       to    request           the       jury       to    answer             the    two       special


22   issues           the    two        questions             we    talked             about           in    such          a



23   way    that       obligates              the       Court       to       assess          the       punishment

24   at    death.


25                      Before we                 go    any    further             I    would          like       to
                                                                                                                                                12




     1   spend       some              time       with       you       talking           about            a       couple          of


     2   concepts.                     First       off        in       the       State       of       Texas                there       are


     3   about       a       dozen           different             types          of     conduct                  that       if


     4   alleged             by        a    Grand       Jurys              indictment                and          if       proved

     5   beyond          a    reasonable                    doubt          would       warrant                a       conviction


     6   for    the          offense              of    capital             murder.


 7                                For        example              the       intentional                   murder             of    a



 8       police          officer              or       law    enforcement                 officer                     when    the


 9       person          doing              the    killing             knows          that       the          person          is       a



10       law    enforcement                       officer.                 Same       with       a    fireman                 murder


11       for    hire              intentional                 murder             of    more          than             one    person

12       during          the       course              of    the       same       criminal                transaction

13       the    intentional                       murder          during          the     course                  of       robbery

14       during          the       course              of    aggravated                rape           during                the


15       course          of       kidnapping                  during             the     course               of       burglary.


16                                There           are       just       a    number        of         different                types


17       of    conduct.                     About       a    dozen          in    all.           We       are          confronted

18       in    our       case              with    two       of    those          types.              Type             one    in


19       paragraph                one        of    the       indictment                  the         allegation                   is


20       that    there             was        an       intentional                killing             of          a    woman       by


21       the    name          of       Mary        Carmouche                while        the         defendant                was          in


22       the    course             of        committing                the       offense             of       kidnapping.


23                                If        that       were       to       be    proved          beyond                a



24       reasonable                doubt               that       would          cause       a       jury to                return          a



25       verdict          of       guilty of                 capital            murder.               Also             alleged
                                                                                                                             13




 1   within       the          same     indictment                   is    another           type       of       capital


 2   murder       that           is    to    say        the       intentional                taking          of       life


 3   without          justification                     or      excuse          of       more     than       one


                  during              the    course             of     the      same       criminal              episode.




 defendant-6
 4   person


 5                         Specifically                      it      is    claimed           this


     intentionally                    caused          the       death          of    a    person        named


 7   Terrance             Gibson        and       a    person             named Mary              Carmouche.


 8   That    if       proved           beyond          a     reasonable                  doubt       would


 9   justify          a    jury        finding             the       defendant             guilty of

10   capital          murder.


11                         So     there          are       two       different             types        of


12   capital          murder           alleged             to     have         been       committed              in


13   the    indictment.                     And       if     the       jury         finds       the     defendant


14   beyond       a       reasonable              doubt           to      be    guilty          of     either         one


15   of    them       or       both     of       them           youd           find      the      defendant

16   guilty of             capital           murder.


17                         What        the       other          10     different             types          of


18   conduct          are        we     dont           care          about          because          theyre           not


19   involved             in    our     case.              And       when       the      trial         is    all      over


20   with    if       you       have        an    interest                and       want     to      know        what


21   they    are           Ill        tell        you.            We      dont        want        to    muddy         up


22   the    water          now.         So       any       questions                right      now

23                         We    talked           about           how      the       case       is     broken         into


24   two    parts.              The     first          part          of    the       trial        the       jury      is


25   only    concerned                with        whether              the      defendant              is    or       isnt
                                                                                                                                     14




     1   guilty.           Defendant                    not    guilty              case       over.           Defendant


 2       guilty           we    have          a    second           phase          of     trial         which       we       get


 3       off     the      evidence                relating              to       the    crime       that       was




 second-6
 4       committed             because             youd already                        convicted          the


 5       defendant             of    that          crime        or       we       wouldnt           have       a



         phase.




--12
 7                             And       instead              the       second          phase       the       focus          of


         the     evidence            is                   the       character                 background                --    the
 8                                            upon


 9       character             or    the          reputation                 and       background             and       the


10       personal          moral             responsibility                       of    the    defendant                on


11       trial       for       the       offense              that       occurred             that       can       be


         come     in.          And       when           you    have          three       or    four       people

13       involved          in       the       same        crime              a    jury might             want       to       know


14       whos        more       responsible                     more             blamable          in    the       conduct.


15                             Thats              what        thats              about.        So       you    take          all


16       the     information                  that        you       hear          from       both       sides       --       from


17       both     sides         --       I    didnt mean that                            from both             portions

18       of    the     trial             use       it     all       and          come    up    with       what          you


19       think       is    the       right          answer              to       the    two    questions                that


20       are    over       here          on       this        easel.


21                             And       were           going           to       spend       time       this       morning

22       talking          about          these          two     questions.                    We    take       for


23       Question          No.       1       --    and        please             look    at    them.           It       helps


24       to    talk       about          them.            Question                No.    1    asks            Do    you       find


25       from the          evidence               beyond            a    reasonable                doubt       that          there
                                                                                                                                     15




     1   is    a    probability                that       the           defendant             would      commit


     2   criminal          acts       of       violence                 that      would        constitute                a



     3   continuing             threat          to       society

     4                      As       we    said          yesterday                no    matter who             the


     5   defendant              no    matter what                      the     evidence             no    matter

     6   who       the    victim           no       matter what                   the       case      theres                 never


     7   two    possible             answers             to       that       question.              Yes        we    do         or


     8   no     we       dont.            You       answer             the     question            the    way       in




--14
     9   which       the    evidence                takes          you.


10                          Question                No.       2    asks             Taking         into


11       consideration                all       of       the       evidence             including           the


12       circumstances                of       the       offense             --    thats           going       to    be


13       what      you     heard          in    the       first          part          of    the    trial


         including          the       character                    background                 the     personal

15       moral       culpability                    same          as    responsibility                    thats

16       going       to    be    what          you       heard          the       second       half       of    the


17       trial.


18                          The       first          half          of    the       second          question

19       simply tells                you       go    back          over       all       the    evidence             of


20       the    case       for       the    purpose                of    asking             yourself this

21       question               Within          the       evidence                in    this       case        is    there


22       any    mitigating             circumstances                         that       is    sufficient             in


23       our minds          to       cause          us    to      believe              that    because          of       the


24       uniqueness             of    that          mitigating                circumstance                 a    life


25       sentence         would        be       a    more         appropriate                 verdict          in    this
                                                                                                                                           16




 1   case     than         the          death        sentence.


 2                         Again           no    matter who                   the       defendant               no       matter


 3   what     the      evidence                  no       matter who                 the      victim            no       matter


 4   what     the      case              theres            never          but        two      possible           answers

 5   yes    or    no.              You     answer          whichever                way       you       think                         -




 6   appropriate                   based        upon       the       evidence.


 7                         If       you       answer           yes            to    No.       1    and    no             to


 8   Question          No.          2      the       law       says       I       have     no      choice            I    have


 9   no    option              I    have        absolutely                no       discretion             I     must


10   sentence          the          defendant              to     death            and     thats          what           will


11   occur.         If         you       should           answer          those          questions              in       any


12   way    other          than          yes     and       no     in      this          order           again            the


13   law    says       I       have        no    other          choice              I    have       no    option                  I




14   have    no     discretion                   I       must     sentence               the       defendant              to


15   life        and       thats              exactly           what          I    will       do.


16                         So           what     were           saying             is    yes       and    no     in       that


17   order       means             death.            A    no    to     the         first          question           means


18   you    dont           ever          get     to       the     second            question             because              a       no


19   to    the    first             question              is    different                than       a    yes     or       no.


20   Excuse       me.              Yes     and       no.        Which             means       if    you       answer              no


21   to    the    first             question              theres              no    way       you       can    answer


22   the    second             question              and       ever       get       the       death       penalty

23   back    in     the            case.


24                         A       no    to     the       first        question               a    is    life


25   sentence.                 A    answer           of    yes       to       each       of       those       two
                                                                                                                            17




 1   questions          is    a        life       sentence.           A    yes        and       no       is    a




 can-6
 2   death       sentence.                  Any    questions          about           the       machinery

 3   Okay.


 4                      Lets            talk       about       the    content               the          verbiage


 5   contained          within              the    questions.              First           off           you


     see    the    first          phrase           in    the     first       question                starts          off

 7   Do    you    find       from           the    evidence          beyond           a    reasonable


 8   doubt.        Now        we        talked          about       the    reasonable                    doubt


 9   business          yesterday.


10                      It    is        exactly          the     same      thing           here.              What


11   that    means       to       you        is    that       the    States               got    to       prove       to


12          what       the    answer              to    this     first       question                should          be.
     you


13   We    know    that       because              any       time    something              has          to    be


14   proved       to    you       beyond           a    reasonable           doubt          that          means       the


15   States        got       to    prove           it    to    you.


16                      Thats               why    starting          off     a    case           all


17   defendants          are       innocent              and     they      remain           innocent


18   unless       or    until           the       States         evidence             proves             beyond       a



19   reasonable          doubt              that       the    defendant           is       in    fact          guilty.


20   So    starting          off        a    case       at    the    first        phase              a



21   defendants              always              not    guilty and           stays          not          guilty

22   unless       the    States                  evidence        proves          to       the    contrary

23   that    is    that       he        is       guilty.


24                      So        it        is    at    the    second        phase              starting             off


25   the    second       phase              of    the    trial       the     answer             to       that       first
                                                                                                                                18




 1   question            is    no.         Its        the       same       logic          as        starting            off


 2   the       first      phase           being       not       guilty.              The       answer             to    that


 3   first          question             starts       off       being          no    and       stays          no       unless


 4   the       States          evidence              proves          beyond          a    reasonable                   doubt


 5   that          the   answer           should        be      yes.


 6                        So        what        have       we    learned             so       far            What       we


 7   have          learned      is        this          At      the       first          phase          of    a



 8   criminal            trial            there       is     always            the       presumption                   of


 9   innocence            that           the    defendant             on       trial          is    innocent.


10   That          presumption             certainly             can       be       overcome             by


11   quality evidence                      that       establishes                   in    a    jurys mind

12   beyond          a   reasonable                 doubt       the       defendant                is    not


13   innocent             in    fact            based        upon         the       evidence             the


14   defendant            is    guilty.


15                        At    the        beginning             of       the       punishment                phase


16   in    a       capital      murder              case     wherein            a    person             had       been


17   found          guilty of            the        offense          of    capital             murder              the


18   presumption               of    being           innocent             probably             had       been          erased


19   by    the       evidence            presented              in    the       first          phase.              But


20   now       a   new    presumption                 pops       up       in    its       place.


21                        And       the        presumption that                      pops          up    in       the


22   beginning            of    the        second          phase          of    a    capital             murder


23   trial          is   that       it     is       presumed          that          for       all       people


24   convicted            of    capital              murder           the       appropriate

25   punishment               should           be    life.
                                                                                                                                              19




     1                          Now            how        do    we       know          that            Well               we    know


 2       because              starting           off           on    this          first             question              the       answer


 3       is    no         unless           the       State           proves                beyond       a    reasonable




 question-6
 4       doubt        the       answer           should be                    yes.              We    know       from           our


 5       conversation                  that          a     no       answer             to       the    first


         means        a       life     sentence                 because                thats           different                 than


 7       yes     or       no    in     that          order.


 8                              So         starting                 off       at       the       second          phase           of       a



 9       trial        wherein              a    person              being          convicted                of       capital


10       murder               its      presumed                 the          appropriate                punishment

11       should be              life            unless              the       States                 evidence              proves


12       beyond           a    reasonable                  doubt             the       answer          to    the           first


13       question              should be                 yes.




--19
14                              Anybody              have           any       questions                how       I        got    to


15       that     point                Okay.               So       back          to       the       verbiage.                  It


16       starts           as          Do       you        find       from the                   evidence             beyond           a



17       reasonable              doubt           theres                  a    probability                   --       lets            talk


18       about      probability.                           Now           in       the       Courts           charge


         youll            get    it        at    the           end       of       evidence             in    the           first


20       phase      and         get        a    charge              at       the       end       of    evidence                 of


21       the     second          phase               if        there          is       a    second          phase.


22                              There           are        going             to    be       a    lot    of       definitions

23       for    you.            There           are        going             to    be       a    lot    of       instructions


24       for    you.            There           are        going             to    be       words           however                  that


25       are    not           going        to    be        defined                for       you.        And          if        you    say
                                                                                                                                               2.0




     1   to    yourself                  How         in       the    world            do    we     know      what          it



 2       mean               How        are    you       going        to         define       it     for      you
 3                                 Its        simple.               If     were            going       to    use       a    term


 4       peculiar                 to    the     law          and    business               there       is    no    reason                 we


 5       should             expect           you     to       know        what        that        term      is.        Were           -




 6       going          to        define        it      for        you.          If    were         going         to       be


 7       using          a        term    we    all           use    in     home            work        friends              family


 8       everyday                  were        not           going        to     define          that       for    you.


 9                                 Probability                 is    one         of    those       words          were           not


10       going          to       define         for          you    because            you       use     that      term          all


11       the       time.               What    probability means                           to     you       thats           your


12       call.              There        are       --     and       Im not             permitted             to    define                 it


13       for       you       or        instruct           you       as     to     what       it    means          but       I    am


14       permitted                 to    tell        you       by    comparison                  that       whatever


15       the       word          probability does                        mean         to   you         there       are          two


16       things             it     cant        mean.


17                                 First       off           whatever             the      word        probability

18       means          to       you     in    your          mind          it    must        mean        something               more


19       than       a    possibility.                        Anything             could          possibly happen.

20       Just       cause              something             could         possibly              happen       doesnt

21       mean       its           probably              going.


22                                Flipping              it     over            whatever           the       word


23       probability means                           to      you     it        cant        mean        something                such


24       as    a   certainty.                      Simply           because            something             could


25       probably                happen        does          not     mean         that       its        certain             to
                                                                                                                                 21




 1   happen.           And       you       know          that       because          if    you        went    to          your


     baker                   and          told        him      youre        going          to    win     the          14
 2               today


 3   million dollar                   lottery or probably                            going       to     win       the


 4   14    million dollars                       --      just       give    me       seven       and     you          can


 5   have       the    rest          of    it       --    and       see    what       he       says.


 6                      So       we       know        that         whatever          probability


 7   means           its     not          going          to    mean       something             more     than             a



 8   possibility but                      cant           mean       something             greater        than             a



 9   certainty.              Why          is     that         an    issue            Its        an     issue


10   for       this    reason                  The       State       has    to       prove       beyond           a



11   reasonable             doubt          the        existence            of    a    probability of


12   future          acts    of       violence.


13                      Can          you        see      how       grossly       unfair          it     would             be


14   to    a    defendant             if       the       law       only    required             the     State             to


15   prove       beyond          a    reasonable                   doubt    the       existence              of       a



16   possibility that                      the        person         on    trial          could       commit


17   future          acts    of       violence

18                      Or       to       take        the      same       thing       and       turn     it


19   around.           Can       you       see        how      unfair       it       would       be     to    the


20   State       to    require             them          to    prove       beyond          a    reasonable


21   doubt       a    certainty                of     the      existence             of    future        acts             of


22   violence

23                      So       thats              why       we    chose       the       middle        ground

24   probably.              If       the       word       probably          to       you       means     something

25   thats           more    likely              to      happen       than       likely          not     to       happen
                                                                                                                                      22




 1   thats        a       deal.           Probability                is        well              football             season


 2   started.              On    a    football          game          the          higher             the    odds          the


 3   less    the          probability.

 4                         You       talk       to    some       weather                man       --    talk          to    a



 5   weather          man       on    television.                    One       of       them          says       20    one       -




 6   of    them       says       40        60.        The       greater                the       probability

 7   progressing                 thats           your       call.              I       do    want       you       to       know


 8   whatever             the    word          probability means                            to    you       its        got       to


 9   be    something             independent                and       different                   from       the       word


10   possibility                and       certainty.


11                         Any       questions          about             that               Back       to       the


12   question.              Do       you       find    from the                evidence                beyond          a



13   reasonable             doubt          theres           a    probability                      that       the


14   defendant             would          commit       criminal                acts          of       violence

15                         When       we       talk    about          criminal acts                         of    violence


16   we    mean       a    term most             generic             sense             keeping          in       mind


17   its     the          States           obligation                to    prove             the       answer          to


18   this    question                should be          yes.              Its           not       required that

19   the    State         prove           the    existence                of       a    probability                   that


20   the    defendant                would       commit          additional                      capital         murder


21   in    the    future.


22                        Certainly              if    that          testimony                   --    that      evidence


23   exists       they          are       entitled          to       present                it    to    the       jury.


24   But    the       State          is    required             to    prove             the       existence                of


25   the    probability                   of    the    commission                      of    criminal            acts
                                                                                                                                        23




     1   of    violence.               Criminal                acts       of       violence             --    murders

 2       robberies               rapes              assaults              attempted                murders

 3       kidnappings.


 4                              Those          are       all    criminal                acts       of    violence


 5       towards           persons.                 Criminal acts                   of.      violence          can                  -




 6       include           acts       of       violence             as    to       property              the       burning

 7       down        of    somebodys                    building              or    automobile                 or       so        on.


 8       The    certain           kind             of    burglaries                that       require          a    breaking

 9       to    get        either       onto             land    or       into       a    building.                 The


10       beating           in    of    somebodys                    windshield                or       automobile              with


11       a    brick.


12                              All    of          those       are       criminal             acts       of    violence


13       as    to     property             but          they    are       criminal                actsof           violence.


14       And    it        is    that       generic             type       circumstances                      that       the


15       State        is       required             to    prove          to    you       that          the    defendant


16       on    trial           would       commit.              Theres              a    probability                he       would


17       commit           additional                acts       of    violence.


18                              Criminal acts                   of       violence.                 Any       questions

19       about        that            And          these       criminal acts                      of    violence             if


20       they       were        proved             to    you        must       rise          to    the       level       that


21       they       constitute                 a    continuing                threat          to       society.


22                              Now        I       want    to       spend          just       a    couple          of


23       seconds           talking             with       you       about          the       word       society

24       because           ordinarily                   when    we       think          of    society           we       think


25       of    people           kind       of       like       the       same      boat           we    are.        We       think
                                                                                                                              24




     1   about       the    people          we       see       in    our        neighborhood.


 2                          We    think          about          the        people          we    see       at    work.




 about-6
 3       We    think       about       the       people             we     come       into       contact             with.


 4       We    dont        think       about          those          others               for    example              when


 5       we    think       about       society                 we    almost           never          think


         the    people          who    are       confined                 within          the    walls          of    the


 7       penitentiary.                 They          also       are        a    piece       of       society.


 8                          Id        ask       you       to    consider              --    the          word    society


 9       is    not    going       to       be    defined             for        you        but       I    would       ask


10       you    to    consider             making          a    distinction                 in       your mind          if


11       you    feel       comfortable                with          the        distinction                between       the


12       word    community             and.      society.


13                          We    all       live          in    different                 communities                 but


14       were        all    a    piece          of    the       same           society.              And       these


15       criminal          acts       of    violence                must        be    such       that          constitute


16       a    continuing          threat             to    society.                  We    know          society       must


17       necessarily             include             those          people           behind          the


18       penitentiary             walls          because             if        they       didnt            that       means


19       that    the       nice       lady       who       teaches              school          to       the    inmates


20       in    the    penitentiary                   system          when        she       checks          in    to    do


21       her    work       everyday             at    800           oclock                she    does          not


22       lose    her       right       to       be    free          from        criminal             acts       of


23       violence          while       doing          her       job       and        get    back          to    her    life


24       when    she       punches          out       at       the       end     of       the    day.


25                          Thats           preposterous.                        And       its           the    same
                                                                                                                                 25




     1   with    nurses              same        with       medical              personnel                same       with


 2       wardens           and       same        with           inmates.              They       also      have       the


 3       right       to    be       free     from          criminal              acts       of       violence.


 4                             So      what       Im            saying       is       that       I    believe         that


 5       the    word       society           can       mean          all     people          all       the      time


 6       everywhere             because           if       it     didnt               that       question            would


 7       say    criminal             acts        of    violence              that        constitute              a



 8       continuing             threat           to    the        citizens             of    Harris            County

 9       Texas       and       it    does        not       say       that.


10                             So      thats           the        first          question.                Does       anybody

11       have    any       questions              about           the      first         question                Okay.


12       Again        if       you     answer          no       to    the        first       question                youll

13       stop    right          there.            Case          closed.               Because          theres          no


14       answer       you       can     come          up    with        to       the     second           question

15       that    will          be    consistent                 with       yes        and    no      because          the


16       death       penalty           is    imposed.                 The        death       sentence            will       be


17       imposed at             that        time.


18                             If    you     do       answer          the        first       question            yes

19       then    you       proceed           to       the       second           question              and      the


20       second       question              is    pretty             unique           compared            with       other


21       aspects          of    our     law.           The       first           thing       that         we    can    see


22       about       the       first        question             is     that          the    phrase             Do     you


23       find    from          the     evidence             beyond           a    reasonable               doubt            is


24       not    in    that          question.


25                             Now      that          means          this        is    going         to    be    the    very
                                                                                                                                     26




     1   first        time           that    you        the    jury         is     going         to    be    asked              to


     2   make     a    decision              wherein          the     States           not       required             to


     3   prove        to    you        what       the    answer        to       that    question             should


     4   be.      And       we        know    theyre           not     required             to    prove          it    to



     5   you     because              the    phrase           Do      you       find    from          the    evidence


     6   beyond        a    reasonable              doubt             is    not     there.


     7                          Well         where       in    the     world        does         that       leave          us

     8   Because           if    the        States        not       required           to    prove          to    you


     9   what     the       answer           to    that       first        question          --       that       second


    10   question           should           be     and       theyre            not     and       we       know       from


    11   our    conversation                  yesterday             the     defendants                 never


    12   required           to       prove        anything.


    13                          So      if    the       defendants               not    required             to       prove


    14   to    you    what           the     answer       to    that        second          question             should


    15   be     and        theyre not                   then    where           does    that          leave       us       if


    16   nobody        is       required           to    prove       to     us     what      the       answer          to


    17   it    should           be

    18                          It     leaves       us    perfectly              simply          in    this


    19   posture.               The     law       recognizes          there        may       be       many       cases


    20   wherein           there        is    absolutely             no     evidence             of    a


    21   mitigating              circumstance                 because           nobody       is       required

    22   to    put    that           evidence           into    the        case.


    23                          So      all       were        simply        saying          is    at       the    outset


    24   there       is     no       obligation           of    either           side       --    on       either


    25   side    to        supply           any   evidence           of     a    mitigating
1
                                                                                                                                              27




 1   circumstance.                           The    only           obligation                that       exists            is        on


 2   the        jury          to    go       back       over          all        the    evidence           in       the         case


 3   when           you       get       to    this       question                 to    see       if    theres                 any


 4   mitigating                    evidence             in        the      case         not       that     there               be


 5   any            but       that       you       see.            Double          check          yourself.


 6                                Basically this                      is     a    safety          valve.            Are         you


 7   satisfied                    that       based       upon           the       uniqueness             of     the            case

 8   the       death              sentence          is       really              what       you    want       to     do.                If



 9   you       get           to    the       second          question                  then       youre         going               to


10   do    it           unless                    take       it                   with       a    no    answer            --
                                        you                           away                                                          I




11   mean           a    yes       answer.              That          is     to    say       you       find     a



12   mitigating                    circumstance.


13                                Any    questions                about           that            Im     going            fast


14   and       this           is    a    little          precise                 but    please          stop        me     if           you


15   have       a        question.                 And           frankly               the       only    reason            Im

16   doing              this       is    to       make       an       attempt               as    feeble        as        it        may


17   be        to        just       simply try                   to     make       you       feel       comfortable.


18                                This       is    not       a    hocus           pocus          operation.                Its

19   pretty              logical.                 You    dont              get     that          from    television


20   but       it        truly          is        and    I       want        you       to    feel       comfortable


21   with       yourself.                     The       word          mitigating                   is    not        going               to


22   be    a    word              thats           going          to     be       defined          for    you        in     the


23   Courts                  charge.


24                                Mitigating                 however               as       were        using        it        here


25   means              is    there          anything             any        facet          of    some    defendants
                                                                                                                              28




 1   background              their          life           the    circumstances                   of       the    case


 2   that    make       you       think          they       ought          to    have       a    second


 3   chance            Thats           my phraseology                       but       thats           basically

 4   it.     You       think       theyre              salvageable                    think       they          ought


 5   to    have    a    life       sentence.                                                                            -




 6                      There          is    a    question             --       there       is    a    next


 7   question          in    the       second          question             which          says       is    that


 8   mitigating             circumstance                   sufficient                  So       what       were

 9   asking       you       to    do    if       you       find       any       mitigating

10   circumstances                in    the       case           what       were           saying          to    you     is


11   this         Take       that       circumstance                   whatever             it    is       or    those


12   circumstances                whatever             they       are       and       put       them       up


13   against       and       compare             them       to    all       the       bad       things          you


14   heard       about       in    this          case       and       do    these          nice       qualities


15   about       the    defendant                rise       to    the       level          to    overcome             all


16   the    bad    things          in       the       case.


17                      If       your       answer          to    that          question          is       yes        yes


18   is    the    whole          answer          to    the       question.                 If    you       answer       no


19   your whole             answer          is    no.        Now       what       a    mitigating

20   circumstance                might       be       to    one       of    you       another          one       might


21   think       exactly          the       opposite             of    you.           Thats           your       call.


22                      For       example              sometimes                people          might       think


23   that    comparative                youthfulness                   might          be    a    mitigating

24   circumstance.                 That          is    to    say       a    person          of    some          tender


25   years       theyre           not       developed             and       mature          enough
                                                                                                                                         29




     1   emotionally                  to       make       intelligent                 rational                    logical


 2       decisions.




 same-6
 3                            Some             other       people          might          take       that          same


 4       information                 and        say            Well        a    person           this         young       is



 5       already this                  mean blow                them       up.        See           it       is    the


         piece       of     information                    you       react       to       it     differently.


 7                            Sometimes                   people       might          think          if       theres              any


 8       evidence           in       the        case       about       history that                      a    defendant


 9       might       have        of        mental retardation                         some          people          might

10       think       that        tends           to       be    mitigating.                    Other          people          might




--16
11       tend       to    think            its        not.


12                            A whole             different                group          of     people            may    say

13       Well        doesnt                make       a    difference                as    to       how       retarded             the


14       person          is      a     little             bit        quite       a    bit           just          some        a



15       lot.        Now         if        I    knew       the       answer          to    that          question


         may    be       mitigating               may          not    be       so.        Im        just          simply


17       saying          these        are        things             were        going          to    ask          you    just       to


18       take       into      consideration.


19                            Nobody             is       ever       going       to       try       and       commit          you


20       as    to    how      youre              going          to    evaluate             it.           But       we    do       need


21       to    commit         you          to    the       proposition                that          you       would       take


22       everything              into           account              reject          that        stuff            that    you


23       dont        think           is        worthy          of    your       consideration                       thats

24       your       call.


25                            But          consider             everything                and       before          the
                                                                                                                                30




     1   trial       ever          begins           dont        refuse           to      consider           something

     2   because          you might             hear       exactly             the       right     words          that


     3   would       be       meaningful             to    you       to     come         up   with      a



     4   particular                verdict.


     5                         But          those    correct              words       may     very      well       be      -




     6   delivered             by       a    witness       who       --     where        you      place


 7       absolutely                no       credibility.               And       so      thats         why    we    go


 8       not     only         by    the       message           we        also      go   by      the    messenger.


 9       And     how      you       react       to    that           thats            your       call        but    we


10       ask     you      to       not      preclude        anything                from      your


11       consideration.

12                             Those          are    the    two        questions              and       as    I    say

13       they       come       into         play     in    the       second           phase       of    the       trial


14       only       and       thats           only    if    a    person             is   convicted            of


15       capital          murder.              You    might          say       to     yourself              Well          why


16       are    we       talking            about     the       punishment               phase         of    the    trial


17       when       we    havent              heard       the     first          phase

18                             Im going              to    tell        you       the     answer         to    that.


19       It    is    the       only         time     were        ever          going        to    be    able       to


20       explore          with          you    and    explain             to     you     and      talk       to    you


21       about       the       laws         that     applies              can       apply        and    whether           or


22       not    you       have          any    agreement             or dispute               with      the       law.


23                             Can       you    see       that       if    we       didnt         talk       about


24       the    second             phase       before       the       trial           ever       began       and    we


25       talked          to    you       about       the    first          phase          picked            the
                                                                                                                                      31




 1   jury        put         on    all     the      testimony               couple              of    weeks           go      by

 2   jury    comes            back       with       a    verdict           of       guilty.               We        come


 3   back    this            time     to    get         to    punishment              phase           of       the


 4   trial        explain             to    you         what    the        law       is     and           some        juror


 5   says        I       disagree           with         that.         I    couldnt                  possibly                 -




 6   follow       that            law.

 7                           That     means         we       have    to     excuse          that           juror.


 8   That    means            we    dont         have         12.      That          means           we    have          a



 9   mistrial.                We    wasted          our       time.         We       do    it        up    front.                 I




10   want    you         to       know     the      reason           for    doing          it        up    front


11   has    --    nobody            is     presuming            this        defendant                 to       be


12   guilty.


13                           Right       now     we      are    all        presuming                 to    the


14   absolute            contrary           that         hes        not     guilty.                  But       we     have


15   to    have      a       mechanism           to      be    able        to       talk    about              all


16   aspects         of       trial        and      this       is    why        were        doing              it     this


17   way     and         I    hope       you     can         understand              it.        Any        questions

18   so    far

19                           Okay.         Briefly             Ill         tell       you        the       types


20   of    capital            murder        that         we    got     here          are             The


21   intentional               murder          of       somebody           during          the        course             of


22   the    commission                of    another            felony.               One    paragraph

23   commission               of    the     other            felony        is       kidnapping..                    In


24   another         paragraph              the         commission              of    other           felony             is


25   another         murder.               Two      murders          and        a    murder           kidnapping.
                                                                                                                            32




 1                      In     order          for    the        State              to    obtain           a



 2   conviction              for       the    offense           of    capital                  murder           they


 3   must prove          the           existence           of    those              two        features          either


 4   the    murder       during              the    course           of       kidnapping                  or    the


 5   murder       during           the       course       of     murder.


 6                      Anytime              the    States            required                  to    prove          two


 7   things       beyond           a    reasonable              doubt               there           are       three


 8   possible          outcomes              that    can        occur.                  Possible              outcome


 9   No.    1   is     they        can       --    they     do       prove              both        features


10   beyond       a    reasonable                 doubt.         And          if        thats         the       case

11   the    jurys obligation                        would        be       to        find        the       defendant


12   guilty of          capital              murder.


13                      Possible              outcome           No.       2         the        State          cannot


14   prove      beyond         a       reasonable           doubt             the        existence              of


15   either-of          those           two       features.               That           is     to    say       the


16   intentional             murder           and    other           felony.                   If    thats           the


17   case       the     jurys obligation                         would             be     to        find       the


18   defendant          not        guilty.


19                      Possible              outcome           No.       3    may be               the       State


20   in    some       hypothetical                 case         some          imaginary               case       can


21   prove      beyond         a       reasonable           doubt             the        existence              of    the


22   murder       but    not           be    able    to    prove              that        it        was       committed


23   during       the    course              of    the    other           felony.


24                      If     that          were    to    be        the       case            --    and       Im

25   certainly          not        claiming          that        its           going            to    be.        Im
                                                                                                                                         33




 1   saying          there       is       a    logical             progression                  of    events.                  It



 2   can       happen.           I    would             be    obligated              to     give           you    a       third


 3   verdict          or       possible             youd           had    guilty and                  not        guilty             of


 4   capital          murder.


 5                         Third          possibility would                          be     guilty of                 murde-r.


 6   That       is    to       say    not          capital          murder           but        murder            the


 7   taking          of    a    life          or    the       intentional                 taking            of    the          life


 8   of    a   person           without             any       legal       justification                          without


 9   any       legal       excuse              but       one       that       was      committed                 not


10   during          the       course          of       another          felony.


11                         What       were talking                       about         is       carving           out          a



12   lessor          crime       out          of    a    greater          crime.                Murder           is       a


13   lessor          crime       carved             out       of    the       greater            crime           of


14   capital          murder.              We       know          that    the        punishment                  for


15   capital          murder          is       life          or    death.            The        range        of


16   punishment                for    murder                 however           is.    just           simply


17   remarkably                different.


18                         The       range          of       punishment              if     a    person           is


19   convicted             of    murder             in       the    State       of        Texas            can    be          by


20   confinement                in    the          penitentiary                for        life        or     by       a



21   confinement                in    the          penitentiary                for        any        number           of


22   years       as       long       as    that          number          is    not        less        than        five             and


23   as    long       as       its        not       greater          than       99.             And-in           addition

24   to    confinement                a    jury          can        if    they        think           it     does


25   anything              impose          a       fine       in    some       amount            as    long           as       the
 --4
                                                                                                                                   34




 1   amount          doesnt                  exceed       $10000.

 2                            You        may       say    to     yourself                Thats               just


 3   everybody.                     I    mean       that       range        is     so    broad.              How


     whys           it    so       broad                 Well         because           you        hear      about          the


 5   murders             on        the       television              because        theyre              the       ones        -




 6   that       sell          title.               And    you        might        say    to        yourself            --    and


 7   many       of       them           are       awfully        vicious            awfully             brutal

 8   awfully             random               awfully          wanton         and       there          are    others


 9   that       arent               so.


10                            And        nobody          is    going        to     supply             you    or     commit


11   you       to    what          the        value       of     a    dead        body       is.        Even


12   insurance                companies                 dont         do    that.         They          say    that


13   every          dead       body           is    worth        something              different             and       you


14   know       that          because              you    pay        different           premiums.                  Younger

15   people          going              to    be    paying           less.premiums                    than    older


16   ones.


17                            The        probability youre                         going          to    live.           Now


18   in    a    criminal                 world           criminal           case         the          background             of


19   the       person          whos               deceased           might        have       a    bearing.              The


20   background                of        the       person        on       trial     might             have    a



21   bearing.                 We        want       you    to     have       room        to       be    able       to    do


22   what       you       think              is    appropriate              based        upon          the


23   circumstances                       of       the    case.


24                            If        you       have    a    nice        husband           and       wife       been


25   married             50    years              and    70    years        of     age           the    wife       is
                                                                                                                           35




 1   critically           ill.           Shes        going       to       die.         Everybody             knows


 2   it.     He       loves      her       she       loves       him.           He     doesnt             want        to



 3   see    her    suffer.               Shes        on    a    life       support          system.               They


 4   discuss       it.         By    her    request             and       his       agreement               he



 5   pulls       the     plug       so    she    wont           suffer.              She    dies.


 6                       Without          getting          into       the       morality             of     that

 7   in    this    State         thats          murder.              But       he    didnt           kill        her


 8   out    of    anger          didnt          kill       her       out       of    hate           didnt         kill


 9   her    out    of     revenge.              He     killed         her       out    of       love.            Maybe


10   you    wouldnt            think       that        would         be    a    life       in       the


11   penitentiary              case.


12                       Then       you    got       the       kind       of    cases       you       see        on


13   television.               Maybe       you       think       there          thats           a    deal.


14   Then    you       got     the       kind    of       cases       you       perhaps             probably

15   never       thought         of.       How       about       the       18-year-old                boy        who


16   is    the    only       person        trying          to    raise          his    little             sister


17   whos        14      and     hes       doing          the    very          best    he       can       with


18   what    limited tools                 he    is       supplied             with.


19                       And     every      morning             he    makes          sure       before           he


20   goes    to    work        she       gets    up        gets       dressed          and          goes     down


21   to    the    junior         high      school.              And       he    comes       home          one     day


22   and    he    finds        out       that    there          has       been       this       guy         this


23   adult       selling         dope      to    his       little          sister          and       he     goes


24   down    there        with       a    gun    and       kills          him.


25                       Now     maybe      you        think         that       wasnt           a    life        case
                                                                                                                              36




 in-6
     1   maybe       you    would.           That       would          be    your       call.            All


 2       were        simply saying                is    that          were        giving          you     room           so



 3       to    speak.           And    after       all       of       the    evidence             in     the    case


 4       has    been       presented          to       you        you       supply       what          you     think


 5       is    the    right       punishment                based       upon          that     evidence


         that    case.


 7                          So    my    question             to       you    is       this     --      and     its

 8       back    to     what      we    touched             on    yesterday             about          the     fact


 9       that    the       lawyers          for    both          sides       have       the       right        to    have


10       jurors       --    folks       who       will       consider             the    entire           range          of


11       punishment.

12                          I    dont        want       you       to    think          were         trying          to


13       commit       you       now    as    to    what          youre           going       to     do    before


14       you    ever       heard       anything.                 Thats           not    the       point.            But


15       the    point       is    we    want       to       commit          to    the    notion           youre

16       available          to    do    anything             within          the       range        depending

17       upon    wherever             the    facts          lead       you       in    the     case.


18                          So        let    me    ask       you       this            Lets         think       about


19       the    fact       youre        a    juror          in    some       imaginary              capital


20       murder       case.           Your    jury          has       heard       all    the        evidence             in


21       the    case.           Your    jury goes                on    in    and       your       jury


22       deliberates             and    your       jury unanimously                      finds           that


23       whoever        this      defendant             is       thats-on              trial        in    this


24       capital       murder          case       is    not       guilty of             capital          murder

25       but    you    do       find    beyond          a    reasonable                doubt        that       that
                                                                                                                                37




 1   defendant           on    trial        is     in       fact       guilty             of    murder              you


 2   come     back       and    you     have            the      second          phase           the




 phase-6
 3   punishment           phase.            Whatever              the       evidence             was          presented

 4   to     you    there       doesnt            make         any      difference.                       Lets        say


 5   at     the    conclusion           of        that        evidence             the         second


     of     this    case       that     started               out      to     be      a    capital             murder


 7   case     by    your       verdict            is    a     murder             is       there          anybody

 8   here     who       could    not        consider              assessing                that          imaginary

 9   defendants               punishment               at     confinement                  in    the


10   penitentiary              for     life        if       you     thought               based          upon


11   however        you       evaluate            it        whatever             information                   was


12   presented           to    you     in    that           case        that          that       was          the    right


13   result        to    reach.


14                       Anybody        here           who       would        refuse            to       consider


15   that     as    a    sentencing              option           if    you        thought               it    to    be


16   appropriate              based     upon           the       facts             Okay.             I    take       it


17   you    would        take    it     into           account              and           again           Im not

18   trying        to    ask    you     would           you       do    it.           Im        simply asking


19   if    you     were       able    to     if        you       thought           it      was       right.


20                       Im going            to        take       that        same         question             and


21   flip     it    over.        Same        jury           in    same        imaginary                  capital


22   case     and       heard    all        the        evidence             in     the         capital          murder


23   case     and       the    jury     finds           the       defendant                not       guilty          of


24   capital        murder       but        your        jury unanimously                         does          find       the


25   defendant           guilty of           murder.                You       come        back.               You    hear
                                                                                                                                       38




     1   the     evidence            of    the       second          phase             of    trial            whatever


 2       this       evidence          might          be.        You          go    out       to     deliberate             your


 3       verdict.


 4                          Is       there          anybody          here          who       would        refuse


 5       to     consider         assessing                that       imaginary                defendants

 6       punishment             at    confinement                   in       the       penitentiary                 for


 7       five       years       if    you       thought              based             upon        whatever          the


 8       evidence          was       that       was       presented                to       you     in    that       case


 9       and    your       evaluation                of    that          evidence                  that       that    was


10       the     right      result             to    reach

11                          Anybody             here       who       would             refuse        to       take    five


12       years       into       consideration                   as       a    legitimate                 sentencing

13       option       if    you       thought             it    was          the       right       thing        to    do


14       based       upon       the       facts            Okay.              I    take       it     that       you


15       would.        So       what       youre telling                          me    is    youre            wide       open


16       to    the    range          of    punishment                of       five          years        to    life

17       anything          in    between             and       whatever                decision           you       reach.


18       If    this    ever          came       to    play          in       the       trial         you       would

19       reach       this       decision             based          upon          wherever           the       evidence


20       lead       you.


21                          And       evidence             in       trial          is       supposed           to    be        I




22       guess        considered               to     be       something                like       the        leash       on       a



23       dog.        Were        the       dog        the       evidence                is    the        leash.           And


24       we    go    wherever             in   terms           of    result             where        that       leash

25       being       the    evidence                 takes          us            Guilty           not        guilty
                                                                                                                                     39




 1   life        death              5     99        50        12        18        whatever.


 2                         Im        not        saying         thats              going          to     come      into


 3   play       in    this          case.           Im        simply          saying             that       I    know       that


 4   is    a    theoretical                   possibility.                    Any       questions                about


 5   that                                                                                                                        -




 6                         One       other          aspect          I    want          to    touch          on    briefly

 7   is    that       we    have          a     rule      and       Im going                 to       talk       about


 8   the       concept          without             trying          to       be       just       really          legally

 9   precise          but       give          you    an       idea       what          Im talking                 about.


10   If    you       have       a    bunch          of    people             committing                crime           they


11   agree       to    commit             it.        They          know       thats              what       happened.


12                         If       you       participate                in       a    crime          our       law    in    the


13   State       of    Texas            says        that       a    person             who       is    involved             in


14   that       conspiracy                    so    to    speak              cannot          be       convicted             upon


15   the       uncorroborated                      testimony             of       one       of    the       other


16   co-conspirators.                           There         has       to    be       instead          some          other


17   evidence          from          some          independent                    source          other          than       the


18   conspirator                that          tends       to       connect             the       defendant             on


19   trial       to    the          commission                of    the       crime.


20                         An       example               You       got       two       people          who       get


21   together.              They          agree          to    go       rob       a    bank.           One       guys

22   the       getaway              driven-         the       other          guy       the       bank       robber.


23   They      both        do       their          jobs.           Guy       drives          up        guy       robs


24   bank.           Backing            off        they       both       get          arrested.                 There       is


25   absolutely             no       evidence             on       the       getaway             man    except          for
                                                                                                                         40




 1   what       the    guy       who    actually            went         into        the    bank    did.


 2                      What        Im saying               is      if        the    only       testimony

 3   that       exists        in    the       trial       of     the         getaway        driver       is



 4   the    testimony              from       the     bank       robber             and    there    is


 5   absolutely             no     other       --     absolutely                no    other       evidence


 6   from       any    independent              source           that         tends        to    connect       the


 7   defendant          to       the    commission               of      that        crime        then       the


 8   getaway          driver        cannot          be    convicted.


 9                      Eyewitness              says           Yeah             I    saw    that    person.

10   Thats           evidence          that     tends          to       connect           the    defendant

11   fingerprints                  connection               all         sorts        of    things       that


12   tend       to    connect          the     defendant                to    the     crime.        There          has


13   to    be    some       other       evidence            other            than     the       evidence       of


14   an    accomplice.                 Thats          the      legal          term.


15                      Anybody           here        find       that         absolutely           alarming

16   or    objectionable                or     offensive                to    where        you    couldnt

17   follow          that     law         I    dont         know         whats            going    to    happen


18   in    this       case.         Theoretically                   I    could        --    have    I    omitted




--24
19   anything          other        than       the       things          we    had        talked    about

20                      MR.        MCCLELLAN                The         40.


21                      THE        COURT            Im sorry.                  Thank        you.        We


22   talked          earlier about              persons             convicted              of    capital


23   murder          what    that      means         life        or      death        --    excuse       me


     the    punishment              for       persons          convicted              of    capital          murder

25   depending          on       how    the     questions                are        answered        life       or
                                                                                                                            41




 1   death.            What       does       death       mean             Well           thats           pretty

 2   obvious               not    going       to       get     into       that.


 3                          Sometimes             we    have        a    confusion             as    to       what


 4   a    life        sentence          means.           Im going                  to    attempt          to



 5   eliminate confusion.                              And     I    will       tell          you    that       in    this


 6   case        if    this       defendant             is     convicted                of    the    offense          of


 7   capital           murder          and    if       these        two       questions             are       answered


 8   in    such        a    way        the    law       obligates              me       to    sentence          the


 9   defendant              to    life.           A    life        sentence             means       in    this       case


10   that        the       defendant          cant           become           eligible for                parole


11   until        he        the       defendant               has       actually             served       40



12   calendar              years.


13                          There       is    no       acute        way       of    counting             in


14   penitentiary.                     Twenty-seven                 is    going          to    come       after       28

15   32    is     going          to    come       after        31.        I    mean          its     40       years

16   and    that           means       2039.           And     that       means          when       the


17   defendant              can       become          eligible for                 parole


18   consideration.                     A    persons               eligibility                for    parole


19   consideration                    has    absolutely                 nothing          to    do    with


20   whether           they       will       or       will     not       be    awarded             parole       or


21   when       they        will       if    they       are        awarded          parole          after       40



22   years        because             decisions          made           about       awarding             parole


23   will       be     made by          prison          authorities.


24                          Theyll make                 evaluations                 of       a-persons

25   conduct           during          the    40-year              stay       theyve           been       here.
                                                                                                                                      42




 1   Those        evaluations                     will       be       sent       to    the    Board          of       Pardons


 2   and    Paroles.                   The        Board          of    Pardons          and       Paroles             will


 3   make        those           evaluations                 and       make       recommendations                      to


 4   the    Governor                  of    the        State          of    Texas.


 5                           I    havent               the       foggiest             idea    who       the       govern-or


 6   in    Texas        is        going           to    be       in    2039.           Whoever          he       or    she       is



 7   is    entitled               to       either           follow          those       recommendations                      or


 8   reject        those              recommendations                       or    make       just       simply


 9   absolute           object              political                 decisions.


10                       We           dont         know          whats           going       to    happen.                 The


11   point        of    it        is        however               I    do    want       you       to    know          at    the


12   conclusion                  of    a    trial           wherein          a    defendant             has       been


13   found        guilty of                 capital              murder          and    a    life       sentence


14   has    been        assessed                   it       is    just       perfectly             possible

15   that        defendant                 on     trial          would       spend          the    rest          of


16   natural           living              life        in    the       penitentiary.

17                       It           is    also        equally             possible          that          at    the


18   conclusion                  of    40       years            another          hypothetical                   defendant


19   might        be    awarded                 parole.               What       is    going       to       happen          in



20   this        case    we           dont         know.              And        therefore              what          Im

21   going        to    tell           you       is     what          might       happen          in    the       event          of


22   a    life     sentence                 in     terms          of       parole       cant           in    any       way


23   interfere           or           be    a    consideration                    of    yours          in    how       you


24   answer        either              one       of     those          two       questions.


25                       Those              two        questions             must       be    based          upon          the
                                                                                                                                    43




     1   evidence        presented             in       the    case        not       upon          speculation                 as


     2   to    what    might        happen          in       the    future.               But       I    want


     3   you    to    know     what       a    life          sentence           means.              Anybody          have


     4   in    questions           about       that

 5                           VENIRE        PERSON              Sir         when          you       say    40               -




 6       years         you     mean       hes           going       to     stay          40    years           not       good


 7       behavior        before          15    years           10    years.


 8                           THE    COURT               I    said    about           as       clearly          as    I




 9       could       2039.         Now        again           what       happens              at    that       point

10       dont        know.         Thats           where       the       variables                 start       coming


11       into    play.         That       is       no       availability                 for       40    years.


12                          Anybody           else            You    folks           have          just       completed

13       your    first        year    in       law          school.            Is    there          anybody          that


14       has    any    questions              at    all       about       anything                 that       weve

15       touched       on     to    this       point

16                          Okay.         Let      me        say    this        to       you        were        going


17       to     in    just     a    couple          of       seconds            visit          with       you


18       individually.               Please                 before       we     start          this       process               I




19       want    you     to    know       that          --    and    I    didnt               say       this    to       you


20       yesterday.            Frankly              I       forgot       it.         Were           never       going


21       to    talk    to     you    about          the       facts       of        this       case       ever.


22                          And     you    might             say    to    yourself                  Thats

23       pretty       stupid.         If       Im going              to        be    a    juror          in    this


24       case    why    dont         we       talk          about    that           case            Well        because

25       of    this         Any     one       of    the       four       lawyers              --    Ive        known
                                                                                                                                 44




     1   them       all       for    years       and       trust       all       of    them       --    and       you


 2       pick       any       one    of    these       four           pick       all       four        and       you       say


 3       to    yourself              If     any       of    these       lawyers             told       me    the


 4       third          witness       in    this       case       is    going          to    testify             to    A

 5       B     C    and       D Im going               to       tell    you          right       now    exactly             -




 6       what       I    would       do    because          I    just       trust          these       lawyers


 7       that       much.


 8                             So     sure       enough          the    trial          comes       rolling


 9       around.              The    third       witness          gets          on    the    stand          and


10       testifies             exactly          as    was       predicted              A B         C    and       D.



11       But       because          its     your       job       to    evaluate             the    credibility

12       and       believability                of    the       witness              you    might       say       to


13       yourself              This        third       witness              I    wouldnt           believe             a


14       single          word       that    person          said.

15                             So     thats           why       were        never          going       to    talk


16       about          the    facts.           Thats           why    were           never       going          to    talk


17       about          the    evidence.              Thats           why       were        never       going          to


18       try       and    commit          you    as    to       what    result             you    will       reach.


19       We    are       going       to    make       everyone              however              commit          that


20       you    will          follow       the       law.        That       youll           listen          to


21       everything.                 Take       everything             into          account       in       terms          of


22       consideration.                    Reject          that       you       think       should          be

23       accept          that       you    think       should          be       and    come       up    with          what


24       you    think          is    the    right          result       to       reach.


25                             But    when       the       lawyers          are       talking          to    you
                                                                                                                                    45




     1   individually                 please           dont          think         that       theyre                going      to



 2       try    and       commit       you       to       anything           in       this     case        because


 3       theyre           not.        They       just          want    to        be     sure    that           if     youre

 4       a    juror       in    this       case           youre        going            to    sit     in       one       of


 5       those       chairs           going          to     sit      back        and     going        to       drink          in


 6       every       single          bit    of       testimony.                  Use     it    all.            Evaluate


 7       it    how    you       see    fit           and       come    up        with        what     you       think          is


 8       the    right          verdict           based          upon       how        you     evaluate              the


 9       information             that       they          supply       it.            Their     job        is       to


10       supply       it.        Your       job        is      to    use     it.


11                             Any    questions                     Okay.          Before       we       go     any


12       further            there      was       a    time          when     I     knew       what       this        number


13       was.        Mr.       Cardenas              if     you      would         stay       and     the       other


14       folks       would       retire          to       the       hallway.             Well         get       you       back


15       in    here       as    quickly          as       we    possibly              can.


16                             Prospective                  jury panel                retired except                     for


17       Prospective             Juror       No.          8     Mr.    Ruben            Cardenas.

18                             THE    COURT               Mr.       Cardenas             come       on     up        sir.


19       First       off        sir        please           dont       feel           youre         being           singled

20       out.        Please          dont        feel          that    youre             on    the       spot


21       because          youre        not.           I     just      need         to    ask    you        a    couple


22       of    questions             along       the        lines      some           questions            I    asked

23       some    other          folks.


24                             Frankly           I    wanted          to     get        into    the        process

25       before       I     went      into       this          specifically                  with    you.            This
                                                                                                                        46




 1   morning       before          the    folks          --    all       of    you       were       brought        in



 2   here    and     while         you    were       out       in    the       hallway              was        there


 3   a    time    this       morning       where          you       saw       the    defendant


 4   Mr.    Mamou.


 5                      VENIRE       PERSON          CARDENAS                  No.


 6                      THE    COURT            And       talk       out.           Shes        writing

 7   down    what       is    being       said.


 8                      VENIRE       PERSON          CARDENAS                  No.


 9                      THE    COURT            Was       there          a    time       you    ever       had     a



10   conversation             with       anybody          regarding                Mr.    Mamou       and        the


11   offense       and       whether       he     was         or    wasnt           in    custody          or


12   anything       like       that

13                      VENIRE       PERSON          CARDENAS                  Yes.


14                      THE    COURT            Do       you       recall          with       whom    that        you


15   had    that    conversation                     I    realize             that       you    just       met


16   these       folks       and   maybe        dont           know          their       names.           Do     you


17   remember       who       it   was     that          you       talked          with         Was       it     more


18   than    one    person

19                      VENIRE       PERSON          CARDENAS                  No        just       the    lady


20   in    the    blue.


21                      THE    COURT            Okay.              The       one    that       was    up       here

22                      VENIRE       PERSON          CARDENAS                  Uh-huh.


23                      THE    COURT            And       can       you       tellus           please            sir

24   about       that    conversation                    what       was       said        not       that


25   anything       said       was       wrong.           We       just       need       to    be    sure.
                                                                                                                               47




     1                            VENIRE     PERSON         CARDENAS                  I    was     asking           what


 2       was    capital              murder.         I    dont            know       what     capital              murder


     3   means        and           she    was    talking            to    me.        So      I    dont            know

 4       maybe       he       killed        somebody             a    sheriff             deputy.            And     going


 5       that    route              says     Well          why        do       you    want        to    kill        him    -




 6       for          I       mean the           other     people              in    jail         whats            the


 7       difference                 between       him     and        other          people        in    jail        now

 8       And    basically                 that    was     it.


 9                                THE     COURT          Okay.            So    your       comments            were


10       more    a    conceptual                 thing     not        a    specific           thing          in



11       question.


12                                VENIRE     PERSON        CARDENAS                   No      I    was       asking


13       what    was          it.


14                                THE     COURT          Mr.     McClellan                 any     questions

15                                MR.     MCCLELLAN              No        Your       Honor.


16                                THE     COURT          Mr.     Hill           Mr.       Wentz.


17                                MR.     WENTZ          The     question             --
                                                                                            you        had     a


18       conversation


19                                VENIRE     PERSON        CARDENAS                   No      just       asking


20       her    what          capital        murder        is     and          she    knew.


21                                MR.     WENTZ          And     for       your       purposes           you       asked


22       killing          a       police.


23                                VENIRE     PERSON        CARDENAS                   No      Im        just       asking


24       what    is       capital           murder.             Why       is    --    what        is    capital


25       murder.              I     didnt        know.
                                                                                                                       48




     1                       MR.    WENTZ         Okay.         And       what       else       did you          say


 2       in    the    course        of    your    conversation


 3                           VENIRE       PERSON       CARDENAS                What       was       capital


 4       murder.            And    she    didnt        know     either.              We    were       just


 5       here.        Didnt         know    what       time     we    had       to    be       here        830

 6       or    800 oclock                 830     or    outside.


 7                           MR.    WENTZ         You     didnt           see       the    defendant

 8                           VENIRE       PERSON       CARDENAS                No.


 9                          MR.     WENTZ         Im through.

10                           THE    COURT         All        right.        Thank          you       very    much.


11       Step    outside            sir     please.            Mr.    Hill           did       we    ever       get


12       on    the    record        about    Ms.       Wagy

13                          MR.     MCCLELLAN            No.


14                          THE     COURT         For    the        purposes          of       the    record


15       perhaps       at     the    time    we    left        the    record          the       idea       as    to


16       Ms.    --    No.     12     Ms.    Wagy       was     that       if    she       did       call    and


17       claimed       her        exemption        Mr.       Hill     would          have       no


18       objection          to     her    based    upon        what       we    provided             the


19       record       with        earlier        have    no     objections                to    her


20       claiming       exemption.               And    if     we    got       to    her       and    havent

21       heard       from her        in    the    ordinary           course          of    business              he


22       would       have    no     objection.


23                          We     did    hear    from       her      did       talk       to       her    on    the


24       phone       personally           in my    presence               on my       end       of    the       line


25       Mr.    McClellan           and    Mr.    Hill        and     I    informed             them       at    the
                                                                                                                           49




     1   time        that       Ms.       Wagy    specifically                 did    say       that       because


 2       of    her        five-and-a-half-year-old                             child       she       was      now


 3       requesting               the      exemption          she        had    been       entitled             to


 4       because           she       had    a    sitter       or     caretaker             when       she       came


 5       but        lost       that       ability       to    do     that       any    longer.


 6                              MR.       MCCLELLAN            Okay.


 7                              MR.       HILL         No    objection.


 8                              THE       COURT         Ms.    Wagys            exemption             has       been


 9       honored.               She       has    been       excused.            There       was       somebody

10       else            Mr.    Hernandez              was    that        correct

11                              MR.       HILL         Yes     Your        Honor.


12                              THE       COURT         And    you        because          of       his


13       conversation                 earlier requested                    that       he    be       excused.


14                              MR.       HILL         Yes     Your        Honor.


15                              THE       COURT         That       request        is       granted          as       to


16       No.        9.     What       about       Mr.       Cardenas

17                              MR.       HILL         Well        Im basing               my       concern          on


18       him based              on    what       the    other        Juror      18     told          us    that       he


19       made        the       comments          about       why     a    person       charged             with


20       capital           murder          is    not    in    jail        and   that        was       Ms.


21       Tinnemeyer.                  I    guess       maybe       question           him       a    little          bit


22       more.


23                              THE       COURT         You    have       based        upon          the    record


24       as    it        exist       now        you    have    no        position

25                             MR.        HILL         Well        my    position           would          be    he
                                                                                                                                50




     1   should     be       excused           based        on       what       Tinnemeyer                   said


 2       because       she         came    up    here        and          was    candid             about         what


     3   was    being        said     in       the    hallway.                  Mr.    Cardenas                doesnt

 4       recall    making            that       statement.                  I    dont           know.             Im not

 5       real    comfortable               with       him.            I    would       ask          --       Im

 6       challenging           him.            Going    to           ask    the       Court          to       excuse


 7       him.


 8                           THE     COURT            Mr.        McClellan                 I    tell          you    my


 9       best    guess        probably               based           upon       the    record                 really      not


10       there.      I       refuse        an    the    first              day    to       have          a    case


11       reversed.


12                           MR.    MCCLELLAN                    So       the    second             day      to


13       reverse.


14                           THE     COURT            Well            take       that          up    on      the     second


15       day.     Hopefully                administratively                           we       wont          have     the


16       problems        again.            If    thats               your       request             and      motion

17       its    granted.


18                           MR.    MCCLELLAN                What           number             is    he        Your


19       Honor

20                           THE    COURT             No.        8    and       No.    9        each


21       challenges            each        are       granted.               Okay.              Is    there


22       anything        I    need        to    add    to    this           business

23                           MR.    MCCLELLAN                Nope.


24                           THE    COURT             Okay.               Are    we    ready             for


25       Mr.    Pena
                                                                                                                         51




 1                      MR.    HILL         Yes.


 2                      THE    COURT         All       right.           Mr.        Pena        please.


 3                      Prospective           Juror          No.        2    Mr.     George          Pena


 4   entered       the    courtroom.


 5                      THE    COURT         Hi        Mr.    Pena.           Walk         straight             -




     across       this              and    come    over       here          and     have       a    seat       and
 6                        way


     make                            comfortable                             can     be.           And    how
 7           yourself          as                            as    you


 8   are    you    today        sir

 9                      VENIRE       PERSON       PENA            All       right.


10                      THE    COURT         Well        Mr.       Pena            first       off       let        me


11   ask    you    this.


12                      VENIRE       PERSON       PENA            Uh-huh.


13                      THE    COURT         Taking          into       account            yesterday

14   and    the    things       we    talked       about          yesterday              adding          to



15   that    this       morning       and    the       things          we    talked        about          this


16   morning       out    of    everything             that       we    have        talked          about           so



17   far     do    you    have       any    questions             at    all        for     me

18                      VENIRE       PERSON       PENA            No        sir.


19                      THE    COURT         Is    there          anything               Mr.       Pena

20   that    up    to    this       point    we    have       not       yet        talked          about


21   that    you    feel       as    though       we    should          talk        about          because


22   it    might    have       some       bearing       on    your          ability         to      be    a



23   juror    in    this       case

24                      VENIRE       PERSON       PENA            No.


25                      THE    COURT         Is    there          anything           at    all
                                                                                                                             52




 1   Mr.    Pena        whether             it    be       something              for     example                about


 2   your     personal             life          whether          it    be    something                   for


 3   example            about          your       job       whether          be    it     something                for


 4   example            about          your       health          or    be    about           something            else


 5   that     you       think          would          in    any       way    interfere with                      your    -




 6   ability          to     be    a    juror          in    this       case       during           the      time


 7   frame         that      weve           talked          about

 8                         VENIRE           PERSON          PENA            No     sir.            No   problem.


 9                         THE     COURT               The       lawyers          in     just       a   second


10   sir      are       going          to    ask       you       some       questions               and      I    want


11   you    to      know       that         whatever             the    questions              they       ask      you

12   they     are       not       in    any       way       meant       to    pry        into       your


13   personal           life       or       to    in       any    way       embarrass              you.          Thats




--19
14   the    last        thing          any       of    them       want       to    do.



15                         All     the       questions                boil    down        to       is   this

16   They     just         want        to    be       satisfied             you    can        be    air      to


17   the    State            listen          to       everybody              do    what        you      think          you


18   ought       to     do    based          on       the    evidence             and     calling            them


     call     it      down        the       middle          as    you       saw    it.         And      your       job


20   is    not     to      make        either          side       happy       or       the     other         said


21   happy       or     both       sides          happy          or    to    make        me    happy.


22                         Your        job       is    five       years       from        now       Mr.      Pena


23   wakes       up     and       says       to       himself           No         sir         I    did      the


24   right       thing.                Thats           the       only       person        who       needs         to    be


25   happy.           Before           we    begin           any       questions              for       me
                                                                                                                                    53




 1                                   VENIRE          PERSON          PENA         No        sir.



 2                                   THE       COURT            Thank       you         sir.          Mr.       McClellan.


 3                                   MR.       MCCLELLAN                  Thank       you        Your       Honor.


 4




 5                                                        GEORGE          PENA                                                 -




 6   having       been          sworn          as    a    prospective             juror          testified             as


 7   follows

 8




 9                                                        EXAMINATION


10   QUESTIONS             BY    MR.       MCCLELLAN

11   Q      Mr.       Pena           my    name          is    Lynn       McClellan.               Along         with


12   Claire       Connors                 we    represent             the       State       of     Texas         in    this


13   case.        I    want          you       to    sit       back       and    relax.            Im going             to    ask


14   you    to    share          with          us        if    you    will       relax       --       youre probably

15   saying           How        could          I    relax       up       there       on    the       witness          stand

16                                   You       have       to    realize          you       know       the       answers.


17   And    were           going          to    get       you    to       share       with       us     what      you       know

18   your    opinions.                    Weve           never       met    you       before.            Never         had    the


19   opportunity                to    know          you.        We    want       to    find        out      a    little       bit


20   about       you       in    a    short          period          of    time.


21                                   You       filled          out    the       questionnaire                   the    other


22   day    and       come       to       listen          to    the       Judge       yesterday             and       again


23   today.           Since          that       period          of    time       have       you       had       any


24   thoughts              change          your          mind about             anything           as    far      as    your


25   answers          to    the       questionnaire                   or    say        I     should             have    put
                                                                                                                                54




 1   something          down        I    didnt           think          about.

 2   A      No        sir.


     Q      Okay.        Can                  tell       me    in       your       own       words        what    kind    of
 3                                  you


 4   cases       come        to    mind when             you       think       of       cases        where       you    think


 5   the    death       penalty           ought          to    be       available             as     one    of    the


 6   forms       of    punishment                  what       kind       of    crimes

 7   A      Just       various           --    just        depends            on    a    particular              crime.


 8   Q      Okay.


 9   A      I    mean         like       the       Judge       was       saying          its         a    broad


10   spectrum.


11   Q      Okay.        So         obviously                 some       cases          you    think        its

12   appropriate              for       and    some        may not            be    appropriate                 for

13   A      Correct.


14   Q      Capital          murder           as     the      Court       told          you    is        murder    plus


15   some       aggravated              circumstance.                    In    a    capital              murder    case

16   youre        always           going       to    have          a    murder           always           going    to    be


17   someone          whos         intentionally                   killed.              And    by        murder    were

18   talking          about        the    intentional                   taking          of    another           persons

19   life       without           any    legal       justification.


20                                 Were        not       talking          about          killing           someone


21   in    self-defense                 because          thats           not       murder           thats

22   justification.                     Were        not       talking          about          intentionally

23   killing          someone.            Were           talking          about          capital           murder


24   where       someone           intends          to     take         someones              life        and    does    some


25   act    that      effectuates                  that       by       taking       life           its      their
                                                                                                                                        55




     1   intent       to    kill       the       person.               Then       it       must be          coupled          with


 2       the    commission             of    some          other        crime.


 3                                  And      we       have       alleged              in    theindictment                    two


 4       different          ways.           Murder during                    a    kidnapping                or    in    the


 5       course       of    kidnapping                or    murder           during          the    course             of           -




 6       another       murder.              Capital             murder           in    the       State       of       Texas

 7       though        includes             murder          during           robbery              murder          during


 8       burglary           killing          a    police              officer          in    the    line          of    duty

 9       killing       a    child        under         a    certain              age.


10                                  All      these          kind        of       cases       are    those             the    kind


11       of    cases       you     think         the       death        penalty             ought       to       be    available


12       for    in    certain          circumstances

13       A      Yes.


14       Q      Okay.        Now         for      the       offense              of    murder       itself              the


15       death       penalty        is      not       available.                  I    could       go       up    and       down


16       the    street       and       pull       up       to    someone              and    pull       a    gun       out    and


17       shoot       them        you     know          square           in       the       head    point          blank       and


18       laugh       and    drive        off.          That       is     murder             not    capital             murder

19       because       I    didnt           do    some          other        crime.


20                                  Now          if    I    take        their          billfold              that       would


21       be    capital       murder          because             it    would           be    a    robbery.              If    I




22       were    to    kidnap          them           take       them        to       another       location                that


23       could    be       capital          murder.              Its         murder          during          a    kidnapping.


24       But    just       intentionally                   and    horribly                 and.violently                killing


25       someone       without           any      other          associated                 felony           its        murder
                                                                                                                                                   56




     1   which       is    as        the          Judge             told       you       has        a       range        of       punishment

 2       as    low    as       five           years             to       as    high        as       99       years           or    life.




 upon-6
 3                                        When             I    say          murder           thats                probably           something


 4       comes       into        your mind                      someone             intentionally                        killing


 5       someone.              As     the             Judge             told       you     there             are        thousands


         thousands             of     fact             situations                   that        can          fit        within       the


 7       content          of     murder.


 8                                        I       mean you                   could       have           a    mercy killing                  on


 9       one   end        or     a    drive-by                      shooting             of     a       kid        on    a    bicycle        on


10       another.              Obviously                        ought          to       receive              different


11       punishments                 in       a       murder             case       not       talking               about          capital

12       murder.


13                                        Now              in       a    murder          case           would           you       keep     your


14       mind open             to     the             full          range          of    punishment                     as    low    as     five


15       years       or    as        high             as       99       years       or     life             and    wait           until     you


16       heard       all       the        evidence                      before          you     decided                 what       punishment

17       ought       to    be        received

18       A     Yes         I     could.


19       Q     Okay.            So        you          have             eliminated              one          end        of    the    spectrum

20       A     No         sir.


21       Q     Youre             fully                open          to       the    full        deal

22       A      Nods head.

23       Q     All        right.                  I    want             to    go    over        a    couple              of       things     in


24       the   questionnaire.                                  It       shows       in    here              you    watch           Court    TV.


25       Asked       about           any          articles                   you    read        or          watched           concerning
                                                                                                                               57




 1   the     death         penalty.               Have       you       watched          any    death    penalty

 2   type        cases      on        Court       TV

 3   A       I    just      basically              watch.


 4   Q       Just      watch           Court       TV

 5   A       Basically we                   have       a    satellite             and    flip    through          the


 6   channels.             And         every       once          in    a   while        something       will       catch


 7   my     attention            and        we    stop.


 8   Q       Anything            youve            seenon              Court       TV    affect       your    ability

 9   to     be    a   juror

10   A       All      it    is        is    a    show.


11   Q       Okay.         All         right.              You    indicate             also    you    have    an       aunt


12   that        works      in    the           Harris       County         jail.


13   A       Yes       sir.


14   Q       She      works       over           here.           Does      she        work    Franklin       or    in


15   701     whatever            it        is

16   A       Franklin.


17   Q       Franklin.


18   A       1301      Franklin.


19   Q       Okay.         Do     you           ever       talk       to   her        about    what    goes       on    in


20   jail        or   other       stuff

21   A       No       basically                 were        just       family type             deal.        Our    jobs


22   dont         interfere                with    each          other.           I    dont     get    into       her


23   business.


24   Q      Right.          Okay.                So        nothing         about        that    relationship

25   with        somebody         who        works          in    the      jail        will    affect       your       being
                                                                                                                                   58




 1   a    juror       in    this       case

 2   A      No.


                                  What                                                about          the    death
 3   Q      It     says                      are       your     feelings


 4   penalty               You    said       a    person        taking           a    life          and    has    no



 5   regret           you    put       possibly.                   Okay.


 6   A      No     remorse.


 7   Q      No    remorse.              Youre           saying            then       it    might be          possible

 8   to    have       a    death       penalty.              What     do     you          think       would       be    the


 9   deciding             factor       that      made        you     go     from          possible          to    yeah


10   this    is       --    this       is    the       type     of        case

11   A      Extenuating                circumstances                 it     was       committed             in.



12   Q      Okay.           Facts       of       the    case.         And        Im-- all                  the


13   situations             all       the    facts       you       hear      about             what       happened

14   before           during          and    after       the       commission                  of    the    crime

15   A      Right.


16   Q      Thats           what       you       get    to    hear        about           in    trial.           You    know


17   ahead       of       time    whether             before       spur-of-the-moment                        crime

18   premeditated                or    well-thought                out      crime.


19   A      Correct.


20   Q      What          happened          during       the       crime             how       the    killing          may


21   have    happened                 what       happened          after         the       crime           did    the


22   person       show       remorse             or    braggadocios                   going          around       having       a



23   good    time           whatever.


24   A      Correct.


25   Q      You       think       all       those       factors            kind       of       help       make    that
                                                                                                                                                              59




     1   decision

 2       A      Definitely.


 3       Q      All          right.              And    I    didnt               talk          about          the       best          argument

 4       against             the    death          penalty              that          youd           have          to     be      absolutely

 5       sure    without                a       doubt       the     person                did       the       crime.              And          I         -




 6       think       you          also          mentioned              that          in       another          place             that          no


 7       reasonable                doubt.              Of    course              that          is    the       burden             of       the


 8       State       and          always          stays       with              us.


 9                                          I    often       though              wonder             if    sometime people


10       they    think             beyond          a    reasonable                    doubt          is       beyond             all       doubt.


11       I    mean       I    can       tell       you       right              now       I    can       never          prove             any


12       case        and          Ive           been    a    DA    more              than       18       years.              I    can          never

13       prove       a       case       beyond          all       doubt              because             to    do       that          I    think


14       you    had          to    be       a    witness          to        a    crime.


15                                          If    you       were        a       witness              then          you       couldnt                 be


16       a    juror          in    this          case        and        what          you       have          to    do       is       rely          upon


17       people          who       were          witnesses              who          come       in       and       tell          you       what


18       they    saw          happened.-                And       so        therell                 always          be       some          area          in


19       judging             whether             that       person              is    telling             the       truth             or       you


20       may    have          questions                about        I       wonder            why        this       happened.


21                                       Well           in    the           indictment                   youre never                       going


22       to    see       anything                about       where              our       proof          is    as       to       why


23       something                happened.                 Always              going         to     be       questions                   at       the


24       end    of    a       perfect             trial           if        you       will.              So    a    lot          of


25       questions                may    be       raised.
                                                                                                                                 60




     1                              Now        the       issue       is         Have     I
                                                                                              proven          all    of    the


 2       elements           set    out    in       the    indictment             beyond        a    reasonable


     3   doubt.         After       you       sit    there          and    listen        to    all       the       evidence




 guilty.-6
 4       if     you    feel       that    I        the    State           has    proven        this          case    beyond

 5       a    reasonable           doubt           then       you    return       a    verdict           of


                                    If    you       think       we    have       not         you    have       a



 7       reasonable           doubt       about          the    elements          that        are       in    the


 8       indictment               then    you       find       him    not       guilty.            Now        you    may


 9       have     other       questions             that       are    unanswered.                  If    they       dont

10       relate        to    the    elements             in    the    indictment               I    dont           have    to


11       prove        those       because          thats        --    the       indictment              tells       us    what


12       we     have    to    prove.


13                                  Any       problem          with       that    aspect           of    the       law

14       A       No     sir.


15       Q       Youve        never       been       a    juror       before           is     that       correct

16       A       Correct.


17       Q       All    right.           In    this       questionnaire                theres            also       this


18       area     of    agree        disagree                 and    had    a    bunch        of    statements.


19       Do     you    likely       disagree             or    agree       with       these        statements


20       One     statement          says            Life       imprisonment              is    more          effective


21       than     the       death    penalty.                 And    you    checked           that       you       agree


22       with     that.


23                                  Can       you    tell       me    what       you    thought              about       why


24       life     imprisonment                is    more       effective


25       A       You    would       have       to    take       into       consideration                the        history
                                                                                                                                                     61




     1   of    the        defendant                   or    the       criminal               whatever                 the        case    may


     2   be         how    we    did             how        hes        going          to     do           predict           possibly

     3   what       his       future             is        going       to       be     if        hes         worth          striving           for


     4   something               you            want        to    help          him as       much            as       you    can.


     5   Q      If        hes        worth             saving              if    theres               a     possibility of

     6   saving

 7       A      Yes.            You         can        always          turn       somebody around.

 8       Q      Do        you    think                though          --    and       say        I    agree           with       you     on


 9       that       --     well             I    agree           with       anybody              can        be    turned           around.


10       Do    you        think        it        kind        of       depends          whether               they       want        to    be


11       turned           around

12       A      Yes           sir.              Correct.               I    mean           you        want        to    but       they


13       dont        want        to     accept               them          or    whats               going        on.        They        think


14       thats            the    only choice                      to       get    out       of        it.         Its        not        worth


15       it.


16       Q      Now           theres                  another          question             that            says       the       death


17       penalty           is    always                justified                for    intentional                     murder            and


18       you    checked           that                you    agreed             with       that.


19       A      Yes.


20       Q      Now        intentional                      murder          as    we       talked            about          --    first


21       of    all        murders                in     Texas          are       intentional.                         Thats        a



22       requirement              for            it     to       be    murder.              It        has        to    be    intentional

23       taking          of     another               persons               life.


24                                      So            not        knowing          thats              what         the       definition

25       is     I    mean         it            would        seem          to    say    --           read        in    the       question-
                                                                                                                                              62




     1   naire        you    believe             that          everybody               who           commits             murder       ought


     2   to    receive           the    death          penalty                  in    filling              out       this


     3   questionnaire.                     I    dont           think            you        believe             that.


     4   A      Yeah.            Correct.


     5   Q      Thats            because.capital                       murder               is       murder          plus       some


     6   aggravated              circumstance.                        Do        you    believe                 that       everybody

 7       who    intentionally                    kills          somebody ought                            to    receive          the


 8       death        penalty

 9       A      If     its       premeditated                         thats            a     possibility.


10       Q      A     possibility not                      a    certainty

11       A      Not     certainty                    no        sir.


12       Q      There        are       no       --    there           is        no    one        case          --    there       is    no


13       one    case        in   the        law       thatI            know           of     anywhere                in    the       United


14       States        where       if       you       commit           this           crime               you       automatically

15       get    the     death          penalty.                 There            is    no        automatic                death


16       penalty.


17                                     Instead                 the     Legislature                        set       up    these       two


18       questions          here        --       and       let       my see            if        I    can       finagle          this


19       around       there        so       you       can       see        it        better.               And       the    decision

20       on    life    and       death           is    determined by                        answering                    those


21       questions.              And        I    dont           want        to        jump           too       far       ahead       yet


22       because       there        are          two       parts           to        the    trial.


23                                     First          is       guilt-innocence.                                You       have    to


24       determine          has     the          State          proven           beyond               a    reasonable                doubt


25       that    the    defendant                    intentionally                     took           the       life       of    a
                                                                                                                                     63




     1   certain          person        during       the     course       of    a    kidnapping             or    as    the


 2       other       paragraph              that    he    intentionally              killed          one    person


 3       after       having           intentionally             killed        another          person        okay

 4       during          the     one    criminal          episode.


 5       A      Okay.                                                                                                       -




 6       Q      So       youd         had    to    have    found        either       or    both       of    those


 7       before          you     found       --    youd      had    to    have       found       the       defendant


 8       guilty          of    either        or    both    of    those        before       youd        ever       get           to


 9       the    punishment              stage       of    the    trial.


10                                     By    the    punishment           stage       of    trial           you    have


11       a    lot    of       evidence.            You    have     evidence          what       happened

12       before           during        and       after    the     commission             of    crime.           You


13       have       to    decide        whether          this    evidence           proves       to    you       the


14       defendant             is     guilty of          capital        murder       as    charged          in    the


15       indictment.                  Either murder             kidnapping           or    murder          during


16       murder.


17                                     Okay.        You    then     go    to    the       punishment             stage


18       of    the       trial        where       you may       hear     additional             information


19       about       a    defendants               criminal        background              criminal          history

20       or    lack       thereof            mental disability                  any       evidence          about       him


21       at    this       stage.


22                                     Your       decision       now     is    what       punishment             should


23       the    person           we    have       found    guilty        receive          for    the       crime       we


24       have       found        him    guilty       of     okay.         And    you       decide          that    not


25       by    voting          life     or    death        but     by    answering             the    questions.
                                                                                                                                       64




 1   And    depending             upon       how       the       questions                are    answered                 depends


 2   upon    what       punishment                the       Judge          assesses.


 3                                The       fact       --       just       for       a    moment        do       you       have


 4   any    doubts          about       your       ability                to    participate             in       a       process


 5   whereby       you       would          be    called             upon       to       answer    these             questions


 6   knowing       if       you    answered             them          a    yes       and    no     then          this         Judge


 7   would       order       the       execution                of    the       defendant          sitting                over


 8   here    on    trial          if    thats           what          the       law       and    the    evidence


 9   called       for.


10   A      If    thats           what       the.law             calls          for        yes     I    agree             with


11   it.


12   Q      Okay.           Some       people          come          in    and       say         Well        I       believe


13   in    the    death       penalty             and       I    think          its        proper       but          I    could


14   never       make       that       type       of    decision.                    Thats        what       the          law    and


15   evidence          called          for       and    calls             for       those       answers          to      be


16   answered          in    such       a    way       that          death          would       result.              You      could


17   do    that    if       thats           what       the       law       and       evidence          calls             for

18   A      If    thats           what       the       law       calls          for.


19   Q      Okay.           Now        after       youve              heard          the    evidence             about          the


20   crime       and    after          the       punishment                stage          you    hear    evidence


21   about       the    individual                 you          begin          to    answer       these          questions.


22   And     as    I    say        theres              not       any       situation            where        its           an


23   automatic          death          penalty.


24                                In    fact           the       first          question          is    automatically

25   answered          no     unless          we       prove         beyond           a    reasonable             doubt
                                                                                                                                                      65




     1   that    the       answer          ought              to          be        yes.       Just          like       hes




 not-6
 2       automatically                presumed                    to       be        innocent            right          now    until           we


 3       prove        if    we       do     beyond                    a    reasonable                   doubt          that    hes

 4       guilty.           If    youre               to       vote             right          now       whether          Mr.     Mamou          is


 5       guilty       or    not       guilty              of          capital              murder             you       find     him


         guilty       because          you       heard                    no       evidence.


 7                                    So        if        I       ask          you       to    answer             Issue       No.    1




 8       right       now        to    Issue           No.             1
                                                                           you          answer          no    because          you


 9       havent           heard       any       evidence.                            Okay.


10       A      Correct.


11       Q      Now        Issue       No.       1
                                                          says                     Do    you       find       from       the    evidence


12       beyond       a    reasonable                 doubt                theres              a    probability                that           the


13       defendant          would          commit                 criminal                 acts         of    violence          that


14       would       constitute             a    continuing                             threat          to    society

15                                    It    talks                 about              first         of    all       a    probability.


16       As   the    Judge           said       its               not          a    possibility because

17       anythings              possible.                     Its              possible             you       could       have       won        the


18       lottery last                night       on           Wednesday                    night             possible          win       to     it


19       on   Saturday.               Not       probably                       either          one       of       those       things


20       going      to     happen.


21       A      Really.


22       Q      So        its        not    just              a       possibility because                               things       are


23       possible           and       its        not              a       hundred             percent             certainty.


24       Otherwise              you    would              say             theres beyond                       a    reasonable             doubt


25       that    the       defendant             would.                        It       wouldnt              say       probably          it
                                                                                                                                                         66




     1   would          just       say       that        he       would.


 2                                          Probably              says        something                   more        than          a



     3   possibility and                         something              less          than          a     certainty                     somewhere


 4       in    between             that.            More            likely            than          not          is       a    phrase

 5       commonly             used          to    describe              probability.                          If      I       find       based      on


 6       the       evidence             I    heard more                 likely              than         not       this         person

 7       would          commit          criminal              acts       of       violence                   that         would

 8       constitute                a    continuing                 threat             to        society.


 9                                          It    used        the       words              criminal              acts          of    violence

10       not       capital             murder           or    murder              though                if   a     person               commit


11       them       those          are       obviously                 acts       of        criminal               violence.                   Could


12       be    a    robbery                 burglary               shooting                 someone              and       missing

13       hitting          someone                with        fist       as    hard           as      you         can           knock       them


14       out       or   cause           serious              injury          to       them           anything                  that       is


15       criminal             and       violent              in    nature.


16                            So       basically              this       is       a     continuing                    threat


17       question.                 And       the       question              is       as    the          defendant                  sits


18       before         you        that          day    you       make        the          decision                   do       you      find


19       from       the       evidence             you       heard           beyond             a    reasonable                     doubt


20       theres           a    probability                   that        he       would             commit            criminal acts

21       of    violence             that          would           constitute                a       continuing                  threat         to


22       society.


23                                          And    if    you        believe                that          beyond            a    reasonable

24       doubt          you        answer          yes.           If     you          dont               you       answer            no.


25       Okay.          Some        people             say          Well              if    I       find       a    person              guilty
                                                                                                                                                 67




 1   of    capital           murder              I    will           --    Im always                 going       to     believe


 2   theres         a    probability theyd                                  commit          criminal             acts        in    the


 3   future.            Maybe              so    maybe           not.


 4                                     I    mean          the        facts       of    the       case          itself        may    give


 5   you    enough           to        answer             this        question             yes.           In    some     cases          and


 6   other     cases              it        may not.                  I    mean        you       could          have     a    person

 7
     you    may   have            found              out        committed             capital             murder         but


 8   theyve       never            been              in    trouble              with       the       law.


 9                                 They              are        the       Eagle       Scout           choir          boy

10   straight       A        student.                     In.    other          words           what       they       did     was       a



11   total    aberration                        from       the        rest       of    their          life.           You    may


12   say      Well            based              on       thatI            dont        believe             hell        be     a



13   continuing              threat              to       acts        of    criminal violence.

14                                 On           the       other           side    you       may       find       a    person        in


15   and    out   of         trouble                 all        their       life           been       a    constant


16   skipping           in    and           out       not        necessarily                going          to    the


17   penitentiary                 being              convicted              but       someone             in    trouble           all


18   around.        You           may           think           that       person          is    a    continuing             threat.


19   Okay.


20   A      Okay.


21   Q      So    are         you          open           to     answer          that       question             either           yes       or


22   no    having       already                  found           a    person          guilty of                capital       murder

23   Are    you   still            open              to    answer           yes       or    no       depending          on        what


24   the    evidence              shows              relating              to    that       issue

25   A      Yes     depending                        on    what           the    evidence             shows.
                                                                                                                                               68




     1   Q      Now      if       you        answer          that        question                 yes         the    defendants

     2   going     to    receive                 the    death          penalty               unless          on     Issue           No..2


                find     there              is    a    reason          or     reasons                 why    he     should          not.
     3   you


     4   Issue     No.       2    doesnt               say       beyond           a        reasonable              doubt.


 5                                      Instead             it    asks        you                Do    you     find       that        after


 6       taking       into        consideration                       all.    of           the    evidence           including

 7       the    circumstances                     of    the       offense                   the       defendants

 8       character           and       background                 and        his       personal              moral

 9       culpability               I    like           to    refer           to       it     as       his    personal           moral


10       responsibility                 for           his    crime            there              are       such     mitigating

11       circumstance              or       circumstances                         I    like           to    refer        to    it    as


12       sufficient              reasons              why    this       person               should          receive           life       as


13       opposed        to       death.


14                                     It        gives       you       an     opportunity                    to     --    in    fact

15       I    demand     you       go       back        and       look        through                 all    the     evidence.


16       It    says     to       look       at        the    evidence                  the        circumstances                 of     the


17       offense.            In    other          words               look        back           at    the    evidence              about


18       the    crime            the    defendants                     character                  and       background              that


19       would    be     what          you       heard           at    the        punishment                 stage        of    trial


20       and   then      his       personal                 moral       responsibility.

21                                     Was       he     personally                     morally responsible                           for


22       the   commission               of       the        crime            or       was        he    a    getaway           driver

23       you   know.          And       then           determine              is       there           a    sufficient

24       mitigating           circumstance                       or    circumstances                         sufficient

25       reasons       why        this       person              ought        to       receive              life     as       opposed
     a-6
                                                                                                                                            69




     1       to   death        because           the       stage       youre         at    when           you        get    to     that


     2       question          if    you       find        him       guilty of          capital            murder            you      had


     3       to   have    because              you        wouldnt           find     capital              murder           anyway

     4   and       find        hes        a    continuing              threat        to    commit           further              acts


     5   of       violence           hes        going           to    get    unless        you       find            there       is


         reason          or     reasons              he    should          receive        life       as     opposed              to


     7   death.


     8                                    It    gives           you    the    opportunity                  to    make        that


     9   last       determination                          Is    he    deserving           of       the     death          penalty

10       for       all    the        things           we    know       about       him.


11       A         Okay.


12       Q        And     if        you       think        hes deserving                  of    a    life        sentence

13       you      make        that        decision              --    you    answer        that          yes.          I   mean

14       you      answer            that       yes        answer       that    question              --     start          over.


15       A        Its         yes     or       no.


16       Q        Yes.          There          are        sufficient          mitigating                 circumstances

17       right.           And        then       if        you    find       theres         not       a    sufficient

18       mitigating                 circumstance                 you       answer       that        no.         If    you     answer


19       the      first        question              yes        and    second       no     receive              death

20       penalty          --        first       one        yes       and    second        one       yes         he    would

21       receive          life        in       the    penitentiary.

22                                        Do    you        think       thats        a    good        system we               have


23       set      up     to    make         this      determination

24       A        At     that        time       --    thats            probably          our     best           system        at


25       this      time.
                                                                                                                                                       70




         1   Q       Now        let    me    give          you          an     idea      what          Issue        No.      2    is       about


         2   when        looking       at    mitigation.                        Basically                my        concept            is     it


         3   requires          you     to    go    back             and        look      at     all      the       evidence                and


         4   decide        whether          or    not          thats            mitigating.


         5                              In       other          words              does       it       give       any     reason


         6   whether        this       person          receive                 life      not       death.            You         may       have


         7   heard       the    defendant              was          high        on    drugs            and       alcohol          when        he


         8   committed          the     crime.                 Somebody              may      say            Well         they         think


         9   that     mitigates towards                         a       life       sentence.                 High       on       drugs        or


    10       alcohol           you     do    things             you          ordinarily                wouldnt            do.


    11                                  Juror          No.          2    may       say          Wait         a    second.              You


    12       get     high      on     drugs       or       alcohol                 you     still         ought          to       be


    13       responsible              for    your          crime             and     may      not       get       high       on       alcohol

    14       or    drugs       and     do    something                   like        this       again.             Thats              why     I




    15       dont        think        its        mitigating.

    16                                  Thats              okay          because           the         two       people          looked


    17       at    the    evidence           and       come             up    with       their          own       decision.                 They

    18       waited       and       determined whether                             its      mitigating               or       not       to


    19       make    that       determination.                           The       age    of       a    person.              This


    20       person       appears           to    be       a    young          man.         I      say       that    I       believe

    21       thats        mitigating.                  When             youre         young            you    do    stupid            things

    22       and    irrational              things             and      when       you      grow         older       you         dont             do


    23       those       anymore.


    24                                 Wait            a       juror         may      say              A person           this        age

    25       already done             capital              murder              the       worse          crime       in     the
1
                                                                                                                                                                7




     1       system               no    telling             what            hell            do    10         15    years           down        the


     2       road.            I    dont           think           it        mitigates towards                            a       life    sentence.


     3                                        Mental              ability.                  Maybe        theres                   evidence             a



     4   person           is           borderline mentally                              retarded                  or     slow          learner.


     5   Well         I           think       that          mitigates towards                            a        life           sentence.


     6   Someone                  may    say            I    know            people              of    his    mental               capacity                in


     7   work        and           neighborhood                        church               everything                       school

     8   whatever                      they       dont        go            out    and           commit       capital               murder.


     9                                        I    dont            see        why       that           has    any            affect          on     him


10       and     whether                 or       not       that            ought       to        mitigate              towards              his.


11       case.            I        dont           think       that            caused              him    to        do    what           he    did


12       okay.            So            basically             it            asks    you           to    go    back           and        look      at


13       the     evidence                 and       determine                     what       affect           it        would           have.


14                                            Just          because               theres mitigating

15       circumstances                        doesnt               mean you                 answer           yes.            They        should


16       be     sufficiently                      mitigating                      whether              you    think              life        or




--20
17       death        is          appropriate.                         Any        questions              about           that

18       A       No           sir.


19       Q       There             are    as        I       see        it     possibly

                                          MR.           MCCLELLAN                       I    have        two       minutes               left       or

21               do       I       have    any

22                                        THE           COURT                Go     ahead.


23       Q       By           Mr.       McClellan                       There           are       three           types           of    evidence.


24       Direct       evidence                    says        youre                an       eyewitness.                      I    saw        this


25       happen.                  Confession                           somebody admits                        to       the        police          or
                                                                                                                                     72




     1       someone       else       they           committed            the       crime.          And      three

     2       circumstantial                    evidence         that       tends         to     connect       the


     3   defendant              to    the        commission               of    the      crime.




     weighed-6
     4                                    Though          its      not         an   eyewitness             situation          but


     5   the     law       says       theyre              are     all      evidence            and    can    be


         by     you    as       being          of    the     same         level.          Direct       evidence          is    not


     7   giving        any       greater             weight        than         confession            evidence          or


     8   circumstantial                    evidence.


     9                                    They       all    can       be       either         good    evidence          or    they


10       cannot        be       good       evidence.               You         have      to    be    the    judge       of


11       that         obviously.                    There       can       be    circumstantial               evidence.


12       Could        be    a    situation                where       a    person         --    someones           house       is


13       burglarized                  a    person          found          dead      in    the       house    and    theres

14       a    bloody        fingerprint                   left.


15                                        That       bloody        fingerprint                 comes       back    to    the


16       defendant.               Thats              circumstantial                   evidence.             And    the       print

17       in    the     blood          of       the    victim              thats          circumstantial             evidence

18       that    the       person              committed           the         crime      not       direct    evidence.


19       Nobody        saw      it.            Not    a    confession.                   Nobody       confessed          to    it.


20       Its     evidence.




--25
21                                        Is    that       evidence             you      can    consider

22       circumstantial                    evidence               that     you        would

23       A      Yes.


24       Q      Would        be       able       to       consider         and        weigh

         A      Yes.
                                                                                                                                               73




     1   Q       Okay.          My           time       is    up    and        I   appreciate               your         attention


     2   and     answering.my                     questions                  and   pass        you     to      the       other       side.


     3                                   THE          COURT             Thank        you.           Mr.     Hill.


     4




     5                                                         EXAMINATION                                                                 -




     6   QUESTIONS          BY          MR.       HILL

     7   Q       Thank      you              Judge.            Mr.       Pena           Im      going          to    sit       up    here


     8   because       this             thing          is     in    the        way      and     I    dont           want       to    have


     9   you     having         to       keep          peering           over        and       have       to       keep     sitting

10       up     in   the    chair.


11       A       Okay.


12       Q       First      thing                 I    think        youll            realize          in       terms of             the


13       difference             how          I    talk        with       you       is     that       Mr.       McClellan

14       obviously          has          to       educate           jurors           as    to       the     aspects          of      law


15       and    the    Judge             has          done     that           also.            Im interested                    in       you

16       educating          me.


17                                       Im going                  to    speak          with        you     about         20        25


18       minutes and                ultimately youll be placed                                        on       a    larger          panel

19       of    jurors       and          come          back        some       point        at       the    end       of     September

20       and    select          12       people              from       that                    of
                                                                                   group              people.

21                                       This          is     my    only       opportunity                 to       visit       with

22       you.        And        I       guess           the        thing       to       understand                 more    than


23       anything          is       I    hope          you.    embrace             what        the    Judge          has    said


24       to    you    during             this          presentation                     especially                 the    comments

25       that    he   made              to       you    about           we    want        to    make       sure          that       the
                                                                                                                                                     74




     1       only    person        that             is    comfortable               is       you       because             in    five




 --9
     2       years    down        the       road          youre sitting                      there          going           Boy           you


     3       know     I    dont         think             that       Ive         really           made       the       right


     4   decision                 or    I           dont        feel       like         I    answered             the       questions

     5   as    honestly            as       I       could       have.             Then        what          have       we                   -




     6   accomplished                  here

 7                                      Okay.                 Weve        all     seen        shows          on      TV     where


 8       something            comes             up       10    years       later            and       jurors           you      know


         television              crews              go    back       to    the     jurors              10    years          later               If


10       you    had        known        about             that       or    known            about       this         what       would

11       your       verdict         have             been.


12                                      I       assure          you       the     12        people          that      sit       on    these


13       cases       always            feel          very       comfortable                  at       the    time         with       the


14       verdict.            We     want             to       make    sure        in        arriving            at    that


15       verdict           youve            had          the    opportunity                  to       express         whatevers

16       on    your        mind no matter what                             the     State              would       needs         or


17       defense.            Thats                  the       only    way        going        way       were          going          to    be


18       able       to     get    12        people             here       who    will         really            listen          to


19       everything              and        not       prejudge             it.         Okay.


20                                     What           did       you       think        about           coming         down       here


21       Monday           filling           out       questionnaires                        knowing         you       were       going


22       to    come        back     on          a   case        like       that             What        goes         through          your

23       mind

24       A      Basically              until              you    go       into     --       get       on    a    jury       you

25       really          cant       take            anything              serious.                I   mean           all    you       can
     --6
                                                                                                                                                         75




     1   do     is      listen            pay           attention              and       sort          it       out       whichever             way


     2   you     want          to    do       it.            You       cant         get       nothing                serious          because


     3   you     dont           have          a     decision              to       make       at       the       time.


     4   Q       I    hope          you       realize                 this     is    probably                   the       most     important


     5   of     cases          as    far          as        the       attorneys           are          concerned                because




 --7
         we


         A       Yeah.


 8       Q       --       we    are       given              an       opportunity               to         evaluate             you    and


 9       then        you       ultimately evaluate                                 the    case.                 We    use       these


10       questionnaires                       to        hopefully              give       you          an       opportunity             to


11       express           some       thoughts                    you    have        and       give             us    an    opportunity

12       to     look       through                them           ahead        of    time       so          we    dont           have    to      sit


13       here        an    hour       and           a       half       and     ask       you       all          these       questions.


14                                        I    want              to    ask     you       something                    there       was       a


15       question              maybe          our           environment              which             a    child          is    raised


16       greatly           influences                       how       that     person          is          developed             and    you


17       indicated              you    agree                 with       that.            What          do       you       mean by       that

18       A      All        I    can    take                 is    consideration.                           Ive        got       three       kids


19       of   my      own           okay.               I    can       tell        you    the          difference                between            my

20       oldest           and    my    youngest                       and      theres              a       big       age    difference.


21       Q      Right.


22       A      Goes           from    16          to        1-year-old.                  But          what          you    show       one      you

23       have      to      adopt       to          that           environment                 that          the       child       is    in.          I




24       mean         Ive        got          my middle                 child            my    daughter                   thats        in


25       honor        society                 in    everything.                      So        I       have          to    treat       her      a
                                                                                                                                             76




     1    little       different                and       go       into          her    environment               because             shes

     2    much       smarter             than       my    oldest             one       which          was   an    only          child


     3    three       years.


     4                                    A    learning             experience                  knowing          which          way    to


     5    go   and     which             way    and       taking            everybody                  grandmothers                   and

          uncles          opinions              which          way       you       should             raise      your         child.


     7   Q       Let      me    ask           you   what           do    you       think             your   wife         --     you    and


     8   your        wife      have        done          in    terms of                raising          a   child         makes       a



     9   difference

10       A       Yes.


11       Q       Youre          not       afraid              to    claim          credit             for   how      your        kids


12       come        up

13       A       I   have       to       claim        for          my    wife      and          I.



14       Q      Okay.           Good.           Also           there         was       a       question         in       your


15       opinion          how       illegal           drugs             affect         a       person         affect           their


16       whole       way       of    life       mentally                 and      physically.


17       A      Uh-huh.


18       Q      Personal             experience                    or    family members that                             have


19       suffered             through          those           type         of    circumstances

20       A      I    used       to       work       at    an       oil       refinery back                  a     number         of


21       years.           Im        --    I    have       a    medical             retirement               from          this


22       place.           I   used        to    make          gasoline.                    I   was     involved               with


23       toulene          which          is    thinner             basically.                    All    that         I    seen       how


24       it    affected             me    when       I    used          to       eat       food.


25                                       At    that       time          I    lost       my       taste      buds
                                                                                                                                                             77




     1   basically.                     And      I       know        it         affected                me    in        some     ways        going


     2   through              many        operations                    and          things             like       that          coming           back


     3   where           I    used        to     dump          salt             and       pepper             to    taste         it.         Its

     4   only       a        little        bit           because                my       taste          buds       have         come       back.


     5                                     Yes            I    know             drugs          mess          you     up.         Ive         seen-it


     6   in my          work         atmosphere.                        I       work       at       a    dealership                  and     I    deal


     7   with       a        lot     of    people and                       I       see    the          attitudes              change.                And


     8   you       can        tell        when           people             bring          in       cars          say     I    need        this


     9   work       done           to     my     vehicle                and          in    the          car       you     can        smell


10       theyve               been        smoking              a    reefer                cigarette.


11                                         Smoking                 is       bad          for    you.              Ive         gone      through


12       being          a     real        bad        smoker.                    I    cant           stand          it.         So       you       know

13       but       Ive         seen        it.            Ive           had          a    friend             of    mine        get      killed          at


14       the       refinery because                            of       this             stuff.              Totally           thrown            them


15       in    a    new        world.                I    lost          one          of    my best                buddies         out        there.


16       Q         Okay..           Okay.                Let       me       approach                something                 right        away.

17       You       read        about           this           in    newspapers                       hear          about        it      on       TV    and


18       almost              invariably                  the       comment                made      by        the        jury     after           the


19       case       is        over        having              to    do          with       this         defendant               was        trying

20       to    give           the       excuse            he       had          a   bad        upbringing                 and     bad


21       childhood.


22                                         People              are          real          tired         of        hearing         that           in    the


23       context             thats            somehow               supposed                   to   excuse               what     somebody

24       did.        Would              you      agree             that             theres          only           so     much         you       can


25       attribute                 to    childhood                          Doesnt              necessarily                   mean         youre
                                                                                                                                                     78




     1   going       to        commit murder.                        Doesnt           mean          youre        going        to       do        a



     2   lot    of     things.               I        mean       do       you    have          control          over       your


     3   destiny

     4   A      I    believe           everyone                 needs       love           okay.           And      whether            it.


     5   starts       at       the     family                starts         at       the       immediate            family             but


     6   it    doesnt           eliminate                  it    to       that       particular                atmosphere.                   I




     7   mean       you    can        get        it    from          anybody.


     8   Q      But       if    there            was       evidence             --    let       me       fast    forward           a



     9   little       bit       here.             Obviously                 there          are       a    number       of


10       different             factors            that          the       jury        I    should          say        may be

11       called       upon        to       answer.               Would          --    were going                 to    assume


12       for    purposes              of    this           discussion between                            you    and    me    that


13       you    have       already               made       the       finding             that       a   person        committed

14       capital          murder           one        way       or    the    other             as    its        alleged.


15                                     I    guess           the       question             a    defense          lawyer       would

16       be    concerned              about           is    are       you    going             to    enter       the       penalty

17       phase       of    the        trial           feeling             like        hey           theres          nothing


18       anybody          is    going            to    show          me   about           this       particular

19       defendant             thats             going          to    cause          me    to       feel       like    a    life


20       sentence          would           ever        be       appropriate                for       somebody          thats

21       committed             capital            murder.


22                                     I    think           thats           kind          of    the      most       succinct


23       way   to    put        it.         Do        you       feel      those           kind      of     feelings


24       starting          out             You        committed             capital             murder.             They     killed


25       two   people           in     the        course             of   one        transaction               or     kidnapped
                                                                                                                                      79




     1   somebody or                  attempted             to     kidnap      somebody and              caused           the


     2   death        of        that      person            just     doesnt           deserve       to       live.


     3   A      No         I.    cant           agree       with     that.        No        Ive     seen       it.         I




     4   used        to    do     a      lot     of    volunteer          work        for    the    United           Way.


     5   Ive         seen        things          like       that.


     6   Q      Okay.             Are         you     comfortable             that     in    the    event           you


     7   found        that        individual                guilty of          capital       murder           and     you


     8   now    know            that      life        in    prison       doesnt         mean mandatory                    life


     9   without           parole              we     only       need    to    know     whether          you        feel       like


10       that       would         in      any       way     affect       your     ability          to    answer           these


11       two    questions

12                                        In    other        words        youd        answer        those       two


13       questions              based          on     the    evidence          presented           or    not


14       presented              to       you.


15       A      Correct.


16       Q      You        know          theres            going    to    be    in    any    case        the    State


17       has    a    theory              of    their        prosecution.              None    of        us   were


18       present           at    any          alleged.       crime       scene.        If    we     were       --     just


19       as    Mr.    McClellan                 told        you     if    you    were       you     would       be        in


20       the    witness              stand          talking        to    the    12    jurors.


21       A      Correct.


22       Q      Right.               So        how    do     you    think       the    States            theory           of


23       the    case        develops                  How     do    you       think    the    prosecution

24       develops           on       a    case       like     this            Just    your    general           thoughts.

25       A      They        have          to    present          the     evidence.           Theyre            the        ones
                                                                                                                                                  80




         that               to                    their       point          more           than        anybody                else.
     1               got             prove


     2   Q      Okay.            Are       you        comfortable                 with       sitting              on       a     jury and


     3   making        a    decision             that        could       possibly                 have          less           to    do    with


     4   finding           the       truth       and     more       to       do        with       the        --    determining

     5   whether           the       State       has     proven          their              case       beyond              a



     6   reasonable              doubt

     7                                    In    other        words           you        could          be       sitting              here


 8       with    11        other          people        saying           you           know        I    feel           like          this


 9       guys probably                     involved           in    something.                     I    feel           like          the


10       State       has     come          real        close        and           Im not           liking              the


11       defendant.                  I    dont         like    anything                 Im hearing.

12                                        But    the     question                 is    not       have          you        arrived          at


13       the    truth.               The       question        is            Has        the       State           proven             this


14       case    beyond              a    reasonable           doubt          based           on       all        the          evidence

15       A      If    they           supplied           all    the       information                        and        I       didnt

16       make    a    conscious                 decision           of    that               but    you          cant            take


17       that    into        consideration                    not       present              at    the          time.


18       Q      Right.               Do    you        think    that          it        would       be       a     little             bit


19       unfair       for        a       juror    to     be    sitting                 in    these          seats              and


20       saying        you           know        it     just       seems           like       they       presented                    so


21       much    evidence                  called        a    hundred             witnesses              but               gosh        you

22       know    something                 inside        of    me       tells           me    they       have              not       proven

23       this    case       that           this       defendant              is        guilty beyond                       a



24       reasonable          doubt

25                                        Are    you     going          to    be        able       to    sit          in       judgment
                                                                                                                                                81




     1   of    somebody                   and       live    with       a       decision             like       that    even       if     you


     2   have        kind           of     thought          there          was       evidence             to    suggest


     3   somebody              did        do        something          wrong

     4   A      I     have           to       make     a    decision             I    have          to    live       with.


     5   Whatever              goes           through           here       I    have       to       live       with.        Yall         a-re



     6   gone.            I    dont             have       to    answer          to    yall.               I    got    to    live


     7   with       it.


     8   Q      Thats                right.            Are       you       comfortable                   being       able    to       make


     9   a    decision               if       the    evidence           didnt              satisfy             you    that    the


10       State       had           proven           the     case       beyond          a    reasonable                doubt           would

11       you    be        able           to     find       an    individual                not       guilty even             though


12.      you    heard               horrible evidence                           about       people             dying    and       all


13       the    surrounding                      circumstances

14       A      If        they           didnt         prove       their             point           in    my    opinion          I




15       would       say           its         open        to    suggestion.                    I    mean        I    would       have




--21
16       to    answer              no.


17       Q      Even           if     you       didnt            feel          like    you          had    ultimately

18       arrived              at    the        pure        truth       of       the    matter

19       A      You           have        to    consider           everything                   that      was        presented.


20       It    doesnt               make        any       difference                 what       I    think       of    any


         either           one       of        yall.             Just    because             I       dont        like    you. that


22       means       Im going                   against           you.           I    cant           do   that.


23       Q      Right..


24       A      Its            not        moral.


25       Q      Okay.               How        --    would        there          be    any          difficulty          on    your
                                                                                                                                               82.




     1   part     listening                      to       police           testimony and                 calling        it        the    way


     2   you     see            it        if    you       felt        like        a    police       officer       was         shading




     that-6
     3   the     truth               a     little              bit    to     butter          the    States        case            and    you


     4   really            didnt                observe               what        he    said       or    padding        things           a



     5   little            bit             are        you       going        to       hesitate          to    disbelieve


         officer

     7   A       If        it        sounds           a        little        fishy        then          you    cant      consider


 8       it.


 9       Q      Would                that        apply           to     any       witness

10       A      Any         witness.


11       Q      Would                it        make       any        difference           if       the       witness     was       called


12       by    the         States                lawyers              or   the         defense          lawyers

13       A      No          no        difference.


14       Q      Are         we        going           to        start      out        with     a   disadvantage               if        we


15       should            call            witnesses                  offer       testimony which                 were            not


16       required                to        do    --       if     we     were      to     call      witnesses            are        you

17       the    kind             of        individual                 going       to     say        Well         you    know


18       theyre             defense               witnesses.                   We      can     anticipate          what           theyre

19       going        to         say

20       A     No.


21       Q     Any         more                than    you           would     say           Well        theyre         police

22       witnesses.                       We     can       anticipate                 what     theyre          going         to    say.

23       A     Basically                        you    have           to   supply         the      evidence        no        matter

24       where        it        comes            from.


25       Q     You          strike               me    as        an     individual             pretty         comfortable
                                                                                                                               83




     1   making        a    decision

     2   A      Yes.


     3   Q      You        deal      with         people       day        in    and    day     out

     4   A      Correct.


     5   Q      What        type       of        information              do    you    think       is    important


     6   for    you        personally              to    judge        a    persons           believability              or


     7   their       credibility                    What       kind        of    things       do     you      take     into


     8   consideration

     9   A      Basically              I    try     to    find        out       personality             wise     where


10       they    sit           where        theyre            coming           from     how       they     talk        are


11       they    comfortable                 talking           to    me.


12       Q      Even        if    theyre            just       yes        and    no    answers           can     you    pull


13       any    other          information               out

14       A      Thats            my job.            I    mean        thats            the    way    I    do    it..     I




15       run    --
                      basically              I    run     a    Toyota           division          over     there.


16       Thats        my       job.         Im     in     customer              relations.              Whats         the


17       problem               Why     are       you     so    mad          One       person       in    particular

18       may    have       a     bad day.               Everything              has    to    go    into


19       consideration.

20       Q      Whats            the       worse        days        Monday

21       A      Usually           Fridays.


22       Q      Friday.              Everybody            trying          to     get    something             done    by

23       the    end    of        the       week    and        not    enough           time    to    do    it

24       A      Well           everydays                bad    when       youre         not       there.        Im the

25       only    certified                 one    that        knows       all     the       ropes.        When        Im
                                                                                                                                                         84




     1    gone       other        people             are        doing             my job.                  I     have       to    go        back


     2    and    straighten                it    out.            Puts             me    busy              which        is    good.


     3                                 But       I    mean           I       get       to       find           out     more


     4    information             about          people           because                   I    have            to    call       them        back


     5   and     ask   what        went          on        were              you       okay              with     it        did    you        have


     6   a    problem           and     thats              how           I    got       to       know            people          and    thats

     7   how     you   get        to    know          people                 and       solve             problems.


     8   Q      What       do     you       think          about              the       idea             you      could          sit    through


     9   a    trial        however              long       it     takes                 and          the         State      presents

10       evidence          and     sitting                on    the           edge          of       the         chair      and        at     some


11       point       Mr.    McClellan                 or       Ms.           Connors             says            the    State          rests.


12                                     How       do       you    feel                 about          the        prospect           not       even


13       hearing       from       the           defendant                    or       any       witnesses               from       the


14       defense       and       having              to    decide                 a    case          just        based        on       what        the


15       State      has     shown          to        you

16       A      They       have        the       point          to           prove.


17       Q      Okay.


18       A      According             to        the       law    hes innocent                               if     they      dont            prove

19       evidence          enough          to     change             my mind.                        Theyre             aint           no


20       ands         ifs         buts            about          it.


21       Q      Im looking                 over           to    Mr.          Wentz              to       see     what       he     wants       me

22       to   ask    since        were            so       far       apart.                     Do       you     have       any

23       questions          of    me
24       A      No     sir.        You          got        a    job          to       do.            I    know        what       your        job

25       is   just     like       they          have           over          there.
     --3
     1




     2




     4




     5




     6   were
             Q


             A


             Q


             tick.


             there
                  Are
                     Okay.


                     And




                     to
                            this


                            you


                           Although

                       anything

                            tell
                                    --
                                           is




                                       Judge
                                                only
                                                    the




                                                    I




                                                about
                                                         think
                                                              best


                                                              you




                                                               you


                                                          Burdette
                                                                      we
                                                                         way


                                                                      know




                                                                         that
                                                                              got




                                                                               we
                                                                                   to


                                                                                   who




                                                                                    I
                                                                                        a
                                                                                            get




                                                                                            need


                                                                                        would
                                                                                                you


                                                                                                pretty
                                                                                                      it



                                                                                                       are




                                                                                                       to


                                                                                                       like
                                                                                                            done




                                                                                                             good


                                                                                                             know
                                                                                                                  what




                                                                                                                  to
                                                                                                                        is




                                                                                                                         feel.


                                                                                                                         that


                                                                                                                         have
                                                                                                                              through

                                                                                                                              makes




                                                                                                                                    if
                                                                                                                                          you


                                                                                                                                         Is


                                                                                                                                          I
                                                                                                                                                     85




     7   Mr.      Pena       return                 in    a    couple          of       weeks          from now              to    be


     8   considered                for          the       final          12    people                 is    there        anything

     9   Ive missed

10                                         Is           there       anything                I    need       to    know        that       tells


11       me Hey                 Wayne               youre making                    a       mistake          putting              him    on    the


12       panel

13       A        As      far     as       anything                 in     particular

14       Q        Anything.


15       A        Ive        gone          through              mostly everything                            from one             extreme

16       to      another.              Ive              seen.    --        how      can          I
                                                                                                      say    it          Ive        seen


17       good        and     bad.               I   used        to       do    a    lot          of    volunteer             work        for


18       United        Way.            I    coached              baseball                       coached          football.               Ive

19       coached           girls           and          boys     and          seen       kids          broken       homes          and        all


20       need        tender        love             and       care.           Everything                    can    be    better          if


21       everyone            gets          involved.


22       Q        Fair enough.                          Any     questions                for          me

23       A       No        sir.


24       Q       Thank        you           sir.


25                                         THE          COURT            Thank          you           Mr.        Pena.        In     just       a
                                                                                                                                          85




     1    second         Im going                   to    excuse              you.            Before       I    do      I    will


     2    tell     you     we        want           you       back        here          on     Wednesday             the      29th


                                              Im going




     weeks-6
     3    of    September.                                              to        give        you    a    piece      of      paper

     4    about         that       in     a        second.


     5                         Between               now          and     I       guess        it    was       three


          from     yesterday                  when        we       get        together               dont        alter        your

         life      one     bit.               Do     your work                    things        like
     7
                                                                                                           you    ordinarily

     8   do     them.          Do       your        personal                  things           like       you    ordinarily

     9   do     them.          Even           if    you        have           a   chance            to    leave        take         the


10       chance         and        go.


11                             The        only        thing             that             ask        of           between
                                                                                    I
                                                                                                          you

12       now     and     the        next           time        we       see       you     is        this         Please        do


13       not     talk     about            this          case        with          anybody.                Please       do     not

14       permit         anybody            to       talk          about           this        case        with                 If
                                                                                                                  you.

15       there        should         be        any       news        media              treatment           about       this


16       case         avoid         it.


17                            If     theres anything                               about            the   case     on

18       television                refuse            to       watch           anything               about       this       case.

19       If    theres anything                           on       the     radio               refuse       to     hear       it.


20       Anything         about           this           case        in       the        newspaper               refuse       to


21       read     it.


22                         Mr.            Pena           the        reason              for    each       of    those        five

23       restrictions                is       for        the       purposes               of        accomplishing             the

24       same    single            common            objective                    and     thats           this          To    make

25       sure    if      you       do     become              a    juror           in     this       case        the
                                                                                                                             8-7




     1   decision       that       you    do     reach      in     this         case        whatever           that


     2   decision       winds       up    being       is    based          exclusively                  upon       the.


     3   information           that      you     received          here         within           the


     4   courtroom       and       not    be     affected          in      any     way       or


     5   influenced          by    anything          you    might          hear        about           the    case

     6   outside       the    courtroom.


     7                   Before          you     leave          sir        have        you       any


     8   questions       at       all    for    me

     9                   VENIRE          PERSON       PENA            No        sir.


10                       THE       COURT         For       the     two      weeks           --    if     someone


11       needs    to    know       where       youve        been        the      three           days        youve

12       been    with    us       that    will       take       care       of    this.            This        is    a



13       note    to    remind you where                we       want       you     to       be    and        when       we


14       want    you    to    be    here.        And       we    want       you        to    be    right


15       outside       the    door       in    the   morning           by       930         on    Wednesday

16       the    29th    of    September.


17                       Any       questions

18                       VENIRE          PERSON      PENA             No        sir.


19                       THE       COURT         Thank          you    very       much            sir.        With


20       that    youre        excused.


21                       VENIRE          PERSON         Free          to    go
22                       THE       COURT         Yes        sir.           Thank        you       for    your

23       time.


24                      MR.        MCCLELLAN            Thank          you.

25                      MS.        CONNERS           Thank        you.
                                                                                                                            88




     1                      MR.     HILL          Thank        you         sir.


     2                       THE    COURT          Ms.      Scott.              Mr.          Hill    gave        you


     3    back    your       five    extra       minutes.


     4                       Prospective            Juror           No.        4    Ms.        Joyce       Scott


     5   entered       the        courtroom.

     6                      THE     COURT          Come        on    in     Ms.         Scott.            How     are


     7   you     today       Ms.     Scott

     8                      VENIRE        PERSON       SCOTT              Just          fine.


     9                      THE     COURT          Please           have       a    seat          and     make


10       yourself just              as    comfortable               as    you       can        be.


11       Ms.     Scott       before        we    begin         Id        ask       you       to     remember

12       back    to    yesterday           and    those         things             we    talked           about
                                                                                                                                 ia

13       yesterday          and     add    to    that       the      things             we     talked       about

                                                                                                                                 11


14       this    morning.
                                                                                                                                 i-ý


15                          Out     of    everything            that       we       have          talked

16       about    up    to       this     point        do      you       find       that          you     have       any

17       questions          at    all     for    me
18                          VENIRE        PERSON       SCOTT              No.


19                          THE    COURT          Is     there           anything             up     to    this


20       point        Ms.    Scott         that    we       have         not       yet       touched        upon       or


21       talked       about       that     you    feel       as      though             we    should because

22       it    might    have       some     bearing          on      your          ability           to    be    a



23       juror    in    this       case

24                          VENIRE        PERSON       SCOTT              Not       right           now     no.


25                          THE    COURT          And     if      you      would              please            maam
                                                                                                                               89




     1   when     Im     asking           the       questions               its        a    natural           thing




     can-6
     2   for     you    to     answer          my    questions              Im asking                  but    these


     3   other     folks          have        to    hear    your           answer.           Keep           your    voice


     4   up    loud     enough          for        them.


     5                       Is    there           anything           Ms.     Scott              that        you


         think     of    about          your        personal          life         whether             it     might       be


     7   something           about       your        professional                life        or    might           be


     8   something           about       your        health          or    something              else        that       you


     9   can     think       of    that        would       in       any    way     interfere                 with       your

10       ability        to    be    a    juror        in    this          case    during           the        time


11       frame     that       weve        talked           about

12                           VENIRE       PERSON           SCOTT            No.


13                           THE    COURT             Before          we    begin           is    there


14       anything        at       all    that       you     would          like        to    raise           any

15       questions           you    have           any     comments          you        would          like        to


16       make

17                           VENIRE       PERSON           SCOTT            No.


18                           THE    COURT             I    see       that    one        of       your       three


19       favorite        television                shows        is    Judge        Judy.

20                           VENIRE       PERSON           SCOTT            Yes.


21                           THE    COURT            Very           well.        Ill         just       turn        the


22       page.     Can        you       see    how        and       why    this    is        a    little       bit


23       different

24                       VENIRE           PERSON           SCOTT            Yes.


25                       THE        COURT            And        I    got    to    tell           you    the
                                                                                                                                       90




     1   truth        Ms.       Scott               my       father        is      83    years        old       and


     2   watches          Judge           Judy.              It    amazes          him    a    son        which       he



     3   has    spent          so    much           on       education             cant        get        things        done


     4   in    16    minutes              like       Judge          Judy.           It    slightly drives                        him


     5   crazy.                                                                                                                  -


                                                                                                                             -




     6                         Ms.        Scott              the    questionnaire                   you     filled


 7       out    and       we    all           recognize             you       filled          them        out    before


 8       you    ever       talked              to    anybody             about          the    case         before          wed

 9       ever       had    a    chance              to       visit        and       therefore              you        since


10       that       time        have           become             aware       of    more       of    the        rules


11       that.        Exists              youre              aware       of     the      pitfalls           of       filling


12       out    the       questionnaire.

13                             And        I    say       that       for       this       reason.            Maybe          some


14       of    the    questions                    you       were    given          in    the       questionnaire

15       the    answer          now           might          change       because             of    what        we    have


16       talked       about          to        this          point        maybe          they       would        not


17       change.           Doesnt                  make       any    difference                whether           they


18       would       or    wouldnt.                      I    want       you       to    understand              you


19       possess          more       information                    than       you       did       when    you        filled


20       out    the       questionnaire.

21                             And    I        ask       and      say     that          for    this       reason             On


22       Page    12        Question                 No.       58     the       question             asks             What    are


23       your    feelings             about              the      death        penalty               And        your


24       answer       was            If        a   person           is    found          guilty           he    or     she


25       should       get       the           death          penalty.
                                                                                                                                9




     1                        Can       you    see    based           upon          the    conversations


     2   that       we    have       had       Ms.    Scott            that          death       penalty            is



     3   simply an            optional          punishment

     4                        VENIRE          PERSON       SCOTT               Yes.


     5                        THE       COURT         Along           with          life       sentence                    -




     6                        VENIRE          PERSON       SCOTT               Yes.


 7                            THE       COURT         It    is       not       a     required          punishment

 8       according            to    the       law.


     9                        VENIRE          PERSON       SCOTT               Yes.


10                            THE       COURT         Now        it       may        very       well       be   you


11       might       think         to    yourself if             I    were           a    juror       in     this        case


12       and    I    found         somebody          guilty of                capital           murder          I   would


13       answer          those      questions             there       in       such        a    way    the      death


14       penalty         be    imposed.


15                            If    thats        the       way       you       feel            thats        the     deal

16       nothing         wrong          with    that.        But          I    got        to    know       if   you

17       feel       that      way.


18                            VENIRE         PERSON        SCOTT                         applying          to   these




--20
                                                                               If


19       questions

                              THE       COURT         Ms.    Scott                 you     found       somebody

21       guilty of            capital          murder       for       that          reason         would        you

22       answer       the      questions             in    such       a       way        that    the       death

23       penalty         would          be   imposed

24                            VENIRE         PERSON        SCOTT              Always.

25                            THE       COURT        Thank           you       very        much.
                                                                                                                               92




     1   Challenging                Ms.       Scott

     2                         MR.       HILL            Yes         Your    Honor.


     3                          THE      COURT             Youre           excused.               Thank          you    very


     4   much.           Thank          you        maam.             Hashagen               something             like


     5   that       Neil.           Frances.


     6                          Prospective                   Juror        No.    6        Ms.    Frances


 7       Hashagen          entered             the       courtroom.

 8                             THE       COURT             If    you       will       come        straight

 9       through          there          and       walk       over        here.            Pronounce             your


10       last       name.


11                             VENIRE          PERSON           HASHAGEN                   Hashagen.


12                             THE       COURT            I     didnt        know           if    it    was       Has    or


13       Hash.           Have       a    seat       please            Ms.    Hashagen.                  To       begin

14       let    me       ask    you       this            Out        of    everything              weve           talked


15       about       yesterday                as    well        as    this       morning               do    you       find


16       you    have       any          questions             for     me

17                             VENIRE          PERSON           HASHAGEN               No.


18                             THE       COURT            Is     there       anything              to       this


19       point       we    have          not       yet    talked          about            that    you       would

20       like       for    us       to    talk          about        because          it     might          be


21       something             --       might       have        some      bearing            on    your          ability

22       to    be    a    juror          in    this       case

23                             VENIRE          PERSON           HASHAGEN               Everything                 youve

24       brought          up    and       discussed              was      very        clear        and       open        so

25       I    think        you          know        I    have        no   problem.
                                                                                                                                    -93




     1                        THE    COURT            Good.                  Is       there       anything             at     all


     2   that    youre             aware       of     now          something                 may        be    about         your


     3   professional               life        personal                life               health        or       anything




     during_-6
     4   you    could         think       of    that       in       any           way       might        interfere


     5   with    your         ability          to    be    a       juror              in    this        case


         the    time      frame          weve        discussed

     7                        VENIRE       PERSON          HASHAGEN                         No      I    dont          see


     8   anything.


     9                        THE    COURT            In       just          a        second        the       lawyers


10       are    going         to    ask    you       some          questions.                    Before            they       do

11       there       is   a    question             that       I    have              regarding              your


12       questionnaire               and       you    were          asked              the    question              on


13       Page    5    and      was       Question          5            Is        there       anything              that


14       would       prevent         you       from giving                   this           case        your       full


15       attention            if    to    last       10    days          working                 beginning

16       October          4    1999

17                            You    checked          yes.              As        I    took      the         question         I




18       just    now      asked          you        your    answer                    was    no         and       Im

19       assuming         that       your       answer             to    the           question              in    the


20       questionnaire               has       been       resolved

21                            VENIRE       PERSON          HASHAGEN                         Yeah.


22                            THE    COURT            Okay.              Taken              care        of    your


23       grandchildren

24                            VENIRE       PERSON          HASHAGEN                         Uh-huh.


25                            THE    COURT            Okay.              The           lawyers           in       just    a
     --6
                                                                                                                      94




     1   second       are        going       to    visit         with    you         and      theyre       going


     2   to    ask    you        some    questions.                   They    may very            well    want


     3   to    talk    about           some       things         with    the       State          and    the


     4   defense       may       very        well        talk     about       some        other     things.


     5                      Keep        in    mind         Ms.     Hashagen               theyre         not


         trying       to    commit           you    to     anything            how        youll         vote    or


     7   what    youll           do     or     react.           Theyre         just        --     these    are


     8   my    words       --    they        just        want    to     be    satisfied            that    youre

     9   armed with             the     information              about        the        rules    that     can


10       come    into       play        during           the    course        of    a     trial     like       this


11       and    that       youll         play.fair.                Those       are       my     words.


12       Thats        basically              all    it     is.


13                          VENIRE           PERSON        HASHAGEN                Yeah.


14                          THE       COURT          That        youll         take        everything          into


15       account           all    the        testimony            all        the    evidence        because


16       theres        nothing           thats           automatic.


17                          VENIRE        PERSON           HASHAGEN                No.


18                          THE       COURT          And        you     evaluate          the     evidence


19       however       you       see     fit       but         that     youll        give        everybody       a


20       legitimate             shot      judgement               logic        and       common     sense.


21                         Okay.         With        that         Mr.    McClellan.


22                         MR.     MCCLELLAN                   Thank      you        Your        Honor.


23


24


25
                                                                                                                              95




     1                                          FRANCES            D.     HASHAGEN

     2       having    been       sworn       as     a    prospective                juror       testified         as


     3       follows

     4




     5                                                   EXAMINATION

     6   QUESTIONS           BY    MR.    MCCLELLAN

     7   Q       Ms.       Hashagen           my     name         is    Lynn     McClellan.              Along         with


     8   Claire        Conners           we    represent                the     State       of    Texas      in    this


     9   case.         I    want    to    just        let         you    sit     back       and    relax.          Im
10       going        to    ask    you    to       share          with           some       of
                                                                          us                      your      opinions

11       and     beliefs          about       certain             aspects        of       the    law   and    to       find


12       out     something          you       put    in          the    questionnaire              and             a
                                                                                                            get

13       better        chance       to    know       you           what       your        thoughts       are.

14                                  It    says       in          here    you    work        for    the      Harris


15       County        clerks        office              I
                                                                 guess        for     a   number       of    years




--18
16       A      Right.

17       Q      Did        you    work    in    a



         A      I   was      in   probate.


19       Q      Probate.


20       A      Probate.


21       Q      You    never        worked          in       criminal

22       A      No.        No.


23       Q      Okay.            Theres        also          a   question           in    here    about      you       made

24       mention       your       niece        had       been          killed       by    her    ex-husband

25       A      Uh-huh.           Correct.
                                                                                                                                                                 96




          1       Q      How           long          ago        was          that

          2       A      About              three              or    four          years.


          3       Q      All           right.                  And      was        he    prosecuted                  for       that

          4       A      Yes               he    was.               Thats           over           and    done        with.           My


          5       sister-in-law                       didnt                  want       to        get    involved              so       I    dont           -




          6       know           too    much          about             the     case.               I    know        he    wa-s     convicted

         7        and    I       think           he       got        35       years          or     something              like       that.


         8    Q          Okay.                  Do    you       think           he       was        handled           properly              or   not        or


         9    do        you       have           an       opinion

     10       A          I       dont            have          an       opinion              because           I     really        dont          know.


     11       Q          Nothing                 then           I       guess           would            affect           your     ability         to


     12       serve              as     a       juror          in       a    case       like            this

     13       A          No.


     14       Q          All           right.              Let          me    go     to       another              area     of     the


     15       questionnaire                           where             it     says          --
                                                                                                   gives           you    choices           about


     16       assume              that          youre               a       juror       to        determine              the      sentence         for


     17       a       defendant                 whos            been          convicted                  of    capital           murder.           The


     18       law        gives              you       a    choice             of    death            or       life       imprisonment.

     19       Which              of    the           five       you          would        choose               and               chose
                                                                                                                         you                 No.       2.


    20                                               There              are    some           kinds           of    cases        in   which        I



    21        know                could           not          vote          for    the           death
                             I
                                                                                                               penalty           even       if   the

    22        law       allowed                 me        to    but          there        are       others           which        Id        be


    23        willing                 to    consider                 voting             for        it.         Okay.

    24        A         Uh-huh.


    .2        Q         In        answering                    that          question              can        you    tell      me     what       kind
l
                                                                                                                                                97




     1       of   cases       can        you       think              of      anything          in    particular

     2   A         No.


     3   Q         What       kind           of    cases              where        you    could       not    vote       for       the


     4   death          penalty           even              if    the       law     allowed.         you    to

     5   A         No        depends              on        whatever           I    would       be    going       against             or    -




     6   whatever.


     7   Q         If     the      law        and           evidence          calls        for       the    death       penalty

     8   regardless what                          type           of    crime was           presented             to    you       that


     9   being          --    assuming                 it        was    a    crime        that       carried          the    death

10       penalty             as    an     option                  are       you     saying       if    the       law    and


11       evidence             calls           for       the           death        penalty           that    you       could          do


12       that          regardless of                    the           type    of     crime

13       A         Yeah.           If    the           law        required           it     I    think       I    could          do


14       that.


15       Q         What       kind       of       cases               come    to     your       mind when             you    think


16       of       cases       where           you       think           the        death    penalty          ought          to   be


17       available                as    one       of         the       forms        of    punishment

18       A         I    think          the     killing                 of    innocent           people       that       have          done


19       nothing             on    their          part            to    cause        this       result.


20       Q        Okay.            Now        as        the           Court    told        you        capital         murder           is


21       murder         plus           some       aggravated                  circumstance.


22       A        Uh-huh.


23       Q        What       we        have       alleged               in    the        indictment          is   murder

24       during         the        kidnapping                    in     one    paragraph              and   murder          during

25       the      course           of    committing                     another          murder        in    another
                                                                                                                                           93




     1   paragraph.              Those       are           two    types         of    capital          murder.


     2   A      Uh-huh.


     3   Q      If    a    person       is       found           guilty of            capital          murder

     4   theres           only    two       punishments.                    Thats            life      or    death.               But


     5   for    the       offense       of.murder                  that         is         the   intentional                           -




 --7 6   taking


         A      Uh-huh.


 8       Q      --    of     someones             life           without         any       legal       justification

 9       for    that.        I    mean       its           not     in    self         defense           not        an


10       accident           and    not       connected                with       some        other      crime.


11       A      Right.


12       Q      For    the       intentional                --     for      a    murder           death        penalty

13       does    not       apply.           The       ex-husband                killing          his    wife            the


14       death       penalty       doesnt              apply          unless          it    was     also       a    burglary

15       robbery           sexual       assault              whatever                the    case       may     be.


16       A      Right.


17       Q      For    those       kind          of    cases          where          someone        intentionally

18       killed       someone          but       doesnt            commit            another        felony          to       make


19       it    capital       the       range          of    punishment                as    the     Judge          indicated

20       is    five    years       to       99    years          or     life.


21                                 Are       you       able       to     keep         your mind          open           in    a



22       murder       case       not    a    capital             murder          case

23       A      Uh-huh.


24       Q      But    a   murder           case       the       full       range          of    punishment              is       as


25       low    as    five       years       to       as    high       as       99   years        or    life       and        wait
                                                                                                                                         99




     1   until        you       hear        the       evidence        before             determining              what       the


     2   appropriate                 punishment              should           be

     3   A          Yes.


     4   Q      Murder            as    I    said       then        becomes          capital          murder           when


     5   its         connected              with       something              else.            What   we        have    alleged

     6   here        is    murder           during          the     course          of     kidnapping             or    murder


     7   during           the     course          of    another           murder.


     8                                  Do       you    have        any       doubts        about      your           ability

     9   to    participate                  in    a    process        whereby              you    would          be    called


10       upon        to    make        decisions             that     you       knew        would      result           --       could


11       result           in    this        Judge       ordering              the    execution             of     the


12       defendant              sitting           over       here     on       trial        if    thats           what       the


13       law    and        the       evidence           called        for

14       A      Id         have        no    problem          with        that.


15       Q      All        right.            Some      people         come          in     and    say           Well         I




16       believe           in    the        death      penalty                but    I     could      never           make       that


17       type       of     decision              you        know.         I    not       only     dont          want        to    be


18       put    in        the    decision              I.    could        never          make     a   life        or    death


19       decision.               I     just      couldnt            live        with       myself          if     I    did       that.


20                                      I    assume          you    dont            fall       into    that           category

21       A      No.         No.


22       Q      If        thats        what        the       law    and        evidence           called          for        youd

23       do    whatever              the    appropriate              answer              was     whatever             the    law


24       and    evidence              showed

25       A      I    would            yeah.
 --6
                                                                                                                                         100




     1   Q      Okay.           Theres         a    question            in    here        that           asks       if      you


     2   more     likely            agree     or    disagree            --    and        it        says       in    here


     3   thats        not       a    question         its        a   statement                and        you       check         more


     4   likely       agree         with      this       statement            or     disagree                 with        it.


 5                                    It     says    the       death         penalty               is    always


         justified          for       intentional              murder.             Well             intentional

 7       murder       is    the       only     kind       of     murder        there               is.        There        is     no


 8       unintentional                murder.            You     intend        to        murder.                Thats            the


 9       definition                 You     intend        to     kill        someone           without              any         legal


10       justification.                    That     is    murder.


11                                    And    for     the       murder         you        know           now    the       death


12       penalty       doesnt              apply     only        5   years           99       years            or    life         and


13       death    penalty             only    applies            when        its         murder              plus    some


14       other    aggravated                circumstance.


15                                    Do    you     still        believe           that        the           death       penalty

16       ought    to       be    available           or     that        everybody              who           commits            murder


17       ought    to       get      the     death        penalty         or    do        you       believe           that

18       A   I    guess          not       everybody.


19       Q   Okay.


20       A   It       depends.


21       Q   Depends             on    the    circumstance                   and    what           the        evidence

22       showed

23       A   Right.


24       Q   Okay.              Now        there     are     people           who        come           in    and    say

25       Well     I    think          they    ought         to   expand            it.         I        think       the     death
                                                                                                                                       101




     1   penalty           ought     to       apply          to    murder.         Thats            not    what       the        law


     2       says.     Now        what        were           concerned           about        is    setting        aside


     3   your        personal        opinion             what       you     think       the        law    ought       to    be


     4   and     can       you    follow          it.         Now        can     you    do     that

     5   A       Right.


     6   Q       Set       aside     any        personal            opinion        and        follow       what       the


     7   law     is    now.


     8   A       Definitely.


     9   Q       All       right.         Because             the       bottom     line       is     this         Youre

10       going        to    be    asked         to      take       an    oath     to    a    true        verdict       render


11       according           to    the     law          and       evidence.            And    what        youll        be


12       taking.       an    oath     to      do        is    whatever           the    law        and    evidence.lead

13       you     to    do.        Thats           what        youd        do.


14                                  If     it        leads         you    to     find       somebody        not


15       guilty        because       the          State        didnt           prove        their        case    beyond

16       a    reasonable           doubt             you      find       them    not     guilty.            If    the


17       evidence           leads    you          to     guilty and             leads        you     to    answer          the


18       questions           in    such       a      way      death       results        or      answer         the


19       questions           in   such        a      way      death       does    not        result        but    life


20       imprisonment               do     that              follow       whatever           the     law    and


21       evidence           leads    you.

22                                  Any       reason           you       could    not       do     that

23       A      No.


24       Q      Let    me     talk       to       you        for   a    moment         then      about      the


25       punishment           stage        of     a     capital          murder         case        keeping           in   mind
                                                                                                                                              102




     1       before        you      get    to     the    punishment                stage          of    a    capital           murder

     2       case         you    would         have     already            decided        that          the    person           on


     3       trial        is    guilty of          capital           murder.             Otherwise                 you     dont

     4       get     to    the      punishment           stage            of    trial.


     5   A           Right.                                                                                                          -




     6   Q           Okay.          The    person        is       not      guilty         everybody                goes    home.


     7   So before                  you    get    to     the        punishment            stage          of    a    capital

     8   murder           trial           you    would        have         had    to     find          someone       guilty              of


     9   capital               murder      in    this        case.             Then    you     would          have       found


10       the       defendant              intentionally                 took      the     life          of    someone

11       during           a     kidnapping.


12                                        Okay.         Intentionally                  killed           someone          during

13       committing                 the    offense           of    murder         or     killing             two    or    more


14       people           during          one    criminal            episode.             If      you        find    those       to


15       be     true          and    find       the     defendant              guilty        of    either           one    or    the


16       other            youll           be    giving        basically               this     verdict               We    find


17       the       defendant              guilty        as    in     the       indictment.


18                                        Some    people           may     think         guilty of             kidnapping

19       murder.               Some       people        may       think        guilty        of    killing           two

20       people           in    one       criminal           episode.             They       believe           how       the

21       indictment                 reads.        Guilty           of     capital        murder.


22                                        So     you     could          have      six believe                one     way       and


23       six       believe           another          way         still        guilty.            Two       different.ways

24       alleged           committing             it.


25       A         Uh-huh.
                                                                                                                                          103




     1   Q      And       if     he    committed             one       or    both             that      way    beyond          a



     2   reasonable              doubt           hes guilty                 of      capital             murder.           Any


     3   problem          with        that       aspect          of    the       law

     4   A      No.


     5   Q      If    you        find       a    person          guilty          of      capital          murder          though

     6   you    dont            know       what       the    punishment                  is       going       to    be    until


     7   you    go    and        answer          these       questions                because            there       are       no


     8   cases       --        there       is    no    time       if    we       find         a    person          guilty       of


     9   that       crime        they       automatically                   get       the         death       penalty.


10       There       is     no    automatic                death       penalty.


11                                     Instead             you    answer            the       questions             and    the


12       answers          tell       what        the       punishment               ought          to    be.        So

13       hypothetically                    you    could          find       somebody               guilty of             capital


14       murder           intentionally                    taking       the         life          of    another          person

15       without          any     legal          justification                   during            the    course          of


16       kidnapping              because          of       the    answer            to    the          questions           he       may


17       get    a    life        sentence             as    opposed          to       death.


18                                     Any       problem          with       that

19       A      No.


20       Q      Issue          No.     1    will       be    the       first          question            you      get     to.


21       You    get       to     this       question             only       after         the          opportunity             to


22       hear       more       evidence           at       guilt-innocence                         the    first          stage


23       of    trial           when        you    decide          if    a    person            is       guilty or not

24       guilty           --    before           you       determine           if        he    was       guilty.

25       Otherwise              you        dont        get       to    punishment.                      Youll       hear        what
                                                                                                                                         104




     1   happened          before            during        and       after       the          commission            of       the


     2   crime       at    the        punishment           stage.


     3                                 Now      youre           going       to       be       talking         about          the


     4   individual             who     committed           this       crime              and    what        punishment

     5   he    should          receive        for     having          committed                 that.         Youll           hear


     6   evidence          about        the     defendants              character                     his     background

 7       his    criminal           history            lack       thereof                  his    mental abilities


 8       or    disabilities                his       educational             level               the    kind       of        family


 9       he    grew       up    in     all      kinds       of       evidence              about       that       individual


10       to    help       you    answer         these       questions.


11                                    So      what        the    answer          ought           to    be      Issue         No.     1




12       says         Now        if    you      find       from       the    evidence                 beyond       a



13       reasonable             doubt      --       that        of    course              means        the    burden          on


14       us    to    prove       beyond         a    reasonable             doubt             that     theres            a



15       probability             that      the       defendant          would             commit        criminal             acts


16       of    violence          that      would          constitute             a    continuing              threat          the


17       society.


18                                    They      didnt           use    the    word              probably               because

19       anything         is     possible.                Its        possible             I    might        win    the


20       lottery on             Saturday            but    very       unlikely.                 Didnt         use       the


21       word       certainty              because          nothing          could             have     --    but       it


22       didnt        use       the    word         certainty               which             means     a    hundred

23       percent       certain          going         to    happen.           It          uses        the    word


24       probability                   between            possibility                --       something           more       than


25       possibility              less       than         certainty.                 Kind       of    more        likely
                                                                                                                                   105




     1       than    not.


     2                               So        the        question        is         Do        you     find        from     the


     3   evidence           beyond        a    reasonable               doubt       that        its           more    likely




     capital--6
     4   than        not    that     the       defendant           would        commit           criminal             acts    of


     5   violence              That       doesnt            mean another                     murder       or


         murder.            Those     are           of     course         acts       of        violence.              But


     7   hitting           someone      with         your        fist     so    hard           causing          bodily

     8   injury            shooting           someone        and    missing                   doing       a    burglary

     9   robbery            sexual            anything           thats         criminal               and      violent       in


10       nature.


11                                   So        the        question       is     this             Now          having    heard

12       the        guilt    or    innocence               and    the    punishment                   do       you    find


13       from        all    that     evidence              that    theres            a       probability               more

14       likely        than       not      this           person    as    he        sits        here          today     that




--16
15       day


         A      Uh-huh.


17       Q      --     would       commit        criminal           acts        of       violence              that    would

18       be     a     continuing          threat            to    society                And     if       you    believe

19       that       the     evidence          proves         that       beyond           a    reasonable              doubt

20       you    answer        yes.        If    we        didnt         prove        beyond           a       reasonable

21       doubt         you    answer          no.


22                                  Any       problem            with    that        aspect                 Keep      your

23       mind open            answering              it    yes     or    no

24       A      Uh-huh.


25              Some        people
         Q                              come         up    and     say         If        I    have        found       someone
     --6
                                                                                                                                                 106



     1    guilty of                   capital                 murder           the       intentional                taking       of


     2    someones                    life          during              a    kidnapping             or       killing       someone


     3    during             a   criminal                     episode             Id         always       believe          theres          a



     4    probability                         theyd           be        a   continuing              threat          to    commit


     5    criminal               acts              of    violence                 be     a    continuing             threat       to


          society.


     7                                          Well              and       that        may be      in        certain          cases.


     8   A         Right.


     9   Q         But       there              may be             other          cases        where          you   find        out    the


10       person          was              a    straight             A       student            a   boy        scout        alter       boy

11       you       know          pillar                 --    I    mean       the        boys       a    great           kid     whatever

12       the       situation                        pillar          of       the        community.                         did
                                                                                                                They              a



13       capital             murder.                     They       did       a     horrible thing.                      But     this      act


14       they       did was                    totally             an       aberration             from       the    rest        of    their


15       life.


16       A         Right.


17       Q         You       say              theres nothing                       to     indicate            this       person       would

18       be    a    continuing                      threat              and       Im going              to    answer       it         no   he

19       wont           be       a        continuing                threat          and       receive          a    life       sentence.

20       He    doesnt                 make          it        go    back       and       get       to    go    there       by

21       answering                   it       no    just           means       he       doesnt           get       the    death

22       penalty.


23                                             If       on        the       other       hand                 find
                                                                                                   you               someone

24       committed                   capital                 murder          been       in    and       out    of    trouble            this

25       guy       is    a       total             waste.               Sure        I    mean       theres           not       only
                                                                                                                                                             107




     1    probably                    theres         a    likelihood                 this    guy        will           go       out       and


     2    commit             criminal             acts        of    violence.               It    needs               to    be       answered


     3   based          upon          what        the     evidence             may     show.            And           can       you       see


     4    its       conceivable                    to     find       someone          guilty of.capital                                  murder

     5   and       still              find        hes     not       probability              to    be           --                                  -




     6   A         Right.


     7   Q         --        a   continued               threat          based       upon        what       the            evidence

     8   may       show          about        background                 and    character.                  Do         you


     9   understand                   that

10       A         Yeah.


11       Q         Now           if    you        answer           Issue       No.    1    yes         then           the       person                  is


12       going          to       receive           the     death          penalty          unless           on        Issue           No.       2



13       you       determine                 he    should not              receive          that.                It    doesnt               have


14       a    beyond             a    reasonable              doubt        standard.


15                                           It    says             Do    you    find       that        after               taking

16       into       consideration                       all        the    evidence          including                  the


17       circumstances                      of     the    offense               thats            what       you        heard             about


18       in    guilt             or    innocence                the       defendants               character.and

19       background                    thats         what          you     heard          about        in       the        punishment

20       stage          of       trial        and    his       personal              moral        culpability                        I    like


21       to    refer             to    it           personal
                                              as                          responsibility                        was        he

22       personally                   responsible               for       the    death           that       resulted

23                                          Do     you    find           then    there           are    sufficient

24       mitigating                   circumstance                 or     circumstances                     I        like       to       refer

25       to   it        as       sufficient              reasons           why       this    person              ought           to
                                                                                                                                                    108




     1       receive           life          as    opposed              to    death            and     if      you        find        there


     2       are    reasons              there          and        you       find       it     is    sufficient                   you       can


     3       change           your       vote         from         death        to      life.


     4                                        So        it    gives           you       that        opportunity                  to    go


     5       back    and          make        sure       the           decision           that       you       arrived            at       before


     6       is    the        decision             you       want        to     stay          with        gives           you     a    chance


     7   to        give       mitigation                 to       him        and     leniency             to     him       and        give    a



     8   life        sentence                if       you     think           its        appropriate                 if     you        think


     9   sufficient                     evidence             is        there       to    do     that.


10                                           Okay.            Any problem with                       that           aspect            of    the


11       law

12       A          No.


13       Q          Let       me    give          you        an        example          of    how    it        works             A


14       defendant                 high          on    alcohol            or       drugs        when        he      committed               the


15       crime.               A    juror          may        say when              youre         high          on    drugs            and


16       alcohol              you       do       things           you     ordinarily wouldnt                               do.         That


17       mitigates.                     Juror          No.        2     says            Wait     a   second.                I    dont

18       think           it       is.        A    lot        of        people      get        high     on        drugs          and


19       alcohol              and       dont           get        capital          murder.             I       dont         see       a



20       connection                 between              capital             murder           and    alcohol              and     drugs.

21       I    dont            think          its        mitigating.

22                                           Two       people            come                with    different
                                                                                   up                                           opinions.

23       Thats            okay.              Look       at        it      weigh          it     in   your        mind and                 decide


24       what       affect              to    give           that       piece        of       evidence.               If        you        think


25       its        mitigating                        find        it    mitigating.                  If      you     think            its
                                                                                                                                                109



     1       not    say    its         not.           Okay.


     2    A         Uh-huh.


     3    Q        Same     thing           with       a    person          whos        mental              ability.               Maybe

     4    hes        a    slow        learner.              I    think       that       mitigates towards                              a



     5    life       sentence.               Some          people       say            Wait        a       second.            I    know


     6    some      people        who       have           the    same       mental              ability        in     church

     7    neighborhood                 work            school           whatever                  they       dont         go       out


     8    and      commit        capital           murder.              I    dont           see        a   connection

     9   between           that       and       the        commission             of    capital             murder.                I



10       dont            think    thats            a       factor       that       ought          to       be   considered                 in


11       determining              whether              or       not    he    ought          to    receive             life         or

12       death.


13                                     So        two        people          again       disagree                but       theyre

14       doing       what        the    law        requires             which          is    weighing            it       in       their


15       own       minds     and       determining                    what    affect             to    give      him.              Any

16       problem           with       that       aspect           of    the       law

17       A         No.


18       Q         Can    you     see       that            Are        you    open          to    the       concept               that

19       having          found        someone          guilty of              capital             murder         and      then

20                                      to       Issue
         having          gone     up                            No.     1    and       found          theyre          a


21       continuing              threat          to    commit           criminal             acts          of   violence

22       that       constitute              a    continuing                 threat          to    society             that          you

23       still       have        to                              the
                                       go       through                     process          in       Issue     No.       2       and

24       look       for    mitigating                 evidence.                    mean
                                                                              I
                                                                                                 you       may not        find

25       any.
                                                                                                                                               110




     1   A       Uh-huh.


     2   Q       But       you        got       to    commit              to    the    process            of    looking.                And


     3   whether           you        do       or    dont        find           it      I    dont         know.         That           will


     4   be     for    you       to        decide.            And          then       if     you    do     find       it         is     it


     5   sufficient              to        change           your          vote.        Thats         for        you     to       decide


     6   but    you        have        to       be    able       to        go    through           this        process           and     are


     7   you    open        to     that             process

     8   A      Yes.


     9   Q      Somebody              may           say      Well               how    could        you        find    something

10       mitigating              if        you       found       a     person          guilty        and        found        theyre

11       going        to    be    a        continuing                threat                 What    in    the     world           could


12       ever     be       mitigating

13                                         I    dont        know          the        reasons        for        that.         I    dont

14       know.that           anybody                 does.           They       have         to    look        through

15       everything              heard           and       see       if        theres         something.               And        if


16       there    is         then              give    affect             to    it.          If    theres not                    dont

17       give    affect.


18                                     Thats               basically              what        the    question           is


19       asking        you       to    do.            Any    problem              there

20       A      No.


21       Q      You        understand                 that       there          is     no     automatic           death


22       penalty.            Just              because       you          find        someone.guilty               of      capital

23       murder            you    dont automatically                                  give        them    the     death

24       penalty.            You       have           to    answer             the     questions           based                       the
                                                                                                                        upon

25       evidence.
                                                                                                                                     111




     1                                  You     have       to       reexamine              the   evidence           because


     2   at    one     time       youre             examining the                   evidence           to    determine         did


     3   he    commit           the    crime         as    alleged             in    the     indictment.                 Did


     4   they        prove       all     these        elements             yes       or    no.         Yes        they    did

     5   hes         guilty.


     6                                 Issue         No.       2    doesnt           say     that            Now     do    you


     7   find        that       after        you     heard          all    that       plus       additional              stuff

     8   you    find        there        are        reasons           that      you       believe           this    person

     9   would       be     a    continuing               threat          or    not        is    there        a



10       probability              hell         be     a    continuing                threat

11                                     So      its         a       different          type       maybe        examining

12       some    of        the    same        evidence               look       at    it    in    a    different


13       perspective.                  Any     problem with                    that       aspect

14       A      No.


15       Q      If     I    told       you     the        defendant             is    guilty of              capital


16       murder            can    you        tell    me        what       punishment             he    should        receive

17       Thats        the        only        thing        you       know       hes guilty              of     capital

18       murder.


19       A      No         Id     have        to    listen           and       then    youd           tell    me.


20       Q      Im not            going        to    tell           you    anything             else.         Hes    guilty

21       of    capital           murder        based           on    the       law    and       the    way     its       set


22       up.     Can        you       tell     me.what              the    punishment             is    going       to    be

23       A     No.


24       Q     Because            you    have        to        know       what       the    evidence           is   or    the


25       facts
                                                                                                                                      112




     1   A      Right.




 in--6
     2   Q      They     could          all     be      different.


     3   A      Right.


     4   Q      And     not       every       capital          murder       case          is     the      same       like


 5       every     murder          case       is     not      the    same.           A mercy             killing


         one    case     versus          a    drive-by             shooting          of    a     teenager            on    a



 7.      bicycle.         Way       different              types      of    facts.


 8       A      Right.


 9       Q      Youd      have          to    wait.           Are    you    the          type       of    person          who


10       can    wait     and       listen          to    the       evidence          and       make       your       decision


11       upon    the     law       and       evidence

12       A      Yes.      I       dont        see       how    you    could          make       a    decision


13       without        knowing          that.


14       Q      You     shouldnt              be     able      to.        Some       people          may       be    able       to.


15       But    you     know       you       really        shouldnt             be       able       to.        Do    you       have


16       any    questions           of       me

17       A      No.


18       Q      Okay.         I    appreciate              your      time        and       Ill           pass       you    to


19       Mr.    Hill.


20                                  THE       COURT            Mr.    Hill.


21


22                                                      EXAMINATION

23       QUESTIONS        BY      MR.        HILL

24       Q      Good    morning               maam.            I    sit    up    here          because          that


25       thing    is     in       the    way.           This       gives    us       a    chance          to    look       at
                                                                                                                                        113




     --2
     1   each


         A
                    other


                  Okay.


     3   Q        --     and      talk.           One     of      the    first         things            that    I    want    to



     4   talk       about             probably          the       most        important            thing        to    talk


     5   about         is      for     you       to   understand               that      this           process       helps       all


     6   of    us      determine             whether             or    not     you     proceed            from       today    to


 7       some       time         in    the       future          and    actually            make         the    jury.


 8       A        Uh-huh.


     9   Q        Youre           not       on    the    jury           yet.


10       A        Right.


11       Q      We       want         to    make      sure        that       as    jurors          you     understand

12       that       its          done       this      way.            Its     done       privately

13       confidentially                     to    ensure          those       people             tell    us     how    they


14       feel       about         anything            that        could       affect             the    case.


15                                         You    could          imagine          what      it     would        be    like


16       sitting            in    this       chair       Mr.          Mamou       is   sitting           in     having       to


17       look       at      stranger             after      stranger              that      comes        up     and    explains


18       how    they          feel         about      things           not    knowing             whether        this       person

19       has    shared            everything             they          have       to   tell        us     whether

20       theyre holding anything                                 back         whether             they    feel        maybe       a



21       little          bit      of       subtle       pressure             to    pass      the        test.


22                                         Were       not    here        for       you      to     pass        the    test.


23       Were          here       for       you    to    express honestly                        how     you     feel       about


24       any    topic            that      may     come      up.         Of       course           a    lot     of    the    time


25       people          --      and              said      it                         of    times        --     whatever
                                           you                    a     couple
                                                                                                                                                 114




     1    the    law     requires.


     2                            The       law     requires              nothing                of        you    except               to


     3   tell     us     how    you     honestly             feel        and       if    there              are    topics


     4   especially            sensitive           for       you         things          you              think    you           might


     5   feel     strongly about.                   All          we    can     ask       is           you    share              it    with


     6   us      okay.


     7   A       Uh-huh.


     8   Q       There     is    no     commitment                to    the       process.                   There              is    no


     9   commitment            that     you      have        to       answer        these             two        questions                  if


10       you     feel    as     though        youre              unable        to       or       if        theres           anything


11       that     kind     of    causes          you        to    feel       like        there              are    automatic

12       answers         okay.


13                                What        do    you          think       about           sitting              in    the


14       jury.assembly            room        filling             out    a    questionnaire                            knowing


15       that     youre         going       to     be       called       back           on       a    case        that


16       obviously        the     allegations                    against          Mr.        Mamou           is    he


17       committed        capital           murder.               What       goes        through              your          mind as


18       a   prospective          juror             What          are    you        thinking                about

19       A       Some    of     the    questions                 what    relevance                    it    has        to       the


20       particular            case     you        know           like       the        personal              questions                     of


21       your     favorite        TV    programs                 and    Im not               a       TV    buff.            I        fall


22       asleep     watching           TV    in     most          cases.            I    do          enjoy        reading

23       trial     cases        being       that.       I    worked          in     Probate                Court.               So

24       that    sort     of     stimulates                 and    just       to        see          how    the     different

25       characters           evolve.
     --6
                                                                                                                               115




     1       Q    Did        you    ever        sit    in     and    watch        the        trials    over        there


     2   where         youre            the     courtroom clerk

     3   A        Yes.


     4   Q        What        was       the    best     case        you    had

     5   A        Golly            been       retired         for        what         since     95     and


         Q        Did        you    deal       with     De       Part     Nova        case       Was      that     one

     7       Phonetically.

     8   A        That        always          came     up    periodically.

     9   Q        Still        there

10       A        Yeah         we       had    that     one       and     then         golly        the     old


11       millionaire senile                       who       had     the    young        movie       star     wife        now


12       the      buxom        and       the    oilman.


13       Q        Buxom one.

14       A        Everybody              went     crazy          over     that         yeah.

15       Q        Shes         reinvented              herself          recently.

16       A        Yeah.


17       Q       When        Mr.        McClellan        was        trying       to     talk     to    you    and


18       distinguish                capital           murder        from    what        is    not     capital

19       murder         --    I     dont        want        to    say     its         ordinary        murder       because

20       its      obviously               very        serious       --     and    he       asked      you    about       the


21       situation            where           your     niece       was     killed.


22       A       Uh-huh.


23       Q       How     do       you     feel        about       sitting        on    a     jury     potentially

24       and     judging            a    case    like        this          Does       that     make     you       feel    a



25       little        uneasy            uncomfortable                     Is    it    something            that    you
     116-1
     2
         hope


         can
                  you


                make
                         will


                         that
                                       be


                                       jury
                                       What
                                                able




                                                     are
                                                           to    do          And




                                                                        feelings
                                                                                           I    mean          I     hope          that       I




     3                                                      your


     4   A      Well         I        feel       yeah           its      a   part              of    the      process          that          I




     5   came     down       to       be    a    juror          and     if   Im picked                        Im picked.

     6   And    then     I       have       to       do    what       the    law       requires                me      to     do    and


     7   to    listen        and       to       pass       judgment          how       I        feel       everythings

 8       been     presented                that       should          be.


     9   Q      Are     you       comfortable                   with     that

10       A      Yes.


11       Q      Good.            We    wouldnt              want        people         that            are.    uncomfortable

12       or    feel    too        nervous             about       it.        Some          people             are      not     in       any


13       position        to       judge          another          human       being.                  Thats            left        to    a



14       higher       authority.


15                                     Youre              comfortable             judging                 people        and       making

16       a    decision           based          on    everything             thats                  presented           to    you

17       A      Right.


18       Q      Okay.         Are       there             any    types       of    cases              that        come       to     your

19       mind that           you       feel          that       you     could      not              sit   and       judge          fairly

20       maybe    just        because                of    the    nature          of       the        type        of    case

21       A      Offhand           I    couldnt.

22       Q      Okay.         Because                as   Mr.     McClellan                was        talking          with         you

23       you    know     you          said       the       law    requires             you           to   set       aside         your

24       personal        beliefs             or       opinions.              And       I       always         wondered             where


25       people    put        those          personal             beliefs          or          opinions.               Youre
                                                                                                                                                                  117




     1   products                   of       your       upbringing                        work           relationships.                        And        I




     2       always            wonder             why        people             are       so    quick           to    agree          with       that


     3       to   say               Yes           I    can        set          that       aside.


     4                                            And        I    like          to    ask       people             whether           or    not


     5   theres                 a    particular                       type       of       case       so       horrible              they       really


     6   would             say               You       put        me       with       a    child             rapist        or       something                 I




 7       dont              think             I    could           be       fair.           Just          going        to    have          too    much


 8       of       a       feeling                because              of       the    alleged                victim.            I    just


     9   couldnt                    sit          in    judgement.


10                                                So        you        dont           have       any          of     those          kinds       of


11       feelings

12       A            I    dont              think          I     do.


13       Q            Okay.              I       feel       you        know          best.           We       dont         know       you.           We


14       take             20    minutes                to        visit         with       you        a       little        bit       and       try    to


15       figure                out       what          makes           you       tick          and       decide          whether           or    not


16       you          get       the          recall              to    come          back       in       a    couple        of       weeks       from


17       now.


18                                                One       of        the      reasons           we          use     the    questionnaire

19       and          probably                   are    some           questions                there.         that        really          tend       not


20       to       be       relevant                   maybe           not      for     you       maybe             for     the       next       juror


21       that             comes          along          and           answered            that           particular                 question

22       that             may       be       relevant.                     I   went       through              and       theres            a    couple


23       I    want             to    visit             with           you.


24       A            Sure.


25       Q            First          one          is    --        first         we     have          talks         about                         come
                                                                                                                                    anyone
                                                                                                                                            118




     1    from       a   neglectful                      or    abusive           childhood             and    please          circle.


         Your                                                                                 What          did           mean




     --7
     2               response                generally                disagree.                                    you               by


     3   that

     4   A       If      they          have         the        desire           to    they       can        overcome.           But


     5   if     they       --      if      somewhere                 in    their       background                 somebody            -




     6   hasnt           reached             them             with    something

         Q       Right.


     8   A       --      to       maybe         put           something          in    their           mind that           hey

     9   there        is      a    light            that        I    can    change          if     I   make       an     effort       to.


10       This     is       the         way      I    feel           that    you       still        have       this       ultimate

11       choice.


12       Q      But        if      a      persons               upbringing             is     such       theyve          not    been


13       giving          any       clues            or    signals               would       that       be     reflected         in


14       your     statement                  that         you        generally          disagree             that       anyone        who


15       comes        from        a       neglectful                 or    abusive          childhood

16       A      Right.


17       Q      Okay.             Let        me      clear           something          up       right       away       because

18       the    way        that           question             is    phrased           some        jurors         will     likely

19       tell    us             Oh         so       what       the        defense       is       relying          on    here    is


20       the    kid        had        a    bad       upbringing                 and    thats           going       to    explain

21       everything               and        excuse            everything              that        may have            happened

22       and    thats             not       whats              asked        in       this     question.


23                                        And        I    want       to     ask       you     in      all    fairness          what


24       is    your        response                 when       you        see    things          on    the    news       or    read


25       in    the       newspaper                  that       the    defense           has        offered                            in
                                                                                                                   testimony
                                                                                                                                                    119




     --8
     1   a    trial        for     a    jury.s           consideration                    that           a   person            had       a    bad


     2   upbringing                are        you      offended             by      that

     3                                  Do     you       think         that         has       nothing             to      do   with


     4   the     case            Either           a    person          does         something                or      dont           do       it.



     5   Doesnt            matter what                 they       did       or      brought          them            to    the       point

     6   you     either          did     it       or    dont           do     it.         How       do       you        feel

 .       A       I    think        each       case          is    individual                  and    youd               have        to


         Q       Got       to    look        at       all    the       factors

     9   A       Yeah.           Yeah.


10       Q       Okay.           Do     you       agree          there       can         be    cases          that        a    great


11       deal        of    violence           can       occur               People            can    be       killed               but        the


12       circumstances                 of     how       the       killings               took       place           play       a     big


13       part        in    the    ultimate decision                         we       make.


14       A      Uh-huh.


15       Q      Do        you    think        that          especially               can       be    important                 if        you

16       believe           beyond        a    reasonable                doubt            that       the       person           should


17       be   held         responsible                 for       capital         murder                  And        then       you        get

18       to   the         punishment              stage          of    trial.             Do    you          still        think           the


19       circumstances                 of     how       a    particular                  capital             murder        was


20       committed              could        play       a    big       role         in    your       decision-making

21       process           at    the    punishment                    stage

22       A      Definitely.


23       Q      So        youre         not        one       of       these      people             that            hey        somebody

24       takes       the        life    of     two          people       intending                  to       kill       them

25       theres           no     hope        for      that        person         ever          getting              a   life
                                                                                                                                    120




     1       sentence         out       of    me    based        on    my     answers          to    questions.


     2   Youre          not        like       that

     3   A       Uh-huh.


     4   Q       Now          its        necessary           I       ask    questions           that        are       perhaps


     5   a     little     bit           more       probing.            The    State        wants        to    make          sure


     6   you     can      follow             the    law.         I    have    no        question        you       could


     7   follow         the     law.           You    would           have    thrown           the    jury summons


     8   away     if     you        didnt           want    to        follow       the     law.


     9                                   I    dont        want        to    apologize           for    asking           the


10       questions.                 I    hope       you    understand              why     I   do     it.         I    hope


11       youre          again           sitting       in    Mr.        Mamous           chair         you     would         want


12       somebody         to        be       asking       some        questions          thoughtful               questions

13       in    asking         that           you    kind    of        think       things       through            a    little


14       bit     before        answering              questions.


15                                       Okay.        One        of    the    other       questions               that      was


16       asked       is        In        your       opinion           how    do    illegal           drugs        affect        a



17       person           You           said       they    change           personality              and     character.


18       Have     you     seen           people       that           youve        personally           known           or   just


19       being       down      at        the       court    system                Is    that    kind        of        pretty

20       obvious         to    you

21       A      Yeah.


22       Q      And      another             question         asks            Would       an    individuals                   use


23       or    sell      of    drugs           prevent        them          from       relying        on               defense
                                                                                                            any

24       available            to        other members of                    society.           You    put        no.        So

25       you    do      not    believe             that     if        there       was    evidence           presented
                                                                                                                                                  11


     1       that      a    person          either          was       a    drug       user        or    sold         drugs         that




     --9
     2   that          would       preclude                them       or    prevent           them        from           having


     3   certain             defenses             available                to    them        in    this        particular               type


     4   of     case

     5   A          Uh-huh.             I    think          were           all    entitled              to     that.


     6   Q          Okay.          This          is     not      the       circumstances                  here.            Were         not


     7   talking             about          this        case.          But       would        you       agree         with        me    the


     8   general             proposition                   --    this       is    one       of     the       bell        ringers


         people             hear       these          kind       of    things          and        usually            get      them


10       pretty             upset.           Could          you       imagine          a    situation                where        a.


11       person             was    a    five-time                ex-con           most       terrible                person        in    the


12       world          and       finally             released             on    parole           still        possibly            having

13       to     rely upon               self-defense                   in       that       case

14                                          In    other          words           the       fact     that        a     person           had


15       been          in    all       sorts          of    trouble              do    you        think        you       could         sit


16       as    a       juror       and       evaluate                whether          or   not      a     particular              case


17       in    history that                      person          actually             acted        in     self-defense                       In


18       other          words           he       shouldnt              be       convicted           of       this        crime


19       because             he    legitimately had                         a    defense.


20                                          Do    you       think         you     could

21       A         I   think       so.


22       Q         You       see   how           when       you       put       the    preface            to    it       is   a



23       horrible person

24       A      Right


25       Q      Been          in   all           sorts          of    trouble          and    here         he       is     trying
                                                                                                                                                   122




     1   to     tell        us     its     self-defense.                       A    jury might               be          called          upon


     2   to     make        this       decision              and     if       the     jury believes                       a   person

     3   acted         in    self-defense                    its        the        law    to     find        the          person             not


     4   guilty        because           the       State       didnt               prove        the        case          beyond          a



     5   reasonable               doubt.


     6   A       Right.            Right.


     7   Q       Now         heres        one       that       bothers              me          In        your      opinion              what


     8   is     the    best        argument             for    death           penalty           in        our      society

     9   And     your        response          was            If    you        take       anothers                  life            you


10       should        be        prepared to.lose                   yours.


11       A      Well             its     responsibility                       of    your actions.


12       Q      All         right.        Does          that       necessarily                 mean        that          if        you


13       take     another           persons              life           you        must    always            forfeit                your


14       life     in        return

15       A      No.          No      just      that          youre            aware       that        youre

16       responsible               for    your          actions.


17       Q      Correct.


18       A      And     whatever              comes          down       comes        down.


19       Q      And     in       terms        of    whatever              comes          down        it    could          be


20       anywhere            from      life        in    prison           to       the    death           penalty             if     its

21       capital        murder.               And       as    the       Judge        pointed              out       if    you


22       believe        that        something                less       than        what       the        State          has


23       attempted            to    prove          to    you       in     a    case       of    capital              murder              is


24       proven         murder           or    maybe          that        proof          there        was       a    kidnapping

25       but    not     a    murder.
                                                                                                                                          123




     1   A      Uh-huh.


     2   Q      Okay.            Youre comfortable                           with       being         able        to     evaluate


     3   each     case          on       its    own        facts       on     its       own      information


     4   A      Uh-huh.


     5   Q      And        you       would          not    automatically                   rule       out     a    particular

     6   punishment

     7   A      No.


     8   A      You        know       that          Mr.    McClellan             and       Ms.       Conners           are


     9   sitting           there          saying            Well        if       we    dont           satisfy           a     jury


10       beyond        a    reasonable                doubt       that       the       defendant              committed

11       capital           murder              and    now    this       jury          is    deciding              punishment

12       lets     say            on      a     lessor       charge          of    murder             you      know            is    she


13       telling           us    she         would        never    consider                99    years       or        life        and


14       clearly your answer                          is     no        you       would          consider           that        full


15       range.


16                                       Im         sitting       on    the       other. end            of        the       table.


17       Are    you        already predisposed                         to    saying              hey        if-this            is     a



18       murder       case            Im never              going       to       even       consider              --    not        that


19       you    have        to    give         it     --    not    even          going          to   consider               the     low


20       range    of        the      punishment.                  Youre           comfortable                considering

21       everything

22       A      Uh-huh.


23       Q      Okay.            The         last     question          that          sent       a   little            chill        up

24       my   back         and       I    hope        you    dont           mind me             visiting with                 you

25       like    this.
                                                                                                                                       124




     1   A       No.        No.


     2   Q       I       want     you      to    understand because                        Im     ultimately going

     3   to     ask       you     a    question          that       causes        you       to    tell       me    exactly

     4   what        I    should        do      with     regard       to        asking       you       to    come      back       or


     5   not.                                                                                                                 -




     6                                  The      question           was          Do    you       believe          that


 7       mitigating               evidence            concerning           a     capital          murder

 8       defendants                   background             should be           considered             in     deciding

 9       whether           or    not       he    or    she     should           receive          the    death         penalty.


10       And    you        answered             no.


11                                      Okay.          And     I    guess        Ill        ask       you    this        Do


12              have        --    what          is             feeling          or     what       is
         you                                          your                                              your      thought


13       process          when        you       hear    the        words    mitigating                 evidence           What


14       does        that       really          mean    to    you     personally

15       A      Evidence              thats           been    presented               or    that       theyre          handing

16       out.


17       Q      Okay.            Is    there          another        word       you        would       like    to


18       substitute              for       mitigating                Different              jurors use            different

19       words       theyre            a    little       more        comfortable              with.


20       Mitigating                   is    really       a    legal        phrase.               Is    there      a    word


21       that    comes           to    your          mind

22       A      What        was       the     question             again         Reread           that.


23                                     MR.       HILL         May     I    approach           the       juror

24       Q      By        Mr.     Hill               Might    I     show    you        the    questionnaire

25       A      Yes.              think         at     this        point         was       just        ready      to
                             I                                              I
                                                                                                                       get
--4
                                                                                                                                                      125




--5
     1       the   whole           thing               done           and       out.


     2    Q        Okay.               Thats                fine.           And          if     you       feel       like       that    answer


     3    does          not   exactly                      reflect          what          you       feel


          A        Yeah            I        just           dont           know


          Q        Okay.                                                                                                                         -




     6   A         --     what              I       would        feel       on       that.




--12
     7   Q         Okay.               Because                  you       understand                thats           when


     8   Mr.       McClellan                        was     talking             to       you        he       was    asking       you       on


     9   Question             No.               2    here            the    penalty             stage          whether          or     not      you


10       would          take           into            consideration                      any       mitigating                evidence.


11       Obviously                     in           reading           this        answer            on       your    questionnaire

         A         Right.




--18
13       Q         --    it    seemed                      to    conflict                with       what       you    said       in     court.


14       A         Right.                   I       agree        with       --       I
                                                                                          guess          I    dont        have       the     true


15       definition                    of           mitigating.


16       Q         Okay.               Thats                why       we    want          to    make          sure    you       do


17       understand                    it           because           you       could          understand                 I    hope


         A         Definitely.


19                 --    that           from               reading          this
         Q                                                                               answer              right    here       youre

20       telling          me       Im not                       going       to       consider                mitigating          evidence

21       if    I    consider                        life        or    death.             So     what          did    --       what    would      be


22       the       point       of               me    serving              on    the          jury.

23       A         That       is        not           a    true           answer         for        me.


24       Q         Good.           Thats                   fine.            Because             I    do      want     you       to


25       understand                that               when           we    are    talking             about          capital
                                                                                                                                         126




     --2
     1   murder




     --6
             A      Uh-huh.


     3       Q      --    we     are      not    talking                about    a    situation             where        somebody

     4       has    acted        in      self-defense.                    We    are      not        talking       about       an


     5   accidental                 killing         because


         A          Right.


     7   Q          --    because          if    any      of       those        circumstances                exists          and


     8   you        believed             they    existed                your     responsibility under                         oath


     9   would           be    to     find      the      person          not     guilty.             So      we    want       you

10       to        be    fully        aware      that      if           youre       at    this       stage        of    trial


11       answering              these         two     questions                 you      already           found       the


12       person           guilty         of     capital            murder.


13       A          Right.            Uh-huh.


14       Q          State       asked         you     whether            or     not      you       believe        that       when


15       you        talk       about      society              you       include          prison       society               and


16       the        Judge       even      mentioned                it    may     not      be       community           that


17       which           live       in   part       of    overall              society.


18       A         Right.


19       Q         Do     you       believe         that       that          society          in    prison        is    the    same


20       as      your         society         that       you       live        in        In    other       words         do    you

21       think           the    same      rules          apply          in   prison           society       that                    in
                                                                                                                        apply

22       your           free    society

23       A         To     a    certain          degree         I    guess       they          do.


24       Q         Are        there      certain          rules          that       are. very         different           about


25       prison           society         in     terms         of       what    a     person         can    do
                                                                                                                                      127




     1   A      Yes.


     2   Q      Its        very       restricted

     3   A      Yeah.


     4   Q      Very       restricted.                 Have          you       ever         watched       any       television


 5       shows       or    specials             regarding                the     Texas        Prison       System          in


 6       particular

 7       A      I    dont        think          so.


 8       Q      Okay.           Do    you       have       a    general             feel      about       the       Texas


 9       prison       system good                 bad or             indifferent

10       A      Dont           really know.                    Havent            had        the    occasion          to.


11       Q      Never          visited          there          on    a    personal            basis

12       A      No.        No.


13       Q      Okay.           Im going              to       ask       you     this        one    question           unless


14       Mr.    Wentz          has    anything             specific              he    would        like       to    ask    you

15       Mr.    Wentz          and    I    are    going             to    be     called           upon    to    decide


16       whether          this       woman       is    an       individual              that        we    should       trust


17       to    sit    in       judgment          of    our          client          just      like       the    States

18       asking       themselves                the    same          question.


19                                    Only       you       can       tell        us    if     theres anything

20       whether          in    the       deepest          recesses              of    your        mind or          something

21       we    completely             missed          because              quite        frankly            if       its     not


22       shared       with       us       now    and       you       get       on     the     jury and          pops       up   for


23       the    first          time       back    there             when       youre deliberating                          its

24       too    late       to    do       anything          about          it.


25       A      Uh-huh.
                                                                                                                                                12.8




     1   Q      I    always         ask       jurors          if     theres anything                           at    all       that


     2   you    could        tell        me       about       yourself that                    would           dissuade              me


     3   from       saying        we     would          like       you    to     come          back        at       the       end       of


     4   the    month.            Is     there          anything          at     all       you       can        think          of

     5   A      No.


     6   Q      Do    you     have           any    questions             of     me

 7       A      No.


 8       Q      Okay.         I    hope           the    process          wasnt            too       painful                 for     you.


 9       A      No     it     really              wasnt.

10                                      THE       COURT            Okay.         Maam            in        just          a    second


11              Im     going            to    excuse          you.        Before           I    do         I    will          tell        you


12             we     want        you        back       on    Wednesday               September                 29th          at     930.

13              I    will     give           you    a    paper       about          that        in    just           a       second.


14                                     Between           now       and    when        we       see    you           again          which

15              I    believe           to     be    three          weeks        from       yesterday                     please

16             dont         alter            your       lifestyle             one     bit       for    us.               You       do


17             whatever            it        is    you       ordinarily             do.         Do    it        exactly             the


18             same     as        you        ordinarily             do    it.         If       you    have           a       chance


19             even     between               now       and    when       we     get       together                 again          to


20             leave        town         take       the       chance          and     go.


21                                     The        only       thing       we     ask    of       you    between                 now


22             and     when        we        see    you       next       is     this            Please              do    not       talk


23             about        this         case       with       anybody.               Do       not    permit              anybody

24             to     talk        about           this       case    with        you.           If    there              is    any


25             news     media           treatment              regarding              this       case           please              avoid
                                                                                                                                        129




 1   it.




 --9
 2                          Anything             about           this       case        on        the       television


 3   refuse        to       watch       it.         Anything                about        this           case       on     the


 4   radio         refuse          to       hear        it.           Anything           about              this        case


 5   in     the    newspaper                  refuse             to    read       it.                                               -




 6                          And    the        reason             for    each       of        those           five


 7   restrictions                 is    for        this          purpose                If        you       do    become


 8   a     juror    in       this       case            the       decision              that           you       reach


     whatever           this       decision                 winds       up    being               --    must       be     based


10   exclusively              upon          the     information                   you        receive              from


11   within        the       courtroom and                       cannot       be        in    anyway              affected


12   or     influenced             by       anyone            outside         the        courtroom.


13                          Thats           why     we        try      to    keep        these               as    you


14   know         pristine             as     we    possibly                can.         The           rules       are     a



15   little        bit       different              here.              If    Mr.        Hashagen                 needs     to


16   know     where          you       been         that          will       take        care           of       that.         If


17   you    need        a    reminder              of       where       and       when        we        want       you     to


18   be    next     Wednesday                 --    thats              not    true            Wednesday                 the


19   29th     at    930            just          right           out    here       where               you       were     this


20   morning        and       that          day.            My    best       guess           if        we    get    started


21   on    time     we       ought          to     be       through          by    1200.

22                          VENIRE          PERSON            HASHAGEN                  And        this          will     be


23   finished

24                          THE    COURT                Everybody             will           know           for    certain

25   whether        or       not       youre            a     juror.
                                                                                                                    130




 1                          VENIRE       PERSON          HASHAGEN               Okay.        Thank          you.


 2   That       sounds        good.


 3                          THE    COURT            I    knew     just         as    soon    as    I     said


 4   that       --     just       dont      know         why.


 5                          Ms.    Arnie.       I       think     that         is    the


 6   pronunciation.

 7                          Prospective                 Juror     No.       10       Alejandra          Solano


 8   Arnie      entered           the    courtroom.

 9                          THE    COURT            Ms.     Arnie         if    you    would       please

10   come       right        over       here    and       have       a    seat.        Please          make


11   yourself comfortable                           and     did      I    pronounce          your       last


12   name       correctly

13                          VENIRE       PERSON          AMIE            Arnie.


14                          THE    COURT            Arnie


15                          VENIRE       PERSON          AMIE            Thats        correct.


16                          THE    COURT            Okay.         Ms.      Arnie       before          we


17   begin        I    would       ask    you       to    remember             back    to    yesterday

18   and     all       of    the       things       we    talked          about       yesterday.              To


19   that       add     the       things       we       talked       about          this    morning           and


20   out     of       the    collection             of    everything                that    we    have


21   talked           about       to    this    point           do       you    have       any    questions


22   at    all        for    me

23                          VENIRE       PERSON          AMIE            No.


24                          THE    COURT            Is    there          anything           maam            that


25   up    to     this       point       that       we    have       not       yet    talked       about
                                                                                                                           131




 1   you     feel    as    though          we    should       talk          about       that       we        should


 2   talk     about       because          it    mighthave                 some       bearing           or


 3   influence        on    your       ability          to    be       a    juror       in    this           case

 4                    VENIRE          PERSON          AMIE         Not       that       I    could           think


 5   of.                                                                                                               -




 6                    THE       COURT            Is    there       anything             at    all            maam

 7   that    youre         aware       of       now    that       could           whether          it        be


 8   something        about          your       personal          life           professional                 life

 9   your    health        of     something            else       that       you       feel    in       any        way


10   would     interfere with                   your    ability             to    be    a    juror           in


11   this    case     during          the       time    frame          that       weve        talked


12   about

13                    VENIRE          PERSON          AMIE         No.


14                    THE       COURT            Can    you       see       from       our


15   conversations              yesterday             and    today          that       in    this


16   process        there       is    nothing          that       is    automatic                  Because


17   one    thing     occurs          that       does       not    automatically                   lead           to


18   another        conclusion.                 For    example              because          someone              is


19   found    guilty of              capital          murder           that       does       not    mean

20   they    should receive                 capital          punishment.


21                    VENIRE          PERSON          AMIE         Right.


22                    THE       COURT            May    very       well          be    because          of


23   facts    of     the    case           that       would       be    a    case-by-case

24   basis.        And     life       is    an    option          in    a    capital          murder              case


25   just    as     the    death       penalty.              Guilty          and       not    guilty are
                                                                                                                        132




 1   equally        options       at    the       outset.


 2                    And    do    you       have    any       questions                 at    all       about


 3   that    process        or    anything          that       weve            covered             so    far

 4                    VENIRE       PERSON          AMIE         No.



 5                    THE    COURT            Okay.        The       lawyers               are      going


 6   to    visit.    with    you       for    a    while.           And        quite          honestly

 7   maam       all       theyre        going       to    be    interested                    in    is    being


 8   satisfied with              themselves          that       you        are          satisfied


 9   with    yourself that              based       upon       what        you          know        you       could


10   take    any     one    of    those       12    chairs          and        listen          to       the


11   testimony        in    this       case       listen       to    all           the     testimony

12   and    evaluate        it    however          you    see       fit        and       just       play       fair


13   and    come     up    with    what       you    think          is     the          right       result


14   understanding           that       your       job    isnt            to       please          either


15   side.


16                    Your       job    isnt        to    please           me.           Your       job       is   to


17   be    satisfied        five       years       from    now       when            you      wake       up    one


18   morning        and    say     I     did       the    right           thing               whatever

19   that    may     be.     Does       that       sound       like        you

20                    VENIRE       PERSON          AMIE         Yes            I    think          so.


21                    THE    COURT            Mr.    McClellan                     if    you       would


22   please.


23


24


25
                                                                                                                                       133




 1                                             ALEJANDRA             SOLANO             AMIE

 2   called          as    a    prospective                   juror       testified                as       follows


 3




 4                                                        EXAMINATION


 5   QUESTIONS             BY       MR.       MCCLELLAN

 6   Q      Ms.       Arnie          my       name     is      Lynn       McClellan.                    Along       with


 7   Claire          Connors              we    represent                the       State          of    Texas       in       this


 8   case.            I    am       --    I    want       to       you    sit       back          and       relax       and    I




 9   want       to    ask       you       to    share          with       us        if       you       will        certain


10   beliefs          about          aspects           of      the       law.


11                                   I    want       to       go    through             a    couple          of    questions

12   and    go       through             your     questionnaire                     and          ask    you       some       more

13   about       some          of    your       answers             there.              First          of    all        though

14   what       kind       of       cases       come          to    mind or             crimes          come       to    mind


15   when       you       think          of    cases          you    believe                the    death          penalty

16   ought       to       be    available              as      one       of    the          forms       of    punishment

17   A      I    guess          the       first        ones         come       to       mind those                cases


18   extremely violent                         where          there       was       a       lot    of       maliciousness

19   and    the       way       the       person          died.           You       know           not       just       an


20   accidental                shooting           or      shooting             out          of    passion but

21   something             almost evil                    I    guess           or       mean-hearted.

22   Q      Right.              Right.            The         Court       told          you       that       capital          murder

23   in    the       State          of    Texas        is      murder          plus          some       aggravated

24   circumstance.                       For    the       offense             of    murder             without          any


25   aggravating                circumstance                       the    range             of    punishment             is    from
                                                                                                                                    134




     1   five     years         to    99    years          or     life.


     2                                Now        murder           is    the        intentional             taking        of


     3   another          persons           life          without         any       legal       justification                 not


     4   self-defense                 not       accidental.                When       you       intend       to       kill


     5   someone          and     you      do    so       for     no    reason         the       offense          its

     6   without          any     other         crime       being         committed             at    the    same        time

 7       the    death        penalty            does       not     apply.


 8                                    Instead              you     have       the     range          of    punishment

 9              from       five       years          to    99     years       or    life.


10       A      Right.


11       Q      For       the    offense             of    murder          can      you     keep          your    mind open

12       to    the    full       range          of    punishment              from     five          years       to    99


13       years       or    life       and       wait       until        you     hear      the        evidence          and


14       decide       where          within          that       range      the      penalty           ought       to    be


15       assessed

16       A      Yes.


17       Q      Okay.           Now       murder          becomes         capital         murder           when       its

18       connected          with          something             else.         We    have        alleged          in    the


19       indictment             murder       during             the     course       of     kidnapping

20       kidnapped          someone          and          kills        them     during          the       process.

21                                    Also       alleged murder                    during        the       course       of


22       committing             another         murder            killing           two     or    more       people

23       during      one        criminal             episode.


24                                    Okay.           Other       types        of    capital              murder       are


25       murder      during           a    robbery           murder           during        a    burglary
                                                                                                                                         135




 1   murder       during        a    sexual          assault              killing             a    police


 2   officer        in    the       line       of    duty           killing          a    child             under     a




 the-.6
     certain                  are    the       kind       of    cases          Legislature                   said     the
 3                  age


 4   death       penalty        ought          to    be    available                for.


 5                              Do       you    agree          that       those          kinds          of        cases


     death       penalty        ought          to    be    available                as    one          of    the     forms          of


 7   punishment           for       those       types          of    cases

 8   A      You    mean        as    far       as    it    applies             to    capital                murder

 9   Q      In    other        words       the       law       says       --    the       reason             Im      using


10   the    word     available                  is    because             there          is       no    crime where


11   the    death        penalty          is    automatic.                 Its           not       automatic              for


12   anything.            Its        only       one       of    two       possible                punishments

13   life    in    prison           or    death       penalty             and       only          available           when


14   theres murder                  plus       some       other       crime          being             committed.


15                              Do       you    have       any       problem             with          that       aspect


16   of    the    law




--22
17   A      No.     Just        kind       of       seems       strange             that          stipulation.                  I




18   didnt        realize           that       until       the       Judge          mentioned                it     this


19   morning.


20   Q      Right.            Some       people       think          it    ought          to       be       included        in


21   murder        its        without           during          a    burglary                 without             doing


     just    a    murder        itself          ought          to    have       available                   the    death


23   penalty       as     one       of    the       forms       of    punishment                   depending              upon


24   the    facts        of    that       particular murder.

25                              Is       that       the    way       you       feel
                                                                                                                                          136




     1   A      I    would          tend       to          agree    with          that.


 2       Q      You       understand                   thats        not       what       the       law   is

 3       A      Right.              Right.


 4       Q      What        you      do       as       a    juror       is    take       an    oath      to    a    true


 5       verdict          render          based             upon    the       law    and       evidence.


 6       A      Right.


 7       Q      And       if    I    were          to       be    able       to    prove       a   murder          and     didnt

 8       prove       the       underlying aggravated                               kidnapping            or    prove        a



 9       murder          but    only          didnt              prove       the    underlying murder                      find       a



10       person          not    guilty of                   capital          murder       and       guilty         on    the


11       murder

12       A      Right.


13       Q      And       you       would          be       able    to       do    that

14       A      Right.


15       Q      Now        do       you       have          any    doubts          about       your      ability          to


16       participate                in    a    process             whereby          you    would         be    called


17       upon       to    make       decisions                     In    other       words           answer         these


18       questions             over       here             knowing       that       in    answering            those


19       questions             you       would          be       ordering          this    Judge         to    order        the


20       execution             of    the       defendant                sitting          over      here       on    trial        if


21       thats           what       the       law       and       evidence          called         for

22       A      I    would          think          I    would       not       have       that      problem.


23       Certainly             never          been         in     this       position          before         and    not        the


24       kind       of    thing          you       think          about       that       youd       have       to    do.         But


25       just       over       the       course            of     the    last       few    days          you       know         Im
                                                                                                                                            137




     1   comfortable              that          I    could          go        into       what        was    presented           to    me


     2   and    decide        accordingly                      and       keep        everything                 else     out    of    it.



     3   Q      Can     you       do       that

     4   A      Yes.


     5   Q      Some     people              come         in    and        say             Theres           nothing        wrong


     6   with    that.            I    believe             the       death           penalty           is       proper

 7       punishment           in       certain             types              of    crimes.            But       Ive      thought


 8       about    it.         I        myself              I    could              never        make       that    type        of


 9       decision.


10                                     I    couldn.t                live           with        myself having             to     make


11       that    decision              or       my    religious beliefs                              conflict          with     me


12       making       that     type             of    decision                 or    my        personal         moral or

13       ethical        beliefs             keep          me    from making                     that       type    of    decision.


14       Im not         saying             we       shouldnt              have           it.         Im     saying       Im not

15       the    person        to       make          that       decision.


16                                     My       question             to        you             If    thats        what     the       law


17       and    evidence              called          for       --       if        thats            what    you    believe           you


18       know    the     evidence                   and    law       called              to     happen          could     you


19       participate           in making                   that       type           of        decision

20       A      Yes.


21       Q      All     right.              I       want       to    talk           to    you        for    a   little        bit


22       about    some        of       your          answers          in           the    questionnaire                 and    kind


23       of    feel     out    some             of    that.           Youre               asking           about       articles


24       that    you    may           have          read       or    TV       that        you       watched        relating           to


25       death    penalty              and          you    indicated                 you        like       to   read      I    guess
 --4
                                                                                                                                       138




 1   true       crime          books

.    A      Not       necessarily                 true          crime books             but       crime        books.


 3   Q      Courtroom                type     books                 stuff       like    that.           What        is



     what       are       some       of     the    books             you       read         Do    you     recall          any     of


 5   the    names

 6   A      I    think          the       last     one          I    read       was    called       Messiah.               Its

 7   about       a    serial          killer.               I       read       books    by       Allan     Folsom wrote


 8   The    Day       After          Tomorrow           something                an    arch       bishop.


 9   Q      Anything                about     that          interest             or    anything           in    reading


10   that       you       think       would        have             an    affect       on    you    being           a    juror


11   in    this       case

12   A      No        I    just       like        to    read             them.        The    time       goes        fast      and


13   cant        wait          to    see    what        happens.


14   Q      Okay.              You    also        indicated                that       your       brother-in-law


15   works       in       the       Sheriffs            Department

16   A      Uh-huh.


17   Q      Is       he    a    patrolman              or       do       you    know    what       he    does

18   A      To       be   honest           with        you          were       not     too       close.         I       dont

19   know       what      he        does.


20   Q      Nothing             about       that        affect             your       ability       to    be        a    juror


21   in    this       case

22   A      No.


23   Q      You       said          you    think        your             husband       may       have    applied           fo-r



24   a    law    enforcement                job        some          years       ago.        Did    you        ever      go


25   ask    him about                that     over          the          night
                                                                                                                                                     139




     1   A      No.        And     when       I    said            that       on       the    questionnaire                           it       was


     2   weird        he        just    mentioned                  it       the     other         day       something                 about


     3   he    had    applied.               But         I    guess               he    backed          out       or        something

     4   I    dont      know.


 5       Q      Youd            been    on    a    jury once                  before              is    that       correct                     on


 6       a    prostitution              --    solicitation                        of    prostitution                   case

 7       A      Uh-huh.


 8       Q      Do    you        recall       what           court           that       was       in

 9       A      No.


10       Q      Okay.            And    you       indicated                  you       reached          a    verdict              and


11       the    judge           assessed          punishment

12       A      Right.            We    had       been        dismissed                 to    give          --    come           up    with


13       a    verdict       at     punishment                 stage               and    he       come       in    and           said          it


14       had    been       taken        care       of.


15       Q      Pled       it     out    while          deliberating




--19
16       A      Yeah.


17       Q      Anything           about          that        case           --    was       that       a    good


18       experience               bad    experience                     or


         A      Well        that        was       my    first               time       having          gone       --    been


20       selected          for     a    juror          or     been           called          so    it       was    --       it        was


21       interesting             because           it        lasted           all       day       long       and       it    was


22       just    an    experience                 that        --        I    mean       it    was       fascinating                        I




23       guess.


24       Q      Right.           Right.


25       A      You    know        the       process.
                                                                                                                                              140




     1   Q      Okay.            Did          the     defendant           testify             in    that       case

     2   A      No.


     3   Q      You        understand                 the    defendant             has       a     right       not       to


     4   testify           and    in          that     case       they       didnt           and     I    assume             you


     5   didnt        use        that          against        him.           You    relied          upon           the       evidence


     6   that       was    presented

 7       A      Right.


 8       Q      Theres            a       question           here       that       says            Would           an


 9       individuals                  use       or     sell       of    drugs       prevent              them       from


10       relying          on     any          defense        available             to       other        members of


11       society               And        you        checked       yes.        And          you    said        if       you       deal


12       drugs       then        you          have     money       that       buys          you    the        best       defense.


13       If    you    use        drugs          then        youre probably                    poor        and       cant

14       afford       a    lawyer.


15                                        I    think        the    question             was       designed              to    ask


16       you    a    question                 about       this          Lets        say          Im out            dealing

17       drugs.


18       A      Uh-huh.


19       Q      And       someone              you     know       --    Im     standing             on        the       street


20       corner       --       someone              comes     up       and    wants         to     buy        drugs.              I    sell


21       them       drugs        and          the    comes        up    and    pulls          a    gun        to    rob      me.


22       The    law       says        I       have    a     right       to    defend          myself.               Do       you

23       believe       because                 Im a         dope       dealer           I   dont          have       a       right       to


24       defend       myself                   Do    you     think       Im entitled                     to    the       same


25       rights       the        law          provides        to       everybody            else         or    think          I       give
                                                                                                                                              141




 --8
     1   those        up    because              Im         a    dope        dealer

 2       A       Well           no     you           still        have        the       right       to       defend          yourself.




 your-6
 3       Q       I    think          thats            what        the        question          was       asking.


 4       A       Okay.


 5       Q       Also       theres               a    question               in    here    says               What       are


         feelings           about          the        death           penalty             It       says       sometimes                its

 7       warranted.                  You    know           what         in    your mind makes                      the       case


         one     case       is       warranted                  and     another          maybe          is    not.           In    your


 9       mind what              do    you        think           the     different             factors             apply          to   make


10       it    warranted              or    not        warranted

11       A       I    think          the    first               thing        that       came       to    my    mind           you


12       know         was       situations                 where         children          have          been          killed          you


13       know.         Or       family          murdered.                    Something              just           I    guess


14       something              of    that           nature.


15       Q      Okay.            All       right.                Theres            another          question                  What      is


16       the    best        argument                 for        the     death          penalty               And       you    said      an


17       eye     for       an    eye       but        you        put     a    question             mark       and       said       people

18       who    are        without          a        doubt        guilty           and    show          no    remorse             or   who


19       would        commit          another              crime why               would       I    want       to       keep       them


20       in    jail     housed             and        fed

21                                     You           know        some        people       believe             in       eye    for      an


22       eye.         You       take       someones                   life         you    forfeit             your       life.


23       Thats         not       the       way        the        system           is   defined.               Do       you   believe

24       in    eye     for       eye        if        you        kill        someone           you       also          ought      to


25       forfeit        your         life
 --5
                                                                                                                                           142




 1   A      Not          necessarily.                       Thats         why    I    put       the       question          mark


 2   there.              Thats           a       phrase       I     thought          of    at    the       time.


 3   Certainly                if    a    person             exhibits        no       remorse          or       no


 4   forgiveness                   or    no       sense       of     having          done       any wrong




 --8
     Q      Right.


 6   A      --       I       would       tend          to    feel        that    person          deserves             the       death


 7   penalty more                   than


     Q      A    lot          of    factors             to    be     taken       into       consideration


 9   A      Right.


10   Q      And          thats           what          the    law        provides          for     and         taking       a    lot


11   of    other             information                into        consideration.


12   A      Right.


13   Q      Another                question             says        do    you    --       Ill      get         into       that


14   here       in       a    minute.              Let       me     talk    to       you    for       a    moment          about


15   the    punishment                   stage          of    a     capital          murder        trial.             We    talked


16   about       the          difference                between          murder           and    capital            murder.


17                                      And       the       first        duty    of       the    jury just                like       you


18   know       from          the       prostitution                 case        the       first          job       you    had       was


19   to    determine                guilt          or       innocence.               Has    the       States              proven

20   its    case             beyond          a    reasonable              doubt            Is    the       defendant

21   guilty          as       charged

22                                      If       you    find        he    is     then       you       go       to   the


23   punishment                stage             where       ya11        were        at    when       the       judge       came


24   in     interrupted                      you        said        we   pled        the    case          or    agreed          to


25   the    punishment                   case.
 --4
                                                                                                                                              143




     1                                  Atthe            punishment               stage           of    a    capital             murder


 2       case     is    a        lot    different..                   Punishment              stage          of       kind       of    case


 3       you    were        on        because          there          you    had        a    range          of    punishment


         A      Uh-huh.


 5       Q      --     for        a    number          of    days       in       jail        or       number          of    dollars.


 6       in    fine     and           that     kind         of    stuff.              Here        theres              two


 7       punishments                   life       or     death.             And       you     decide             those          not    by


 B       voting        in    favor           of     life         or    death          you     answer             the       questions.


 9                                      There          is    no       way    where           theres              an    automatic


10       death       penalty.                No     question.                No       such        thing          as    automatic


11       death       penalty.                 Instead            you    find          somebody guilty of

12       capital        murder.                If      you       do    go    to       punishment                 stage          of    trial


13       there         you       may hear              additional                evidence.


14                                      You       know       guilt          or    innocence                 you       heard          about


15       the    crime        itself               what       happened             before               during          and       after


16       the    crime because                     youre           trying          to        determine has                   the       State


17       proven        all       the        elements             that       on    a     certain             date       in       Harris


18       County         Texas           the       defendant             kidnapped                 a    certain             person

19       caused        their           death        or      killed          one       person           in    the       process          of


20       the    same        criminal              episode             killed          another           person.


21                                      Youre            trying         to       find       out        whether             we    met


22       those       elements.                If       we    do        find       him       guilty          of        capital


23       murder.            If        you    find        him      not       guilty           everybody                 goes          home

24       no    more     trial.


25                                      If    theyre              found          guilty you go                    to       the
                                                                                                                                             14 4




     1   punishment            stage        of       trial        where         you       may have           additional


     2   evidence          about         the      defendants                character               his        background

     3   his     criminal           history           or     lack          thereof           his    mental ability


     4   or    disability             because             youre hearing                    information                  about


     5   the     individual              because           your       job       is    to     determine                 what              -




     6   punishment            should           this       individual                receive        for        the          crime


     7   we    have      found        he    has       committed                 okay         and    a    lot           of    things


     8   may    factor         in     there.


     9                                You       may have          a    person             whos      never               never


10       been       in   trouble           with       the    law       before              straight            A       student

11       choir       boy       Eagle        Scout           whole          nine       yards.            What           happened

12       was    a    horrible            crime but           it       just       stuck        up    like           a    sore


13       thumb.          In    the       plan        of    life       it    was       a    total        aberration.


14       Hed never             done        anything          before.


15                                   Another              case    you       may       have     somebody                 who


16       commits         capital           murder           you       see       throughout              life           been       in


17       and    out      of    trouble           all       the    time          been         delinquent                     been

18       truant          all    kinds           of    problems             in    school            trouble              with       the


19.      law    and      all    kinds           of    other       stuff              okay.


20       A      Uh-huh.


21       Q      So    you      have        to    kind       of    determine               what      the      facts            are


22       in    determining what                      the    punishment                may    be.         Issue              No.    1




23       says         Do      you    find        from       the     evidence              beyond         a   reasonable

24       doubt       theres          a     probability that                     the       defendant            would

25       commit       criminal             acts       of    violence            and       would     constitute                     a
                                                                                                                                       145




     1   continuing              threat        to    society

     2                                  Your    job    there            is      to       determine         beyond           a




     prove-6
     3   reasonable              doubt.         So    the        automatic               answer       to    that        is       no


     4   unless        we       prove     it    is    true        beyond             a    reasonable         doubt              just


     5   like        the    automatic           verdict           is     not         guilty      unless           we


         beyond        a    reasonable              doubt        hes         guilty.


     7                                 You     have    to        determine               have    we    proven           beyond

     8   a   reasonable            doubt        theres            a    probability and                     the     Judge


     9   told     you       that       doesnt         mean        possibility and                     doesnt            mean


10       certainty.


11       A      Uh-huh.


12       Q      It    means        probability                   kind        of    more     likely          than        not.


13       So     the        question          is       Is    it     more           likely        than       not    this


14       person       we        found    guilty would                  commit            criminal          acts        of


15       violence                That    could        be    anything               from     hitting          someone


16       with    a    fist        to    killing        somebody                   anything        criminal              and


17       violent           in    nature         okay        that        would            constitute          a



18       continuing              threat        to    society.


19                                     So      your    duty        is      to      determine           as    the


20       defendant              sits    there        that    day        do        you     believe       its           more


21       likely       than        not    he     would       be    a     continuing              threat           to     commit


22       future       acts        of    violence           and    then            have     to   rely                    the
                                                                                                            upon

23       facts       of    the     case        any    evidence             you       heard      about        the


24       defendants               character           and    background                   and   his     criminal

25       history or             lack     thereof            all       of     this.
     _-6
                                                                                                                                        146




     1                                   On     Issue          No.    1    are    you       open     to        answering

     2   that    either             yes       or       no    depending           on    what        the    evidence


     3   shows

     4   A      Yes        uh-huh.


     5   Q      Okay.              Some       people          may     come       and       tell     us    if     I    have


         found       him       guilty of                capital           murder       the        intentional               taking


     7   of    another             persons              life     without          any       legal        justification

 8       during       the          course          of       kidnapping            Ill        always        believe


     9   theres        a       probability                   that     hed        be    a    continuing               threat        to


10       commit       future             acts          of    violence.


11                                       As    I       said     in    the       punishment           stage           of    trial


12       you    may    hear          evidence               about         the    defendants               character              and


13       background                and       may decide              thats        not       true.         May        have


14       found        as       I    say        an       Eagle        Scout        alter       boy         no    trouble


15       with    the       law           a    total         aberration.                Or    you    may        find        on    the


16       other       hand          been       in-trouble             all        the    time.


17                                       Are       you      open     then        on    Issue       No.     1    to        answer


18       that    either             yes       or       no   depending            upon       what    all        the        evidence

19       shows

20       A      Yes        I       am.


21       Q      Can    you          assure             me   that     you        wouldnt           answer        yes        just


22       because       you          found          a    person       guilty of              capital        murder

23       A      Im sorry.

24       Q      In    other          words.             can    you    assure          me     just    because               you


25       found       somebody                guilty of          capital          murder           which        you        had    to
                                                                                                                                     147




 1   do    in    order to          get       to    this       question          just           because         of       that


 2   you    would          not    always          answer       that       question                yes    I    mean        take


 3   that       into       consideration                but    there       is       no        automatic            answer.


 4                                Do    you       understand          that

 5   A      Right.           Right.           I    understand.                                                                   -




 6   Q      Any       problem

 7   A      No.


 8   Q      If    you       answer          that    question          yes           the        defendants                 going


 9   to    receive          the    death          penalty          unless       on       Issue          No.    2
                                                                                                                    you


10   decide       that       he    does       not.           Issue    No.       2    doesnt              have       a



11   burden       of       proof       instruction.


12                                Instead          it    says         Do    you          find          that    taking


13   into       consideration                all    of       the    evidence             including             the


14   circumstances                of    the       events           that    is       the        crime         itself

15   what       you    heard       at       guilt       or    innocence              the          defendants

16   character             and    background                 thats        what       you          heard       in


17   punishment             about       his       character          and    background                   and       his


18   moral       personal          moral          culpability              what          I     like      to    refer




--24
19   to   as     personal          responsibility                   for    commission                   of    the       crime

20                                In    other words                 did    he       pull          the    trigger          or


21   stab      the     person          or    do    whatever          or    was       he       a    getaway          driver

22   Do   you     find       theres           a    sufficient             mitigating                   circumstance


23   or   circumstances                 --    I    like       to    refer       to       it       as    reasons


     sufficient            reasons           why    this       person       should                receive          life     as


25   opposed          to   death
                                                                                                                                       148




 1                                What          you        do    is    go    back          and     look       through           all


 2   the    evidence.                 Is     there          evidence             we    have        heard        that       in    our


 3   minds       --       in my       mind because                    this       is    an     individual              decision


 4   to    you       --    that       in     my mind makes                   me       believe            this    person


 5   should          receive          life       as        opposed          to    death.


 6                                For        example              you       may       go    back        and     look


 7   through          all       the    evidence                  see    if       theres anything                      you


 8   believe          to    be    mitigating.                     If    there          is         then     you    consider


 9   if    its        sufficient                to        change       your       vote        from       death        to    life.


10   Thats           what       you    think.               If    its        not       sufficient                you       dont

11   change          your       vote        okay.


12   A      Okay.


13   Q      To       give       you    an       example           how       this       works            lets      say       you


14   may have             heard       evidence              during          the       trial        the    defendant              was


15   high    on       drugs       or       alcohol              during       the       crime.            One     juror          may


16   say         I    believe          that          mitigates towards                        a    life       sentence.


17   When    youre              high       on    drugs           and    alcohol             you     dont         do    things.


18                                Or Juror                 two    may       say            Wait     a    second.            I




19   know    people             that       get       high        on    drugs          and     alcohol           and    dont

20   commit          capital          murder.               I    dont        see       the        connection           of


21   committing             a    crime.              If     they       get       high       on     drugs        and    alcohol


22   again           theyll           commit          capital           murder             again.         So      they


23   dont        think          its        mitigating.


24                                You       see       two        people          look       at     the    same


25   evidence.              One       finds          it    mitigating                  one        not.        Thats         what
                                                                                                                                     149




 1   youre        asked           to       do.        And    you       weigh       in       your mind and                decide


 2   what    affect          it        ought          to    be    given.           You       may hear           evidence


 3   he    was    a    slow           learner.              Not    a    very       good       student.              Some


 4   people       say       that           mitigates towards                   a       life       sentence.


 5                                    Then          someone       may    say       I     know      people        with         the


 6          same       type           of    mental problems                   this          guy    has        they       dont

 7          go    out       and        commit             capital       murder.              And    I    dont           think


 8          theres           a        connection             between          mental capability                         and


 9          what       he    did           in       the    crime.        I    dont           think       its

10          mitigating.

11                                Again               two    people          look       at    the       same     evidence


12   and    came       up    with           different             answers.              Thats           okay.           Youre

13   going       through              the       right       process.           The          age    of    defendant.


14   Some    may       say       hes            a    very    young       man       that       committed             a    stupid


15   mistake          when       young.               When       you    get    older          you       dont        make


16   that    mistake.                  I    think          that    mitigates towards                      a     life


17   sentence.


18                                    Somebody             else    may       say       if    theyve           already

19   committed          this           crime          at    this       age    no       telling          what     they         do


20   10     15    years          down           the       road.


21   A      Uh-huh.


22   Q      So        they       dont               think    its        mitigating.                 So        you       see    how


23   this    process             works.               Go    back       and    evaluate             the    evidence             and


24   determine          if       theres               any    evidence          thats              mitigating.                 If


25   there       is     is       it        sufficiently                mitigating             to    give       the       person
                                                                                                                                               150




 1   life       as    opposed           to      death.


 2                                It       gives          you        the     option             to       change              what       was


 3   otherwise             going        to      be    a        death        sentence.


 4   A      Yes        I    see.


 5   Q      Any       problem with                   that

 6   A      No.


 7   Q      Now       the       questionnaire.                            Before       we       get       an       opportunity

 8   to    talk       about       what          mitigating                  is    --       and       I    dare           say       most


 9   people          when       you    say       mitigating                  dont           really             --        I    mean

10   its        the    kind       of       term       I        dont         know       where             it    came           from.


11   Its        probably          not          well       understood                  by    a    lot          of        people.


12                                Theres              a    question               here           68           says             Do       you


13   believe          that       mitigating                    --    and     its           underlined                    --    evidence


14   concerning             a    capital             murder           defendants                     background                    should


15   be    considered             in       deciding                 whether           or    not          he/she              should


16   receive          the       death          penalty                And        you       che.cked            no.


17                                Now           do    you           understand              though             that           what       the


18   law    says       in       Issue          No.    2        is    that        you       shall          look           for


19   mitigation             and       if       you    find           it     you       determine                what           affect


20   its        to    be    given.              And       it        may result              in       you       changing                 your


21   mind and          give       a    life          sentence               and       then       again             it        may       not.


22   A      Right.              When       I    answered              that        I    didnt              realize              there


23   was    a    process.              And       I    thought               that       when          you       impose              a



24   verdict          that       all       that       was           taken        under          one       umbrella                 and


25   included          in       there          not    like           this        step       and          this           step       and
                                                                                                                                             151




     1   this      step.


     2   Q        And        it    is    a    fair       step        process          as     we      talk        about     guilt


     3   or      innocence              stage       then       theres            the       issue           of    punishment

     4   and      all        this       process          and    all        we    need        to      know        is    just     to


     5   make      sure           that       you would          go     through             the       process           because          1




     6   dont          know        if    youll           find       anything           mitigating                 or     not.


     7                                   Maybe       you       may     look       through                 all    the     evidence

     8   and     everything                  and    not    find        anything              mitigating.                  Thats

     9   entirely             possible.              What       the        question           does          is    commit        you


10       to    looking              to       the    certainty              of    searching.


11                                       Any       problem          with        that

12       A       No.


13       Q       And     I        guess       another          way    of        asking        that          question           is


14       this           If        you    had       found       someone           guilty of                 capital        murder

15       and     then         in    Issue          No.    1     if    you        determine                 that       beyond        a



16       reasonable                doubt       theres           a    probability more                           likely     than

17       not     that         the       person       on    trial       who        you      had        convicted            of


18       capital         murder           would          commit       criminal             acts           of     violence           and


19       would      constitute                 a    continuing              threat         to        society             are    you

20       still      open           on    Issue       No.       2     that        going       through              and     looking


21       for     mitigating               evidence             and    if        you    find          it     weigh       and


22       determining what                      effect         that     you        have

23       A       Yes.


24       Q       See     some           people       say      might        say          If       I    find        them     guilty

25       and     find        theyre            a    continuing             threat            nothing              will     ever         be
                                                                                                                               152




 1   mitigating.              They       may       be    right       there     may be             nothing.              You


 2   have    to    committed             the       search        and    looking          for       it    and


 3   following          the    instructions                of     that       issue.


 4                             Any       problem          with       that

 5   A      No.                                                                                                            -




 6                             MR.       MCCLELLAN                How       much    time

 7                             THE       COURT            None.


 8                             MR.       MCCLELLAN               Thank        you       very      much            maam.

 9          Ill        pass.


10                             THE       COURT            Do    you     have       any       more       questions

11                             MR.       MCCLELLAN               No         thats        fine.


12                             THE       COURT            Mr.    Hill.


13


14                                                  EXAMINATION

15   QUESTIONS          BY    MR.       HILL

16   Q      Hi     Ms.       Arnie       how       are    you          My    name       is    Wayne          Hill.


17   And    Kurt       Wentz       is    the       other       lawyer        representing                Mr.       Mamou


18   on    this    case.           I    sit    up       here    because        that          ledge       kind        of


19   jutes    out       and    blocks          our       view.         And    so    rather          than          you


20   having       to    look       over       there       its        easier        to    sit      here.


21                             I       want    to       give    you     the    opportunity                   to


22   express       yourself.                 Mr.    McClellan           asked       you       a   whole           series


23   of    questions           told          you    what       the     law    requires            this            that


24   youre        not    going          to    do    anything           automatically.                    And       there


25   are    certain          buzz       phrases          that    are        kind    of       used       to    get
 --2
 1




 3



 4




 5
     people


     answer


     saying




     speak
                  to


                  one


                  theyre




               with
                         sit


                             way
                                   up




                                   This
                                       or


                                       a




                             prospective
                                               on


                                                the


                                               fair
                                                     the




                                                    is
                                                            edge


                                                          other where

                                                          and


                                                          the


                                                           jurors
                                                                       of




                                                                 impartial juror.

                                                                 only
                                                                                 their


                                                                                      they




                                                                            opportunity

                                                                           to
                                                                                              chair


                                                                                                may




                                                                                  determine whether
                                                                                                       seem




                                                                                                       we
                                                                                                           and




                                                                                                             get
                                                                                                                  figure


                                                                                                                  to     be




                                                                                                                        to


                                                                                                                         or       not
                                                                                                                                            153




 6   they     can       sit    on          a    case       like       this            okay.          Not    everybody                 can


 7   for    any     number             of       reasons.              The        State       would         not    want           to


 8   have     people          sitting                up    here       that        says          In     every       case


 9   where     the       person                is    found       guilty of                capital          murder            I




10   could     never          give             the       death       penalty.

11                                 I       think          youd        agree           that      would       be    unfair              to


12   the    State            right

13   A      Right.


14   Q      And     I    think             youd           also       agree       it       would       be     you       know            a



15   little       unfair           to          the       defendant          if       everybody             that    sat           up


16   there     says           I        always             believe          in    the       death       penalty

17   right

18   A      Right.


19   Q      Well         in    Texas                in    order       to    serve          on    a    jury        the        12


20   people       have        to       say          they    believe             in     the      death       penalty

21   because        if       their             ability          to    serve          is    impaired          by    their


22   belief       that        the       death             penalty          should never                be    applied

23   they     dont           get       to       serve.


24                                 So           the       Defense          starts          right       out       with        a



25   group    of        12    people                who    believe          in       the     death         penalty.               The
                                                                                                                                             154




 1   question             is    how        strong           do    they            feel          that.        And    this       is    the


 2   only    time          to    express              it.         Its             not       a    Physics       test.           No


 3   right       or       wrong           answers.


 4                                   What        we    dont             want           to       have    people       doing          is



 5   feeling          like       they           got    to        fit        in     with          what    the       law    says.          -




 6   If    youre picked                     on    this           jury        and        figure          out    two       months


 7   from    now          or    however           long           trying            the          case     I    really should

 8   have    said          something              about           this             I    really          have       strong


 9   feelings              its            too    late.


10                                   This        is    why        we        go     through             the    exercise          and


11   this    is       --       there        were       some            answers              you    gave       that       suggest


12   you    have          strong           feelings              about            the       death       penalty.           We       want


13   to    judge          whether           or    not        you        are        really          feeling          an


14   obligation                one        way    or    the        other                okay.


15                                   I     hope       you        dont             feel          like    thats        too


16   invasive             or    trying           to    pick            on    you        or       anything.


17   Mr.    McClellan                kept        using           the        scenario              of    aberration.                 You


18   might       find          somebody           guilty of                  capital              murder       or    find


19   theyre           a    choir          boy     or        straight              A     student          and       then    he       asks


20   you    could          you       find        that       thats                maybe          mitigating           or


21   wouldnt              find       it     mitigating                  and       he        never       gave       you    an


22   opportunity                to       talk     about           what           you        think.


23                                   I    want        your        honest               feeling          about       sitting          on


24   a    case    where          you        have       just            found           somebody guilty of

25   capital       murder.                  In    this       case            it        is       alleged       in    two
                                                                                                                                155




 1   different          ways          that       Mr.       Mamou        either       caused           one    persons

 2   death       either          while       or       after        he    kidnapped              the    person        it



 3   was    a    female           or    alternatively                    that       Mr.    Mamou        killed       both


 4   a    female       and       male during                the     same       criminal           transaction


 5   killing          two    people          without              self-defense             without           any    legal


 6   justification.                    It    was       no        accident.           He    meant        for    two


 7   people       to    die       and       he    did       so.


 8                                I    want       to       know     honestly          now       how     youfeel

 9   about       sitting          on    a    case          like     that       and    then        coming       and


10   answering          these          two       questions               okay.


11   A      Uh-huh.


12   Q      Tell       me    what       kind          of    comes        to    your       mind first           when       he



13   asks       you    whether          theres              a    probability this                     person       you


14   just       found       guilty in             a    hypothetical                 capital           murder would


15   likely       be    a    threat          to       society            you       feel    like        you    have       some


16   feelings          already          developed                based        on    finding           someone       guilty


17   of    capital          murder

18   A      You       mean       as    far       as    being        able       to    answer           that

19   Q      Yeah.


20   A      Well        to       me    it    makes          it     --    it    makes       it     easier.          Like


21   I    said        you    know       I    envisioned                 having       to    find        someone


22   guilty and             by    a    vote       of       hands.         However          its         done    Im not

23   really       clear.


24   Q      Right.


25   A      And       that       person          would          automatically              get        the    death
                                                                                                                                                   156




 1   sentence.


 2   Q      Okay.


 3   A      This       to    me       having       the              two     issues                makes          it     easier


 4   because          youre           having       to       put           some           more          thought           into          it



 5   other       than       just       the       guilty part                        and       put          other        things          into


 6   it    and        you    know           make       --           based       on        what             I    heard         Ill           say


 7   I    dont        believe          that       this              has     any          bearing                on    this     or


 8   whatever.              But       it    makes          it        easier              in       the          process        to       have


 9   that    to       guide       you.


10   Q      Right.           My       question                  I    guess               goes          a       little        beyond

11   that.        And       Ill        ask       you       or        tell       you           a    little             bit     about


12   the    process.              I    think       its               fair           if    we       ask          you     to    show          on


13   the    jury        show          by    hands.                  Does       it        work                  The    State        gets


14   to    present          all       the    evidence                 they           have.                 Theyre            trying           to



15   prove       their theory                of    cases              that           Mr.          Mamou          took        the       life


16   of    two    people          specifically                       or     that          he       killed             this     woman


17   while       he    was       kidnapping                her            okay.


18                                At       the    end       of        their              presentation                    of    the


19   evidence           we       can       present          evidence                     if       we       want.         We    dont

20   have    to.        Mr.       Mamou          doesnt               have           to       say          a    single        thing.


21   Then    the       jury       will       decide                 based       on        instructions                       the       Court


22   gives       you    whether             their          case           --    the           State             has     proven          their


23   case    beyond          a    reasonable                doubt.


24                                It       takes       a        12    unanimous                    decision              if    the


25   State       has    in       fact       proven              the       capital                 murder             beyond        a
                                                                                                                                                157




     1   reasonable              doubt.              In    other              words       you       excluded             any       other


     2   explanation.                  It       wasnt.              self-defense.                    It       wasnt           an


     3   accident.               He    meant          for           two       people          to    be    killed          and       he


     4   did    so     or      he     meant          for       this           woman       to       die    while          he    was


     5   kidnapping              her      and        he    did           so.        Then       you       come       to    the


     6   questions.


 7                                                   And       so        my question                now       that       you       have


 8       a    little        better          understanding                       of       what       the       process          is        you


 9       already          found        the       person                 guilty           do    you       feel       as    though           in


10       answering             Question              No..l              you    pretty          much       already have                   that


11       answer        because            youre allowed                         to       consider             the       facts       of    the


12       case        okay

13                                     Thats              --        I   mean         thats           whats              being       asked


14       of    you     to      consider              the       evidence              thats           presented                to    you.


15       Assume        for       our      purposes              of        discussion               the        only       evidence

16       you    have        is      all     the       evidence                 that       you      heard           at    the       guilt


17       stage.           In     other          words               youre           now       having          to    apply          all


18       this    evidence              to       answering                 question             No.       1.



19                                     Do       you       feel           that       in    all      likelihood                 you    would

20       have    to       answer          that        question                 yes       because          you       had       just


21       found       the       person           guilty of                 this       capital             murder          knowing


22       what    that          is

23       A      No        because           I    mean          it       would        depend          on       what       the


24       evidence           is   or       what        --       what           you    had       learned             about       the


25       crime       to     be   able           to    say.
                                                                                                                                       158




            What       are        some          of       the    type      of    factors          --    not    that
 1   Q                                                                                                                   you


 2   will       necessarily                 be       bound          by   any    of     these      --    what       are       some


 3   of    the     type          of    factors                you    might      think       are       important          how       a



 4   crime       is    committed                 that          could      help       you    to    answer          that


 5   question          no

 6                                    In    other             words       you       know    at    this       point

 7   Ms.    Arnie      that           youve              just       found      somebody guilty of

 8   committing                 capital          murder.


 9   A      Uh-huh.


10   Q      What       are        some          of       the    circumstances               that       might be

11   important             to     your decision-making                              process       or    maybe       reasons


12   would       be    a    better              way

13   A      Maybe          past        incident                of    that      kind.


14   Q      Okay.


15   A      You       say        this       is       a    murder         kidnapping              maybe       he    had


16   abducted          someone              before              maybe       not.




--20
17   Q      Okay.


18   A      Maybe          it    was        a    relationship                  between       that       person          and


19   that       other       person              that          caused      it    or


     Q      Lets           talk        a    little             bit    about         that     the       relationship

21   of    the    parties.                  How          would       that      factor       in         What       would       be


22   important             for        you       to       know       about      or    why    would       that       be    a


23   factor

24   A      I    guess          you        look          at    whether         this    is    a    stranger          to


25   this       person          or    whether                 they    were      friends.              Whether       they
                                                                                                                                                   159




         1   were        you          know        boyfriend             girlfriend.                      Was    it        you    know

         2   someone             he    had    something              against.                 You        know    one       might

         3   lead        I       guess        when       youre           thinking              someone           he       knows           its

         4   more       involved             than       just       picking           a    stranger.                  Makes       it



     5       more        I       guess        for       lack       of    a    better           word        personal.                           -




     6       Q      Okay.              Let    me    ask        you      if        this    makes           sense       to       you


     7       because             you    understand                you    could           very        well       find       a    person

     8       guilty of                capital       murder           even          though           it    was    more          involved


     9       that       the       persons          knew        each      other           maybe           the    circumstances


    10       of    how       a    crime       was       committed                 shows       that        it    was       not    you


    11       know       somebody             that       premeditated                 or       randomly           just          come       up


    12       to    somebody             and       said        youre          going        to       be     my victim             today.


    13                                       Do    you        feel      as    though           it        would       be    important


    14       to    your          decision-making                   process           either              Question          No.       1    or


    15       Question             No.    2         Quite          frankly            there           was       some       type       of


    16       relationship                    maybe       whether             it     be    a    business              transaction

    17       or    business             dealing          between             people           or     they       knew       one


    18       another             for    some       reason          and       then        something              occurred             which


    19       caused          an       individual             to    commit           capital              murder because                   you


    20       would       clearly             find       he    did       commit           capital           murder              but       do


    21       you    think          those          circumstances                   surrounding                  how    the       crime


    22       came       about          could       be    an       important              factor           in    deciding             either


    23       of    those          questions

    24       A      I    would          think       so.


    25       Q      Okay.              You    know       if       you    look        at       question           No.       2 its
1
                                                                                                                                              160




 1   interesting.                  It    asks           you         Do       you        find    that          taking              into


 2   consideration                 all        of    the       evidence                  and    then          it     basically

 3   breaks        that       evidence              into       three          areas           and     says              the


 4   circumstances                 of    the        offense             the       defendants                      character             and


 5   background              and    the           personal          moral          culpability                     of    the


 6   defendant.


 7                                 So         I    see       there          are    kind        of     three             areas       it



 8   directs           you    to.        Is        there       any          one    of     those          three           more


 9   important           to    you       answering                 that       question              than          any        other

10   or    do    they        all    have           equally          kind          of     share        33      and        a    third


11   each

12   A         Well      I    think       the           most       important              to    me       would           be       the


13   circumstances.


14   Q         Okay.         Would       it        be    a    fair          statement           --       I    want           to    know


15   whether           Im     interpreting                    or    reading             what        youre               telling          me


16   correctly           --    would              the    cold-blooded                   murder               somebody goes

17   into       the     7-Eleven          and           just       guns       everybody               down          to       steal


18   the       money.         That       would           be    a    circumstance                    of       the        crime       that


19   I    assume       you     would              find       very       offensive              and       would           probably

20   all       other     things          being           equal              probably           tell          you        somebodys

21   going       to    get     the       death           penalty.


22                                 On    the        other          side       person           goes          to     the       grocery

23   store       or    convenience                  store          to       rob    it     and       something                 happens

24   while       theyre            inside           there.              A    person           panics.              A person              is


25   in    a    situation           that           he    feels          even       though           he       wrongfully
                                                                                                                                                 161




 1   feels           that       its        either              him    or     somebody else                       and       he    shoots


 2   people           killing             them.


 3                                    Does        that          --    is    that       a    distinguishable                           set


 4   of    circumstances                    than           that       of    the       cold-blooded                        murder           his


 5   whole           purpose          to    go       in        and    wipe       people          out        and           take    money

 6   A      Yes.


 7   Q      Okay.               Can       you     tell          me    why

 8   A      Well            because             in     the       first          one    you       have            somebody


 9   intending              to    do       that            you       know.        Obviously                      someone          goes


10   into        a    store       with           that          intention              his       frame        of           mind.

     Someone              who               into                                  and       all        of             sudden          --
11                               goes                      a    burglary                                     a                              I




12   can    see           where       something                 goes       wrong           like        you        said           and


13   panics                What       do    I    do             And       youre        going           to    make           a



14   dramatic              mistake.               Its           not       the    same       as    going               in    with       that


15   intent           or    purpose             in mind.                  You    know           you     started                 out


16   small wanting                    to    rob        $20       and       ended       up       killing               someone.


17   Q      You           understand              in       either          of    those          situations                  that


18   person           is    guilty of                capital              murder.           You        can       do        an    act


19   intentionally                    because              Texas          requires          that        an        intentional


20   act    if        I    had    a       handgun              and    I    shot       at    Mr.       Mamou               right       now


21   and    caused              his       death        I       committed          murder.               If        I       was    doing

22   another              felony          during           the       course       of       it     it        would           be


23   capital              murder.


24                                    I    want        to      make        sure       youre comfortable

25   with    evaluating                    all       this        evidence             and       give        it        a    real       close
                                                                                                                                                                       162




         1   look       at        when            the        State             uses          phrases              like       you          wouldnt

     2       automatically                          do       something                       that       kind           of    makes             people           feel


     3       nervous.                 I       dont               do       anything                automatically.                           I    want           to



     4       reason          carefully                       before                I    make       a    decision.


     5                                              Do       you          think          that          the        only       circumstances


     6       or    the       only             situation                    that          you       could           think             of    where           a



     7       person          may          not          be        a    continuing                   threat              to    society             would


     8       be    that       choir                boy               straight                A student                 example             or    do        you


     9       think       there                are        a       whole             lot       of    people              that          dont        measure


    10       up    to    that             standard                    by       the       facts          of        the       case          and    the


    11       evidence             thats                  submitted                      to    you       might           not          suggest              the


    12       answer          to       Question                       No.       1       might       be       yes

    13       A      Im not                    sure           I       understood                   what           you    asked             me.


    14       Q      Okay.                 The          State              gives          you       extreme              examples                of        the


    15       choir       boy              straight                    A    student.                    You       may be              gun       down        a



    16       hundred          people                   and           be    a       straight             A        student             and       not        think


    17       theyre           going                to        be       a    threat             to       society.                  I       don.t       know


    18       whether          you             agree              with          that          proposition.


    19       A      No.


    20       Q      Or       if       your             thought                 process             is       it     dont              matter          if        hes

    21       a    choir       boy                 if     he          committed                capital              murder                theres           always


    22       going       to       be          a    probability                          hes        going           to       be       a    threat.


    23       A      Right                 I
                                                  agree.


    24       Q      Is       that             how        you          feel

    25       A      Yes           I       agree.
1
                                                                                                                                               163




     1   Q       So        let         me    go        back        and    ask       this          question               Do    you      feel


     2   that       in     all         cases           no     matter what                the          nature       of    the       capital


     3   murder          that          if    you            had    found       beyond             a    reasonable             doubt       a



     4   person          is       guilty of                  capital          murder              do    you       believe          that

     5   the     answer            to       Question               No.    1    would          always          have       to    be       yes

     6   theres           at       least           a        probability             that          the    defendant             would


 7       commit          criminal             acts            of    violence             that          would       constitute             a



 8       continuing                threat              to     society

 9       A       Okay.             Youre               saying           because          I    found          somebody guilty

10       of    capital             murde.r             would.       the       answer          to       No.    1    always          be   yes

11       Q       Correct.                   You        used        that       same       evidence.


12       A      No.


13       Q      Okay.              Do       you        hesitate           at    all          in       answering          that

14       A      No        Im thinking                         it    through.


15       Q      Okay.              Because              I     thought          the       State          gave       you    an       example

16       that       kind          of    made           it     seem       like       the       pillar          of    the


17       community                 therefore                      why    would       you          not    think          that       this


18       guy    may      have           been           just        an    aberration.


19                            I    just       want            to    make       sure          you       realize          that


20       nobody       --          everybody                 that        walks       in       this       courtroom             is    going


21       to    be    able          to       produce               evidence          theyre              straight          A    student


22       and    choir             boy        okay.


23                                          What        I    want        to    know          about       you        if    anything

24       is    that      when           I    go    and            talk    to    Mr.          Wentz       and       Mr.    Mamou


25       tells      me        I    shouldnt                   invite          you    back          here      for        the    29th       of
                                                                                                                                                      16.4




 1   September                  is    there           anything             that           you       can        think          of    that


 2   you     would             want        to    say          to    me Mr. Hill                           you       know       you


 3   really           dont           want        me       sitting          listening                  to       this       case

     A       No.                                you       probably          know           more           about       me       since          I
 4                         I
                                guess


 5   filled           out       this        questionnaire.                                                                                        -




 6   Q       Ill           turn       it        around..             Is    there           anything                 you       would


 7   want        to    tell          me         Mr.           Hill        this        is       specifically                    why       you


 8   would        want          to    have           me       on    this    case.                   Something                 about       your


 9   background.                     Something about                       what           you       do.         Something                that


10   gives        me       insight              to    tell          me    this        is       just           the    type          of    juror


11   I   would         want          on     the       case           listening                 to     a       case    this


12   serious

13   A       I    mean           Im just                  a    pretty       average                 person.


14   Q      Okay.


15   A       I    like          to    give           people          the    benefit                 of        the    doubt.              As       a



16   parent            you       know           my        husband          and        I    have.          discussions                   about


17   what        my    son       did        this          and       he    did    it        because              of    this          or


18   that.            Dont           always           tend          to    agree.               And        I    can    see-raising

19   a   child             theres               always             two    sides           to    it.           And     we      can        see


20   the    same           child          going           and       have    two           totally             different


21   appearances                 about           him.


22   Q      Right.


23   A      And        I       would        like          to       think    I    give           everybody                 a   fair


24   chance           and       treat           them          accordingly.


25   Q      Okay.               Do    you        ever          read       any    of        Patricia                 Cromwell
                                                                                                                                         165




 Im-6
 1   novels

 2   A   No.


 3   Q   Okay.        Thanks.


 4   A   Youre        welcome.


 5                           THE    COURT               Ms.     Arnie          in        just           a    second


         going     to    excuse          you.           Before        I    do            I    will           tell        you


 7       that    we     want       you       back       Wednesday                the          29th           of


 8       September            at    930.            I    will        give        you          a     piece           of    paper


 9       about     that       in    just       a    second           which           I       believe              to     be


10       three    weeks           from       yesterday.


11                           Between          now       and     the       next           time           we    get


12       together            dont        you       change        your          lifestyle                     one       bit     for


13       us.     You     do       your       family       things           just              exactly              like        you


14       would    do.         And       do    your personal                    things               and       your


15       business        things          like       you        would       do        them.


16                           If    you       even       have     a    chance                 between              now     and


17       the    next     time       we       get    together              to    leave               for       an       extended


18       trip     take        the       chance          and     go.        All           we       ask        of    you


19       between        now       and    then       is    this             Please                 do        not    talk


20       about    this        case       with       anybody.               Please                 do        not    permit

21       anybody        to    talk       about          this     case          with           you.


22                           In    the       event       there        is       any           media           publicity

23       about    this        case           avoid       it.         Anything                 about           the        case       on


24       the    television               refuse          to     watch          it.            Anything                 about


25       the    case     on       the    radio           refuseto               hear              it.         Anything
                                                                                                                               166




 1   about       the        case       in        the    newspaper              refuse          to    read       it.



 2                          And       Ms.    Arnie           the     reason         for     each      of       those


 3   five    restrictions                    is        for    the       purpose       of       accomplishing


 4   the    same        common          objective                 and    thats        this            If       you    do


 5   become       a     juror          in    this           case        the    decision             that       you        -




 6   reach        whatever              that           decision          winds       up    being           must       be


 7   based       exclusively                 upon           the    information             you       receive


 8   from within                 the    courtroom.                  And       your    decision             cant           in



 9   any    way       be     influenced                 or    affected          by    any       outside             the


10   courtroom              information.


11                          Thats           why        we    try    to    keep       that       apart.              When


12   we    get    together              on       Wednesday              the    29th       if    we    get


13   started          on     time       by       about        the       noon    hour       well           be


14   through.               And       everybody              will       know    that       day       --    will


15   leave       here        knowing             specifically                 whether          theyre           a



16   juror       or    not        a    juror           on    the    case.


17                          If    a    person           is    selected          as    a    juror          on    the


18   Wednesday              the       29th         they       will       begin       on    the       following


19   Monday       the        4th.           If    you        need       something          for       anybody          at


20   work    to       show        them       where           you    have       been        that       will          take


21   care    of       it.


22                          This       is    the        reminder          note       of    where          and       when


23   we    want       you        to    be    right           outside          the    door      where           you


24   were    waiting              this       morning              930         Wednesday              September

25   the    29th.            Before          you        leave       have       you    any      questions
                                                                                                                  167




 1   for    me

 2                      VENIRE        PERSON       AMIE         No.




 Okay.-6
 3                      THE    COURT             Okay.        Thank       you       very    much          for


 4   being       with    us.     We        look    forward          to    seeing          you    the


 5   next    couple       of    weeks.            Anybody       need       anything

                        Ms.    Tinnemeyer               please.


 7                       Prospective              Juror       No.    18        Jerri       McGraw


 8   Tinnemeyer          entered          the     courtroom.

 9                      THE    COURT             Come    on    in    here       and       have       a    seat

10   please        maam.         Been        a    long    time       since          weve        seen       you.


11   Have    a    seat        please.            Are    you    holding          up    okay

12                      VENIRE       PERSON        TINNEMEYER                  Yes.


13                      THE    COURT             All    right.           Good.


14   Ms.    Tinnemeyer           first           off    let    me    ask       you    to    remember

15   back.to       yesterday          and        the    things       we    talked          about


16   yesterday           add    to    it     this       morning          the    things          we       talked


17   about       this    morning          and     Im     talking          about       this       morning

18   is    when    the    group       as     a    whole       was    together              out       of


19   everything          we    have       talked        about       up    to    this       point           do


20   you    have    any       questions           at    all    for       me

21                      VENIRE       PERSON        TINNEMEYER                  No.


22                      THE    COURT             Now     Im asking              the       questions

23   and    the    natural       thing           for    you    to    do    is       answer       me.


24   These       folks    have       to    hear        your    answer          to    my    question.


25   If    you    would       please       keep        your    voice       up.        Is    there
                                                                                                                               168




 1   anything           to        this       point       that       we       have    not       yet       touched


 2   on    that    we        havent            yet       talked          about       that       you          feel    as



 3   though       would            be    a    good       idea       to       talk    about          that          might


 4   have    some        influence                 or    bearing             on    you    being          a    juror       in


 5   this    case

 6                       VENIRE              PERSON          TINNEMEYER                  Not    that          I    would


 7   be    aware       of          no.


 8                       THE        COURT               Dont        suppress             secret


 9   information                  do     you

10                       VENIRE              PERSON          TINNEMEYER                  No.


11                       THE        COURT               Is    there          anything          at       all       that


12   you    can    think            of        something             about          your    personal                life


13   whether       it        be     something                about       your       professional                   life


14   or    whether           it     be       something             about          your    health             or


15   whether       it        be     something                else    that          you    feel          could       in


16   any    way    interfere with                        your       ability          to    be       a    juror       in


17   this    case       during               the    time       frame          that       weve           talked


18   about

19                      VENIRE               PERSON          TINNEMEYER                  No     sir.


20                      THE         COURT               In    just       a    second       the          lawyers          are


21   going    to       visit            with       you.        All       this       process             is    about        I




22   think        is    to        make        sure       as    best          we    can    to    explain             to


23   you    what       the        rules        are       that       can       come       into       play          during

24   the    course           of     trial.


25                      First            of    all           can    you       follow       it            And       what
                                                                                                                           169




 1   you    heard          so     far    your       answer       would          be       what

 2                         VENIRE        PERSON          TINNEMEYER                     Yes.


 3                         THE    COURT             Nothing          that       youve              heard       so


 4   far    so       personally           repulsive             and       so    offensive                youd        not


 5   be    able       to    abide        by    it

 6                         VENIRE        PERSON          TINNEMEYER                     No.


 7                         THE    COURT             Second       thing              I    think       this


 8   process          is    meant        to    accomplish             and       to       make       sure       the


 9   lawyers          make       sure     for       and    you       to    make          sure       with


10   yourself that                if     you       were    a    juror          in       this       case    you


11   could       sit       back    in     any       one    of    those          12       chairs          and


12   listen          to    every        single       shred       of       evidence             the       lawyers


13   give       and       tell    them        how    you       feel       appropriate                and       based

14   upon       how       you    evaluate           the    information                   they       give       to    you


15   come       up    with       what     you       think       is    the       right          result          to


16   reach.


17                         Does    that        sound       like       you

18                         VENIRE       PERSON           TINNEMEYER                     Yes.


19                         THE    COURT             The    idea       being             your       job    is    not


20   to    please          one    side        or    the    other.              Your          job    is


21   certainly             not    to    please           me.     Your          job       is    to    make


22   certain          five       years        from       now    when       Ms.          Tinnemeyer             wakes


23   up    in    the       morning she              can    look       in       the      mirror and              say

24   You        know       five    years           ago    in    this       case          I    did    exactly

25   the    right          thing.
                                                                                                                                      1-70




     1                              Your       job    is   to    satisfy           yourself whatever                          the


 2            result       is.           And    are    you      open       to     the    whole          concept              of


 3            guilty           not       guilty        life          death          Thats           because              a



 4           person        is       found       guilty of            capital        murder          for        that


 5            reason       and        that      reason       only          does     not          require           these          -




 6           questions              be    answered         any       specific           way.


 7                                  VENIRE       PERSON         TINNEMEYER                       Nods    head.

 8                                  THE    COURT           The       evidence           is       what    might

 9           require           it

10                                  VENIRE       PERSON         TINNEMEYER                   Yes        sir.


11                                  THE    COURT           Do    you       have    any           questions           of       me


12           before        we       begin

13                                  VENIRE       PERSON         TINNEMEYER                   I    think        I




14           understand              everything            that       we    talked           about       in        the       last


15           two     or    three          days.        Yes       I    do    understand.


16                                  THE    COURT           Mr.       McClellan.


17                                  MR.    MCCLELLAN                 Thank      you          Your       Honor.


18


19                                        JERRI      MCGRAW          TINNEMEYER

20       having    been        sworn       as   a     prospective               juror testified                      as


21       follows

22


23                                                    EXAMINATION

24       QUESTIONS        BY    MR.       MCCLELLAN

25       Q   My    name        is    Lyn     McClellan.              Along        with           Claire       Connors
                                                                                                                                                171




 --7
     1   we   represent               the    State             of     Texas         in       this       case.            I    want       you




 fun-6
 2       to   sit      back       and       relax.              Im        going          to    ask       you     to          share       with


 3       us      if    you       will        your             opinions             and       beliefs        about             certain


 4       aspects           of    the    law.              I    got       about          20    minutes           to       talk       to



 5       you        and     Mr.       Hill       will          have       about          20    minutes           to          make


         of   what         questions             I    ask       of       you       which       is       ardently

                                       MR.       HILL               Thank          you.


 8       Q       By        Mr.    McClellan                     Let       me       ask       you        first        of       all        you


 9       indicated              you    used          to       oppose          the       death       penalty




--15
10       A      Yes.


11       Q      And        have       you    now          changed             your       mind            Tell        us       how       that


12       occurred.


13       A      I     dont        know       exactly                how       it    occurred              but        I       do    know


14       that       anybody           would          mention             it        Id        say    no     no            no       and


         Q      What        period          in       your       life          was       that

16       A      Probably college.

17       Q      Okay.


18       A      Maybe           right       when          I    first          got       married.


19       Q      Okay.


20       A      And        then        you       know           Im 35               too.           Life    experiences

21       itself        tell       you        yes              there       are       certain             situations




--23
22       that


         Q      What        kind       of    situations                   come          to    your      mind when                 you


24       think        of    situations               where           I    think          the       death       penalty may be

25       appropriate              as    being             available                as    one       of   the     forms             of
                                                                                                                              17   2..




     1   punishment

     2   A      A    specific             kind

     3   Q       Just      what          comes     to    your       mind

     4   A      Anyone          who       would     murder.              My    first        thought       that       comes


 5       to    mind why             Im hesitant                anyone         who    would       murder        a    child-.



 6       Q      Murder          a    child         okay.


 7       A      Or murder                anybody.            But    that       one     is    the    one    that       jumps


 8       out    of     me.


 9       Q      We     get      that       answer        quite       often.           Murder        of    children.


10       For    murder              of    course         in    the       State       of     Texas    the       death


11       penalty          doesnt           apply        unless       its        a    child       under     a       certain


12       age.        To    murder          someone           intentionally                take     someones           life


13       without          any       justification.


14       A      Correct.


15       Q      Not       self-defense                  not    accident.


16       A      Correct.


17       Q      Intend          to       kill     someone          and    do    so        thats      the       kind    of


18       range       the     Judge         talked        about       from       five        years    to    99       years


19       or    life.         Capital             murder       is    murder plus              some    other


20       aggravated             circumstance                  murder          kidnapping            what       we    have


21       alleged          here       and        murder       during       a    murder         killing          two    or


22       more    people          during           one    criminal             episode        are    the    kinds       of


23       cases       the     Legislature                have       said       the    death       penalty        is


24       available.


25                                       Theres         no    automatic             death     penalty          for    any
                                                                                                                                      173




     1   crime.           Its        available.              Do    you     agree          it    ought       to       be


 2       available           for      those          types    of    crimes          that        the       Legislature

 3       set    out       ought       to    be       available       for       that        is    murder          plus       some


 4       other       aggravated             circumstance.


 5                                    Do    you       think       they     should allow                   for    that            -




 6       A      Yes.         Yes.


 7       Q      If    you       were       the       governess           if    you    were           putting          how       to


 8       be    --    would       you       keep       the    death       penalty           available             on       the


 9       books       as    punishment                for    certain       types       of        crimes

10       A      Yes.


11       Q      You       say    youre           a    Special       Programs Counselor                          at


12       Pasadena          ISD.        What          does    that    entail

13       A      I    coordinate             the      Advance        Placement              Program          for       the


14       gifted       and       talented              the    program          for    the        At-risk          Program

15       our    credit          redemption students                      who       have        failed.           We       try    to


16       get    them       back       on    track          with    their       peers.            I    coordinate


17       with       CIS    drug-free             safe       schools.           I    write        the       campus


18       improvement             book.           Im on        the    Campus          Improvement                 team.           I




19       coordinate             that.


20       Q      What       does       everybody             else    do

21       A      I    ask    the       same       question.           Does          anybody           else       have       --    is


22       anybody          else       doing       anything          but    me

23       Q      Do    you       ever       deal      with     Special          Ed    students             or     that


24       area

25       A      We    have       a    Special         Education           counselor.                  I   do     sit       in   on
 --3
                                                                                                                                                     174




     1   order           if     I    have              to     if     Im         required to             for       a    specific

 2       purpose              or     if       theres               someone           thats

         Q          Im sorry                       I    didnt           mean       to    interrupt.                   What    is    the


 4       At-risk              Program

 5       A          These           are       students              who         have     failed         one       or    more       classes


 6       one        or    more           school              years        have       failed        one       or       more    parts          of


 7       TAAS.            And        I       know        youre familiar with                            that.           Be    all       over


 8       school           right              now.


 9       Q          Do    you        have              deal    with        alternative              schools             if    they




--11
10       have


         A       Yes           we        do.


12       Q      And           would           people           who       have        disciplinary problems                          on       a



13       regular              basis           be        sent       to    an      alternative             school

14       A       Those              are       students              are       more       likely         to    be       assigned to

15       me.         I    have           a    group           of    what        we      refer      to    as       rollback          9th


16       graders.               And           it        is    my    job       to     see    each        one       of    those       and          I




17       dont            know        everytime                     you     know          Ive       gotten          a    chance.


18       Ive        worked               on    their           graduation               plan.           And    what          we    found


19       is    if        we    can           get       that        9th    grader           who     has       failed          the    first


20       time       to        either           be        in    summer           school        in    7th       period          the


21       credit           redemption                     courses           if      we   can      get     that          child       to    get


22       back       on        track           with           his    or    her        peers         then       theyre              more       apt


23       to    go        ahead           and       graduate.


24                                            So         I    work       really         hard       with       that       grade          of


25       students.                  Its            about           200.
                                                                                                                                                     175




 1   Q      And       this        is    a       tough    question               I    know                 but       do    you          ever


 2   see    kids           that    basically             just       in    your           own          personal

 3   evaluation                  thought          process          that       you        have              that          hell              be


 4   down       at    the        courthouse             you       know    before                 long               I    know          you


 5   try    to       help.


 6   A      If       intervention                 isnt done               yes            I       do       because             many          of


 7   students           come       to       me    on    parole           and        we       have          parole


 8   officers.               And        again           you       know    I    dont                  look       at       it       is       the


 9   student          going        to       end    up    back       here             I       look          at       it    can          I




10   intervene             and     keep          the    students          in        school.


11   Q      Okay.            Do    you          think    this       reforming process                                   has       more          to


12   do    with       the        program          thats           being       given              or       the       attitude                of


13   the    person           whos           going       to    be    in    it        or       accepted                   into       it

14   A      Probably              the       attitude          of    the       student.


15   Q      If       they        want       to     its        available              there                and       they          can       do


16   it.        If    they        dont           want    to        its        going              to       be    hard          to       make


17   them

18   A      Yeah.            I    also          know    as    9th       graders              a       lot       of       them       want


19   to    do    as     their          peers       do.


20   Q      Right.


21   A      So        if     I    can       get    in    there          and    coerce                 them              lets           go

22   wont        you       go     this          time    for       your    mom dad                         whoever             I    get          in



23   touch       with            then       a    lot    of    them       once        you             can       get       them          to       a



24   certain          degree           they       tend       to    pick       up     --          a    motivation                   may

25   come       back.            Ive        seen       that       not    as    often                 as    I    would             like
                                                                                                                                                          176




     1   but     to       the      best          of     my    ability                 yes.


     2   Q       This         is     something                that          crosses              my    mind.            My    wifes               a



     3   Special          Ed       teacher              and      done          that            for    15    years        or       so.


     4   Someones               who         dedicated                 in.   their              profession           to       helping


     5   others        who         is       called           upon         to     be        a    juror       where        they          have           -




 6       to     make      a     decision               of     someone             committing                  a    crime          that


 7       shouldnt               be      a    problem             if       the     State              proved        its       case       or


 8       not.         They         did.


 9                                          Then       whats              to     be     the          punishment              for       that


10       person.              And       when          theres              only        two       possibilities                     in    a



11       capital          case          being          life          or     death.               Death        says       they          are


12       giving        up       and         basically                saying           this           person        is    beyond

13       redemption by                      answering                those        questions.                      And    thats              going


14       to    be     the       appropriate                   deal.              Life          means          well           he    does           40


15       years        day       for         day       and     see         what        happens              after        that.


16                                          Based       upon           you       and       your        life        choice          and       your


17       life       service             of       trying          to       help        people               are     you       going          to     be


18       more       inclined                to    try       to       find        --    say           theres something

19       there       that          can       be       saved          versus           if       the     evidence              calls          for


20       the    death         penalty                  gee           just        something                 about        me    we       needed


21       to    do    something                   else

22       A      With        students               that          I    have        to       decide          whether            or    not


23       they       can     say         stay       at       my       school           or       do     they       need        to    go       to


24       CEEP.         Granted               the      analogy               is    not          on    the     same        level.              If


25       we    have       done          what       --       everything                 we       could        do    and        that          child
                                                                                                                                      177




     1   is     not      going     to       function             there       I    do       not    --    and       again

 2       well         go       through       and       I    probably             overdo          this.        I    go    through


 3       every        nook       and    cranny.


 4                                     Can    I       make       this       decision              yes.


 5       Q      Heres            what       Im looking                 at    here.           Youre           going       to


 6       have       someone        on       trial          who    you       didnt           have       an    opportunity

 7       to    deal        with        you    didnt              have       an    opportunity                to    counsel       or


 8       may     see       records          they       should          have       done       this           done    that       and


 9       should          have     done       this          and    didnt           do       that     because         your       life


10       choice          and     profession                where       you       are       going       to    be    more


11       inclined           to    figure          out       ways       --    are       you       going       to    always       be


12       the    one        to    say        Yeah            well       we    can       still        try      something

13       else.           Dont      need       to       go    to       death.           We    can       always       try




--19
14       something              else.        Theres              always          the       chance       this       person

15       will       go     straight.              And       regardless of                   the     crime          regardless

16       what       the     evidence          might          say        I    still          think       we    ought       to    go


17       with       the     idea       of    giving          this       guy       one       more       chance.

18       A      I     would       probably             say       --    well        Id        have       to    know


         Q      Sure.


20       A      --       the     circumstances                   on    that.           I    couldnt           answer          that


21       yes    or       no.


22       Q      Okay.            Theres           a   question              in    here            Obedience             and


23       reasons           for    authority                are    the       most       important             virtues


24       children           should          learn.           And       you       said       you    generally

25       disagree.               Can    you       tell       me       what       your       thoughts          are    on
                                                                                                                                          178




     1   that

     2   A         I    think        those              are       two    children              should    know.


     3   Q         What        do    you       think              is    most important

     4   A         Love            caring               responsibility.

     5   Q         Okay.


 6       .         You       know         becoming                 productive             members of           society.

 7       Q         Okay.            You    mentioned                    in    here    Carla        Faye       Tucker       and


 8       Ronald          Clark        OBrien.                      Carla       Faye       Tucker.         What       was    your


 9       position              about       that           she          received       the        death    penalty           had       a



10       religious conversion                                     and    the       Governor        eventually             decided

11       not       to    commute           her           and       she       was    eventually           executed.


12                                        Do       you        think          the    Governor        did       the    right       or


13       wrong          thing

14       A         At    the        time       I    thought              he    did    the        right    thing           but


15       then          after that              because                 that    one    I    did     follow       as    close




--17
16       as


         Q
               I




                   You
                       could

                             followed              it     from          the    time       it    came     up    in    the


18       beginning                  the    pick          ax

19       A         No        Im not            sure           I   was        even    living        in    Texas       at    the


20       time.


21       Q         Right.            Okay.


22       A         I    had        watched          it     on          one    of    the    TV    shows        and    studied

23       that          but     I    thought             the       crime        was    severe            however       you       want


24       to    call          it.


25       Q         Right.
                                                                                                                              179




 --4
 1   A      But    then       you       turn       around          and       right          after     that    he




 --3 gave
 2




     Q      I    know    what          youre

     A      Stay    of       execution             for       the       person           following          right


 5   behind       that.        I       thought          well       what       did        that       person    do    that


 6   Carla       Faye    Tucker             did    not       do.


 7   Q      What    about          Ronald          Clark          OBrien               that    happened       out    in



 8   Pasadena.


 9   Q      I    knew    him.           I    went       to    high          school          with     him.


10   Q      Is    that       right

11   A      Uh-huh.


12   Q      Did    you       think          that       the    death          penalty           was    appropriate

13   in    his    case

14   A      Yes.


15   Q      How    long       after          high       school          was       it     that       this    occurred

16   A      His    older       brothers                and    I    were       in       the     same       grade    and


17   Ronald       was    a    couple          of       years       behind          us         and    this    happened




--23
18   probably       15                      after       we    were          out    of       high     school.
                             years


19   Q      Okay.        So        15       years       out       of    high       school           you    believe       in


20   the    death       penalty

21   A      Yes     now.           I    mean           who    had       not       heard        of     you    know

22   someone       at    Halloween                --    I    mean           that       one     was    just


     Q      What    did      you        think          about       the       Dead        Men    Walking       movie

24   A      That    one      got        me.        I    think          it    got       to     me.


25   Q      How    so
                                                                                                                              180




 1   A      I    could       almost             feel         that       knowing       that       that       person      was


 2   going       to    die.


 3   Q      How       did    that          make         you    feel

 4   A      Uncomfortable.


 5   Q      Uncomfortable

 6   A      Well        for          her.


 7   Q      For       the    lawyer

 8   A      Uh-huh.


 9   Q      Knowing          you          could         be    called          upon    to    put    another         in


10   that       position              do       you      think       you       could       make    that       decision


11   if   thats         what          the       law      and       evidence          called       for

12   A      Yes.


13   Q      You       were       in       an    assault            case       about       three    years       ago

14   A      Yes.


15   Q      Was       that       a    felony            or    misdemeanor                  Do    you    remember         if


16   it   was     12    people             or       6
17   A      Twelve.


18   Q      And       what       kind          of    assault            was    it


--20
19   A


     Q
            It


            Weapon
                  was




21   A      It    was       --       do    I    tell         you    about       the       case

22   Q      Sure.


23   A      The       gentlemen                took      his       truck       and    ran       into    another         man


24   at   the     filling             station            off       of    I-10       and    tried       to    run   him


25   down    was       what          the       one      person          said    the       other    one      did    and
                                                                                                                                  181




     1   we     agreed           that       yes        that     is    what    happened.


     2   Q       And    did       yall         assess         punishment                What       punishment           did


     3   you     assess           do     you      recall

 4       A       It    was       that       one        three     strikes          and    youre        out.


 5       Q      He     was       out

 6       A      Uh-huh.


 7       Q      Okay.


 8       A       I    wasnt        exactly             sure.


 9       Q      Probably           25       years       or    life.


10       A      Yes.


11       Q      Do     you       remember          what       you     gave    him        25    or    life             Did


12       you    give     25       or    did       you    give        life

13       A      I     think       we    went       with       25.


14       Q      Do     you       think       you       would    have        similar empathy                you    might


15       have        experienced             in    Dead       Man     Walking          for    the    person       who


16       was    --     for       the    defendant             who     was    getting          ready    to    be


17       executed        and       maybe          the    lawyer        trying      to        keep    him    from        it

18                                     Do    you       think    you     would      have        a    similar type

19       empathy        for       the       victim       of    the     crime      if     they       portrayed           any


20       victim          In       trial       youre           going     to    hear       about       the    victim           of


21       crime         someone          whos           been    killed.


22       A      Correct.


23       Q      And     their          family.


24       A      Would        I    have      empathy            definitely.


25       Q      Which        of    those          do    you    think        you   would        override          if     they
                                                                                                                                                                  182



     1       could           the           family

     2       A         Are        you              talking       about                the     family             as   opposed                to     the


     3       lawyer

     4       Q         Well               Im         talking             about              the        I   guess           the          defendant

     5       versus          the           victim.


     6   A             Okay               yeah.


     7   Q             See        I       sometimes              tend             to        overanalyze               things.                    Tell       me


     8   what           you           would          do.


     9   A          Okay.                  In       the    programs                    I     was   listing             that             I    put

10       together                         you       know         I       hire          the     teachers.                   I       recruit


11       teachers.                         I       hire    teachers.                         And   everyone                says             they      want


12       to       teach               a    session.                  And          I    go     through            and           you          know        I   put


13       them           down              where          they        want             to     teach         a    session             two          only

14       three               four                  and    five           only.


15                                                  And    everybody                        said   just          give          them          a   session.


16       Or       if     something                       comes           up      with         students               and       I    have         to     sit


17       and       counsel                     with       them           I       dont         want         to    say       yes          without

18       hearing              everything.                            I       want           somebody            --    the          student            to


19       tell          me     and              I    want       to        hear          it     from         the       other          side.             You


20       dont            come             in        and    just              say       get     this            kid    out          of   my       class.




over-23
21       I       need        to       have           more       information.                           I    cant           make             those


22       decisions                    without              so.               And           yes     I       do    tend          to


         analyze.


24       Q         And        I       guess              the    only             thing         that         strikes                me   about          the


25       overanalyze                       is        I    guess              I   can        conceive             of    a    case            pretty
                                                                                                                                                 183




     1   straight          forward           and     somebody                say        Well              you     know        must          be


     2   something              there        Im not           seeing          because         it          appears        to        be


     3   open       and    shut.            And      is       that          right       looking             for     things


     4   that       are    --     may       not    be     there

     5   A      I    possibly           could.            I    couldnt             say.           I       wouldnt             if       it-s


     6   very       straightforward.                      Then          I    usually         --       I    will     say        I       feel


 7       I    can    make       that        decision           if       its       straightforward                        but           if


 8       we    got       some         you    know         gray          area       then       I       really        do        have          to


 9       sit    back       and        think       about        it.


10       Q      I    think       we     could       find           in       any   criminal                case    theres

11       going       to    be     gray       area.


12       A      Right.


13       Q      The       burden        is    on    us        to     prove        beyond          a       reasonable               doubt


14       the    elements          of        the    offense.                  Theres          lots          of    other         gray

15       area       outside       the        elements              of       the   offense             you       may never



--17
16       know


         A
                    or


                Right.
                          know




18       Q      --       what    happened           or        didnt           happen.             But       the    elements

19       of    the       offense        is    what        the        burden        is    proved.                 And     if        we       do


20       that        that       other        gray    area            may have           to    remain             gray.             I




21       dont        know.


22       A      Right.           If     indeed       youre prosecuting                                or    defending

23       then       you    pretty well              would            answer        the       gray          area    and         its

24       up    to    me    at    that        point        to       decide.


25       Q      Right.
                                                                                                                                           184




     1   A       You        know          how.        But       I    think          you        said     Judge          do    you

     2   believe            or       not    believe                 you      know        --    do     you    understand

     3   what        Im saying

     4                                     THE    COURT                  Thats           fine.         Mr.    McClellan.


     5   A       I    would           have       to    make          the       decision.                                               -




     6   Q       Thank              you    much        maam.

 7                                         MR.    MCCLELLAN                       Pass        the    venireman.


 8                                         THE    COURT                  Mr.      Hill.


 9                                         MR.    HILL               Thank         you         Judge.


10


11                                                              EXAMINATION

12       QUESTIONS              BY    MR.        HILL

13       Q      How        are        you    today                  In    all      fairness            going       to       sit   back


14       there        and       taking           undue          advantage               of     Mr.    McClellan          sitting

15       up   there.                Satiable           relationship                     is     important.              So     I   just

16       want        to    talk       with        you       a       little         bit        about    some       of    the


17       things           you       said     in       response               to    Mr.        McClellans           questions.

18                                        And          tell          you       something              when              came
                                                  I
                                                                                                              you                 up

19       earlier this                 morning           and          were         candid        with    the       Judge       about


20       what        you    may have              heard             somebody say                that    said       everything

21       about        who       you       were        because            I     tell       you    a    lot    of    people         when


22       theyre brought                      up       especially                  out     of    the    group       and      the


23       Judge        starts          asking           questions                  most people           start          feeling

24       real    uncomfortable                        and       feel         like       somebody did              something

25       wrong        and       I    better           not       rat      out       on     the    other       potential
                                                                                                                                             185




     1   jurors.


     2                                   And     you      said       what        you    had             to     say.     That


     3   gave       me    a       real    comfort             level.         Youre somebody                           that    will


     4
         say    what          you       really       feel          about     things.                    Now      that       being


     5   said        if       I    were       trying          to    evaluate           as       I       am     right    now


     6   whether          you       should be             somebody that                 gets             invited        back       at


 7       the    end       of       September             to    be    a    part     of       a       larger        pool       of


 8       jurors          from       which       12       will       be    selected                  what        would       you    tell


 9       me    on    the          one    hand       to    say       dont        pick        me           and     then       flip


10       side       of    that           what       would          you    tell     me       to          say     you    should


11       pick       me

12                            What       kind       of    self-evaluation                               There     are       things       I




13       need       to    know          that    ring          out    in    your    mind                  Im      not    a    good


14       juror       from          defense          perspective             on     jury             like        this

15       A      From          the       defense

16       Q      Uh-huh.


17       A      I    guess          one       would       be       dont     pick        me          I    could        think       this


18       was    the       worse          thing       I    ever       heard       of.


19       Q      Right.


20       A      And       the       other       be       you       would    have        to          hear       all     the    facts.


21       Q      That          was       one    of    the       things       I    noted              when       you     were       just


22       relating             the       circumstances                --    you    said              that       when


23       Mr.    McClellan                asked       you       about       overanalyzing                       the     other


24       side       you           like    to    hear          the    other       side.                  This    obviously

25       creates          a    problem              potentially             creates                 a    problem.
                                                                                                                                     186



     1                                 From criminal                   trial        law    --        youve        watched


     2       The Practice.                  You        understand              that       sometimes          the


     3   defendant              does    not       take      the        witness        stand.


     4   A      Correct.


     5   Q      Are       you     comfortable               if        youre         sitting          here    in     a    few


     6   weeks          from now        sitting            as     a    juror         State       calls       a    bunch        of


 7       witnesses              all     testify            and        presumably theyre                     all     going       to


 8       say    things          at     least      on       direct        that        are    harmful          to


 9       Mr.    Mamou.


10       A      Right.


11       Q      I       will    then       and    Mr.       Wentz        get     a    chance          to


12       cross-examine                 them.          You       may have        a     different             feeling


13       after          you    hear     our      cross-examination or maybe                                 you     feel


14       exactly          the    way       you    did       after        direct.            In       any    event        at


15       some       point       the    State          is    going        to    stand        up       and    say         We

16       have       no    further          questions              Judge.             Were        going       to     rest.

17                                    How       comfortable              are    you        with       your    ability

18       to    actually          sit       in    judgement             of     somebody where                 you     may not

19       hear       a    word    from       Mr.       Mamou       or     any    witnesses                 being     called


20       at    that       stage       of    trial           Mr.       Mamou     or    Mr.        Wentz       or     I
21       A      How       comfortable             I    am    with        the    decision              I    would    make

22       Q      Correct.


23       A      I       would    be    comfortable                with        whatever           I    came    u.p   with.


24       Q      And       why    would          that       be         What     is    it    that           youre

25       judging
                                                                                                                                     187




 1   A      I     cant        say        human       nature.              Im        judging          from all             of


 2   my    life    experiences.


 3   Q      Right.


 4   A      You    know        everything                Ive        been       through          and       things          Ive

 5   heard        seen         done       and       you       cant        just       stay       on       the    fence.


 6   You    got    to     make       a    decision                 even       leap       sometimes.


 7   Q      But    youre ultimately called                                    upon       to    question             and


 8   evaluate           the    strength             of       what    evidence             they       present.


 9   A      Correct.


10   Q      If    they        have       not       convinced             you       and    11    others          beyond

11   a    reasonable           doubt           would          it    make       a    world       of       difference


12   any    difference           at       all       that       Mr.       Mamou       never          got       out    of       the


13   chair       and    walked           towards             the    witness          stand

14   A      No     it     would          not.


15   Q      So     you        told       me    a    couple          of    things          that       would          be    bad


16   or    reasons        why    I       shouldnt              pick       you.           Why    should          I    pick

17   you

18   A      Why    should        you          pick       me         The       only       thing       I    can-tell             you


19   is    Im     honest.            I    do       listen.           I    do       not    take       anything

20   lightly.


21   Q      And    I    dont         think          anybody          would         want        you       to    take       a



22   case       like    this     lightly.


23   A      I    was     fixing          to    say       I   have        no    desire          to    be       off   my        job


24   or    anything           else       like       that.


25   Q      Right.
                                                                                                                                         188




 1   A       I    think          Im a        good        person          and    I       think       I    can    evaluate


 2   on     that.


 3   Q       Sure.           Okay.           See        its        not    necessarily                   put    you    through


 4   the     ringer.              Sometimes              people          get    up       and     say      all       the       right


 5   things           and    its        clear           to    everybody                 you    know           that    they           -




 6   should be              invited          back        to       sit    on    the       larger          pool.


 7                                 Do       you        have       any    questions             of       me

 8   A      No         I    dont        think           so.        I    think       I    understand


 9   everything.                  Should           I    have            Let    --
                                                                                        yeah        I    do.        Should           I




10   have        any       questions

11   Q      Thats            up    to       the        individual              you       know.           If    there          was


12   something              Mr.    McClellan                 sometimes          he       slurs          his    words

13   drinks           too    much       the        coffee.


14   A      I     will       ask       one    question                   When       I   went        through          all


15   this         you       know        this           deal       and    put    did       anybody             not    find       it


16   funny            the    TV    shows

17   Q      Yeah.


18   A      I     couldnt              believe           because          I    was      the     last          one    to


19   finish           and    I    went       through               if    you    notice              I    underlined




--23
20   words        I    thought          very           important          and       I   looked           at    that       I




21   dont         believe          I    put       those           because       I       dont        --    we    do    not


22   have        lawyers          in    the       family.               But


     Q      So        you    are       --    youre            a    lucky       family          then.


24   A      I     just       thought          it        was       funny       those       are       --    were       the       top


25   two.
                                                                                                                                              189




     1   Q   Thank       you       very          much.


     2                             THE       COURT                Thank       your            sir..


     3       Ms.    Tinnemeyer                    in    just        a    second           Im        going          to     excuse


 4           you.        Before          I       do     Ill         tell          you     we       want       you       back        on


 5           Wednesday             the       29th       of        September.                  And       in    a    second           Ill

 6           give     you      a    piece          of    paper           about          it.


 7                                 Between             now    and        when       we        get       together              again

 8           do    not     alter         your          lifestyle              one       bit        for       us.        Do      your


 9           professional                things          just           like       you        ordinarily                do      them.


10           Your     personal               things          just        like       you        ordinarily                 do.


11                                 If    between             now        and       then        you       even       have         a


12           chance       to       leave          town       for        an    extended              period              take        the


13           chance       and       go.           All    we       ask        of    you        between             the     time        we


14           see    you     and         next       is    this                Please           do    not       talk       about


15           that     case         with          anybody.


16                                 Please          do    no       permit           anybody              to    talk       about


17           that     case         with          you.        If    between              now        and       when       we      see


18           you    on    the       29th          there       should be                 any        news       media

19           coverage          about             this    case           avoid           it.         Anything             about


20           this     case         on    the       television                     refuse           to    watch          it.


21                              Anything                on    the        radio           refuse              to    hear        about


22           it.     Anything                in    the       newspaper                  refuse           to       read        it.


23           For    each       of       the       five       restrictions                     the       purpose          of


24           hopefully          accomplishing                      the        objective                 thats           this             If


25           you    do    become             a    juror       in     the          case         the       decision              you
                                                                                                                           190




 1   reach       whatever        this       decision             happens          to       be    must be


 2   based       exclusively           upon       the       information                you       receive


 3   from     here    within          the    courtroom and                   cannot             be    in       any


 4   way     influenced          or    affected             by    any       outside             the


 5   courtroom information.


 6                    VENIRE          PERSON       TINNEMEYER                     Okay.


 7                    THE       COURT         If       we    can       get    started                on    the


 8   29th     on    time        we    ought       to    be       out    of    here          about          the


 9   noon     hour.        Everybody          when          we    leave       here          on       the


10   29th     --    everybody          will       leave          here       definitely knowing

11   whether        they    are       or    are    not       a    juror       in       this          case.


12                    If    you       need    something                for    folks             to    show


13   where       youve      been       the    three          days       youve              been       with          us


14   that     would    suffice.              And       this       is    a    reminder notice                         as


15   to    where     and    when       we    want       you       to    be    back          right          outside


16   the     doorway       on    the       29th    of       September             at       930.            I




17   believe        three       weeks       from       yesterday.


18                    Before          you    leave           have       you       any       questions                for


19   me

20                    VENIRE          PERSON       TINNEMEYER                     No        I    think          Im

21   okay.


22                    THE       COURT         With          that        thank          you       very          much.


23   Look     forward       to       seeing       you       in    a    couple          of       weeks.


24                    Ms.       Cooksey       seems          to       pose    a    greater                problem

25   in    the     questionnaire             than       she       posed       as       a    juror.              I
                                                                                                                            191




     1   dont        know    which           is    going           to    win         but    lets

     2   investigate             Ms.       Cooksey.


     3                       Prospective                    Juror        No.    19         Ms.    Ramie          Colleen


     4   Cooksey          entered          the     courtroom.

 5                          THE       COURT                Hi     Ms.     Cooksey.               Come       on    in

 6       please           right       over        here.           When        you    make        this       corner


 7       youll        find       a    chair            I    hope.         Please           sit    down.           Relax


 8       and    make       yourself comfortable.                               Are     you       holding          up


 9       okay

10                          VENIRE          PERSON           COOKSEY                Okay.


11                          THE       COURT                Ms.    Cooksey            you     have       a    very


12       pleasant          and       soft    voice.               These        people        out      here       are


13       going       to    have       to    also           hear     what       you     say.        Please


14       project          your       voice        and       move        the    microphone             around           if


15       you    feel       you       need    to.


16                          Ms.       Cooksey               first        of    all         let   me     ask      you


17       to    --    Id     like       you        to       remember           back     to    yesterday            and


18       the    things       we       talked           about        yesterday              add   to     them      today


19       this       morning          and    the        things       we        talked        about       this


20       morning.           Out       of    everything              we        have    talked          about       up




--25
21       to    this       point        do    you           have    any        questions          at    all       for


22       me

23                          VENIRE          PERSON           COOKSEY                 Nods head.

24                          THE      COURT                 Okay.        Now


                            VENIRE          PERSON           COOKSEY             No.
                                                                                                                          1.92




     1                      THE    COURT                All    right.           Thats           a    deal.


 2       Moving       along        is        there       anything          to    this        point         that      we


 3       have    not    yet       talked           about       that       you     feel       as      though         we


 4       should       talk    about           because          it    might       have        some       bearing

 5       or    influence          on.    you       as    a    juror

 6                          VENIRE           PERSON          COOKSEY            No.


 7                          THE    COURT                Is    there       anything          at       all


 8       perhaps       something              about          your    personal          life           perhaps


 9       something          about        your          professional             life        perhaps


10       something          ab.out       your          health        perhaps          something

11       relating       to    something                 else        do    you    feel       in       any     way


12       would       interfere           with          your    ability          to    be    a       juror     in


13       this    case       during           the       time    frame       we    talked             about

14                          VENIRE           PERSON          COOKSEY            No     I    dont.

15                          THE    COURT                Ms.    Cooksey           we    have          the     benefit

16       of    your    questionnaire                    and    we    know       when       you       filled        out


17       the    questionnaire                 you       had    not       yet    heard       us      talk      about


18       any    principles              of    law       anything          at    all    that         applies          to


19       the    --    can    apply           to    a    case    like       this.


20                          Now      perhaps             if    you       were    given          your


21       questionnaire             to        complete          again       perhaps          some        of


22       your    answers          would           change       based       upon       what        you      know


23       presently          perhaps           then       again       you may          keep        the      same


24       answers.           Doesnt            make       any    difference             what         you      say.


25       Im not        trying           to    talk       you    into       or    out       of    anything.
                                                                                                                                      193




 1                          I       want          to    ask       you       some       questions            about


 2   your    answers                 you          placed          on    your          questionnaire.

 3   Specifically                        Ill           start        off      with        Page       No.     12

 4   Question          No.           58.           The       question             was          What       are     your


 5   feelings          about                 the       death        penalty               And       your       answer


 6   was         If    you           are          found       guilty of                killing        someone             life


 7   in    malice           and          not       self-protection                      the     death          penalty


 8   should be              enforced                    if    Im        reading           that       correctly.


 9                         Let           me       say       first       off       and     we    see       this       quite


10   frequently                 to       be       honest          with       you.         Self-defense                 is       not




self-14
11   a    crime.            It       is       not       a    crime          to    take       the     life       of


12   somebody          if           you       are       legitimately defending                             your        life


13   or    the    life              of       another.               So       lets         eliminate


     defense          as        a    thought                about       the       death        penalty.              It     is


15   simply not                 even          a    crime.


16                         And           I    go       from there                to    Question           No.     59




--22
17   which       says           --       I    dont           feel       like          your     opinion          --     what


18   is    the    best              argument                for     the      death       penalty           in    our


19   society               You           dont           feel        like         supporting           killers.


20                         Tell              me    now       that       you       know       that     a    life


21   sentence          is           theoretically                      as    equally           an    option          as



     equal       sentencing                       option          as    the       death        sentence          for        a


23   person       convicted                       of    capital             murder       and        taking       into


24   account          your           thoughts                that       you       have       given        us    as     to


25   your    answer                 to       these          two     questions                are     you       saying
                                                                                                                         194




 1   that    you       would        be    more    likely           to    answer         these          special


 2   issues       that        we    talked       about       over        here         today       in


 3   such    a    way        that    the    death          penalty would                be       imposed


 4   over    a    life        sentence          because          if     you      answer          them        such    a




--10
 5   way    the       life       sentence        imposed              you       would       be    supporting


 6   the    killers.               You    see    what       Im asking

 7                         VENIRE        PERSON       COOKSEY               Yeah        I    understand.


 8                         THE     COURT         Well        whats              your    thought          and


 9   theres           no     right       answer       or    wrong        answer         we       just


                           VENIRE        PERSON       COOKSEY               If    I    feel       theyre



--12
11   guilty

                           THE     COURT         If    you       found          somebody guilty

13   of    capital          murder         lets        assume           that      some       imaginary

14   case    has       progressed           to    that       point              whatever          the        facts


15   were    lets           not     worry ourselves

16                         VENIRE        PERSON       COOKSEY               Violence             not    what


17   Im saying.

18                         THE     COURT         No        you     found         somebody guilty

19   of    capital          murder        you     lets say                  somebody             being


20   abused       a    teenager           and    they       kill        their         parents          because


21   they    dont           want     to    be    about       abused             anymore

22                         VENIRE        PERSON       COOKSEY               I    would       go    for       life


23   imprisonment.                  No    for    guilty          do     something            else       if


24   they   walked           in     and    blown      you        away       or    done       something

25   violent           the       death     penalty.
                                                                                                                            195




 me-6
 1                         THE       COURT         Can        we    assume             ordinarily              youd

 2   think       two       or    more       people          were        killed          during        the       same


 3   criminal          transaction                that        that       was          violence

 4                         VENIRE          PERSON       COOKSEY                   I    cant         assume          that.


 5                         THE       COURT         You        cant           assume          that.         Let


     get    to     one      other          question.               Page          14    and        Question

 7   No.    4.        And       this       isnt        so    much        a       question           but    a    list


 8   of    things          to    agree       with       or       disagree.                  And     youre           asked


 9   to    check       whether             you    agree          with        a    particular

10   statement             or    disagree          with          them.


11                         Statement             No.    4    says                Any    person        man       or


12   woman       young          or    old    who       is    guilty              of    capital        murder


13   should pay             with       their       own       life        and          you    answered           that


14   you    agreed          with       that       and       wrote        in       unless           self-defense.


15                         VENIRE          PERSON       COOKSEY                   Nods            head.

16                         THE       COURT         I
                                                        guess           there          are        several       ways

17   frankly           a    person          can    read          that        question.               One       of    them


18   would       be    any       person.          man       or     woman          young       or     old who           is


19   guilty of             capital          murder           that       means           every        child


20   should pay             with       that       life.            Or    the          way    it     could       be


21   read    is       everybody             should          receive              the    death        penalty

22   who    are       guilty of             capital          murder.


23                         Did       you    read       the       question              that       way       And


24   here        please          feel       free       look        at    it.           And    please        dont

25   feel    uncomfortable.                       Nobody           is   challenging                  you.
                                                                                                                              196




 1                       VENIRE       PERSON              COOKSEY               When           I    read    this        I




 2   took     as    capital          murder              as    a     violent         crime.               So      I




 3   still     stick          with    yes.


                         THE    COURT               So                  question          to               is     this



 satisfied-6
 4                                                             my                                   you


 5   Perhaps        I    didnt            ask       it        articulably.                     Im

     I    didnt.          Now    that          you        possess          more       information                     about


 7   the     sentencing          alternatives                       that       are    available                 and     if


 8   you     were       asked    to       answer              that       same       question              again


 9   taking        into       account          the        additional                information                 that


10   you     presently          possess              would              your    answer              to    that


11   question           always       or       be    that           if    you    always              found


12   somebody           guilty of             capital              murder       and       it        wasnt

13   self-defense              that       youd            always          answer          these           two


14   questions           in    such       a    way        the       death       penalty              would        be


15   imposed

16                       VENIRE       PERSON              COOKSEY               I    cant            say    that        I




17   always        would.


18                       THE    COURT               Are        you       then       saying           everybodys

19   case     would       be    different

20                       VENIRE       PERSON             COOKSEY                Arent               you    supposed

21   to    judge        everybody             case

22                       THE    COURT               Yes         maam.               And    what           Im

23   getting        at    is    now       you       know           that.        When       you           filled        this


24   out     you    did       not.        So        Im         just       trying          to        see    which


25   wins     your       thoughts             now    that           you    possess                 more
                                                                                                                  197




 1   information              than    on    the    questionnaire                when       you    didnt

 2   possess       any.


 3                      VENIRE        PERSON       COOKSEY               Now.


 4                      THE     COURT            Okay.        Thats           all    Im     interested


 5   in.     Mr.    McClellan.


 6                      MR..MCCLELLAN                   Can       I    have    just    a    moment            I




 7   think    we    reached           an    agreement             to    excuse       Ms.    Cooksey.


 8                      THE     COURT            Ms.    Cooksey           thank       you    very          much


 9   for    being       with     us.        Im going              to    excuse       you.        If    you


10   need    anything           for    work       to    show          where    youve        been


11   three    days.           You     dont        need       to       worry    about       you    coming


12   back    until       you     get       another       notice          in    the    mail like             you


13   did    last    week.


14                      Prospective               Juror       No.       19     Ms.    Ramie       Colleen


15   Cooksey       is    excused           by    agreement.

16                      THE     COURT            Now     I    understand             theres           an


17   agreement          by    and     between          the    parties that             No.       19

18   Ms.    Ramie       Colleen        Cooksey         may        be    excused.


19                      Mr.     McClellan.


20                      MR.     MCCLELLAN               Yes.


21                      THE     COURT            Ms.    Connors..


22                      MS.     CONNORS            Yes.


23                      THE     COURT            Mr.    Hill.


24                      MR.     HILL            Yes.


25                      THE     COURT            Mr.   Wentz.
                                                                                                                    198




 1                   MR.       WENTZ            Yes        sir.


 2                   THE       COURT            Mr.      Mamou          is       that    your


 3   agreement        also

 4                   THE       DEFENDANT                 Yes         sir.



 5                   THE       COURT            And      specifically                   sir     you       agree


 6   Ms.    Cooksey       be    excused

 7                   THE       DEFENDANT                 Yes         sir.


 8                   THE       COURT            Very       well.            Ms.       Cooksey       is



 9   excused.


10                   Prospective                    Juror       No.    21         Ms.    Stacie          Marie


11   Sibley       entered       the    courtroom.

12                   THE       COURT            Right       here            Ms.       Sibley.        Make


13   that    corner       hoping       you          find    a    chair           right       there.           How


14   are    you    today

15                   VENIRE          PERSON          SIBLEY            Fine.


16                   THE       COURT            I    want       you    to        know    Ms.    Sibley


17   at    the    outset       were        as       happy       to    see        you    as    you    are       to


18   see    us.     Before       we    begin             let     me    ask        you    to    remember


19   back    to    yesterday          some          of   the     things           we    talked       about


20   yesterday        add       to    them          this    morning              the    things       we


21   talked       about    this       morning            and     out        of    everything             we


22   have    talked       about       up    to       this       point            do    you    have       any


23   questions       at    all       for    me

24                   VENIRE          PERSON          SIBLEY            No.


25                   THE       COURT            Anything              Ms.        Sibley        to    this
                                                                                                                             199




 1   point       we    have          not    yet          talked       about       you       feel          as    though


 2   we    should          talk          about       might          have     some      bearing             on    your


 3   ability          to       be    a    juror          in    this    case

 4                         VENIRE          PERSON             SIBLEY         No.



 5                         THE       COURT               Is    there       anything             at    all


 6   Ms.     Sibley            whether          it       be    something          perhaps             about          your


 7   personal          life              perhaps          something          about          your


 8   professional                   life        perhaps             something          about          your


 9   health       or       something                 some      other       things          that       you       could


10   think       of    that          would       anyway             interfere with                   your       ability


11   to    be    juror          in       this    case          during       the       time       frame          we


12   talked       about

13                         VENIRE          PERSON             SIBLEY         No        sir.


14                         THE       COURT               We    spent       some       time       talking

15   about       the       rules          that       may come          into       play          during          the


16   course       of       a    trial       like          this.        And       we    talked             about       the


17   fact       whatever             result          a    jury       reaches          in    a    case          must


18   always       depend             upon       how       that       jury    evaluated                whatever


19   evidence          is       presented                in    this    particular                case.


20                         Thats           why       everything             is    always             so    unique


21   each       case       to       all    of    the          others       because          no       defendant          is



22   the    same.              No    facts       are          the    same.        No       victim          is    the


23   same.        And          nojury           is       the    same.        Everything                   is



24   variables             are       all    there.


25                         But       I    think          that       there    are       two       primary
                                                                                                                                    200




                         meant          to     be      accomplished                                 through           this
     1   purposes                                                                    going


     2   process        presently.                  And           first       purpose          is    to    visit          with


                 and    explain          to       you        to     the       best    of       our       ability          the
     3   you


     4   rules     that       can       come        into           play       during       the       course          of    the


 5       trial     like       this       for        the       purposes               as    I    say        can       the       -




 6       prospective           juror           --      is         the    prospective                juror        I




         should                willing                       follow           those       rules.
 7
                       say                          to


 8                           And    what          we     have           talked       about          to    this       point

 9       anything        youve           heard               anything            weve          talked          about       or


10       discussed           that       you       have        a     disagreement                that       rises          to


11       the     level       that       would          cause            you     to   not       be    able       to



12       follow        the    law

13                           VENIRE          PERSON           SIBLEY                 No    sir.


14                           THE    COURT                I    think           that    the       second          aspect


15       of    what     this       is    about               this        phase        is       for       the    lawyers


16       to    satisfy themselves                        and        for       particularly                you    to


17       satisfy yourself                    if     you       were        juror       and       took       any       one       of


18       those     12    chairs          out        there           in    jury box             you       would       be


19       willing        to    listen          to       every            single       piece          of    information


20       given     to    you        evaluate                 it     all       however          you       see    fit        and


21       come    up     with       what       you        think           is    the    right          decision             to


22       reach     based       upon          how       you        evaluate           the       information


23       these     lawyers          have          given           to     you.


24                           Does       that        sound           like       something             you       could


25       and    would        do
                                                                                                                                   201




 1                       VENIRE          PERSON             SIBLEY                Oh      yes.


 2                       THE      COURT                Keeping           in       mind        Ms.    Sibley               it



     is    not                job       to    try       to    make        one          side    happy           or       both
 3                 your


 4   sides       happy.           Its         not       your       job        to       try    to    make           me


 5   happy.           Your     job       is       to    call       it     like          you    see       it        because


 6   the    only       person           who       actually          has           to    be    happy           is    you


 7   when     five       years          from       now       you    wake           up     some      morning              and


 8   look     in      the    mirror and                 say        You know                   Im     still


 9   satisfied          after           five       years          what        I    did was          absolutely


10   the    right       thing.

11                      VENIRE           PERSON             SIBLEY                Okay.


12                      THE       COURT                And    so    it        is       trying       to    give           you


13   the    freedom          to     acquire             a    comfort              zone       what    this           is


14   about.           So     the        lawyers             are    going           to     visit      with           you


15   and    theyre           going           to    ask       you    some           general          questions.


16   Their       going       to     ask       you       probably              about          some    things              we


17   talked        about       and       Im sure              ask       you        about       some       things              we


18   havent           talked        about.


19                      But       the        root       of    it    is        to       try    to    get       the


20   depth       of    your       satisfaction                    with        your        ability         to       be


21   able    to       sit    as     a    juror          in    a    case           like       this    and           thats

22   what    were           doing.


23                      VENIRE           PERSON             SIBLEY                Okay.


24                      THE       COURT                Mr.    McClellan.


25                      MR.       MCCLELLAN                   Thank       you             Your      Honor.
                                                                                                                            202




 1                                         STACIE          MARIE       SIBLEY

 2   having       been        sworn       as    a    prospective             juror testified                    as


 3   follows


 4




 5                                                   EXAMINATION


 6   QUESTIONS           BY       MR.    MCCLELLAN

 7   Q      Maam             is    your    last       name       Sibley       or       Risky

 8   A      Actually               its    Risky.           Sibleys           my    maiden          name.


 9   Q      I    think        it    was    on       the    short       sheet       it    was       Sibley       and


10   the    long        sheet       it    was       Risky.


11   A      They        were       calling       me       Sibley.        I    just       signed          it    all


12   the    way.


13   Q      Okay.            So    Ms.    Risky           my name       is    Lyn       McClellan.              Along


14   with       Claire        Connors           we    represent          the       State       of       Texas    in


15   this       case.         I    want    to       ask    you    some       questions             in    general


16   and    kind        of    go    over       your       questionnaire                and    go    over       some    of


17   those       questions.


18                                 You    obviously          filled          the       questionnaire             out


19   before       you        had    an    opportunity             to    hear       the       Judges           voir


20   dire       both     yesterday             and    today       and    there          may    be       some


21   different           answers          you    might       have       put       in    there       as    a    result


22   of    hearing           that       prior to          filling       out       the    questionnaire.

23                                 Did    you       really       know    what          capital          murder was

24   or    the    distinction              between          murder       and       capital          murder and


25   capital       murder           requires          murder        plus      some       other          crime.
                                                                                                                              203




 1   A       No       I    did       not     know

 2   Q       You      did       not.         Most      people        dont        and    theres           not       much


 3   reason        for      them        to    know       that.        And        of    course        the       Court


 4   talked        to      you       about       murder        which       is    the    intentional                taking


 5   of     another         persons              life.         Not    self-defense.                 Not       an          -




 6   accident.


 7   A       Right.


     Q      When                  intend         to    kill     someone          the    range       of
 8                        you


 9   punishment             for       that       type     of    crime       is    five       years       to    99



10   years       or       life.         You      have     no    problem          with       that

11   A      No.


12   Q      The       capital           murder         then     the    death          penalty       applies          or


13   life       imprisonment                 applies.           Those       are       the    only    two       issues


14   and    difference                between          murder        and    capital          murder.           Capital


15   murder has             murder plus                something           else.


16                                   What     weve        alleged          is    capital       murder          during


17   kidnapping.                  The      law    says murder              during       robbery           assault

18   killing          police          officers           in    the    line       of    duty    and       killing          a



19   child      under           the     age      of    five.         Also       alleged       is    murder          or


20   killing          two       or    more       people        during       one       criminal       episode.


21                                   Are     those       the    kinds       of    cases        the       ones       the


22   Legislature                set     out      are     capital       cases          that    you    think          the


23   death      penalty              ought       to    believe        available             for

24   A      I   believe              so      yes.


25   Q      Okay.           Some        people         think     the       death       penalty       ought          to
                                                                                                                                         204




     I   be    available             for       murder           without             those         other     aggravating

 2       circumstances                    and           thats        okay.            But     the    law     doesnt        law


 3       for    that           okay.           What          kind     of        cases        come    to     your    mind when


 4       you    think          of    cases          where           you        believe        a    person     ought       to


 5       be    eligible to                receive              the    death           penalty        for     committing              -




 6       that       crime

 7       A      I    think          serial              killers.


 8       Q      Okay.           We       mentioned              that       the        first        time.


 9       A      And       also       people              that       would        kill        somebody just           out        of


10       cold       blood           no    remorse.              no    reasoning               for    it.


                                                               And                      understand




--14
11       Q      Okay.           All       right.                      do       you                           though       now


12       there       are       no    crimes             whether           it     be     a    serial        killer    whos

13       killed       hundreds                of    people

         A      Uh-huh.


15       Q      --    or       whether             it     be    somebody who                  killed        someone       in


16       cold       blood           theres              no     crime       where            you    automatically           get


17       the    death          penalty.                 Instead           the       death         penalty     is


18       determined by                   answering              these          questions            that     the    jury       has


19       to    answer.


20                                       Do    you        understand                that

21       A      Right.              The       questions              on    the        --
                                                                                             yes.


22       Q      That       are       right          over        there          on     the     side.


23       A      Yes        I    understand                   that.


24       Q      Right.              Right.              Do     you    agree           with        thats      the    way    it


25       ought       to    be            We    ought           to    have        these        questions        and    go
                                                                                                                                         205




 1   through          this          process              and          literally             go    step       down       by    step


 2   down       the       row       or        automatically                      assign          the       death       penalty

 3   for    crime

 4   A      I    do       believe              after             hearing          the       Judge          discuss       and


 5   explain          the       questions                    I    see       now        yes        why       its        necessary

 6   to    go    by       that.


 7   Q      Okay.


     A      Because                       want           to       have       the       facts          before       you       want
 8                              you


 9   to    have       somebodys                     life          ended           you       know.           So     I    definitely


10   would       agree          with           that.


11   Q      There          are       a        lot       of       safety          guards          in    place.           And    you


12   have       to    go    through                 a    lot          of    different             things          in    order       to


13   get        if    you       ever           do        a       person          should          receive          death.


14   A      Exactly.


15   Q      And       you       think           thats                 the    way       it       ought      to     be

16   A      Right.              I   dont                think          all       of    a    sudden          say        Well

17   they       killed somebody                              yes           you    deserve             to   die     too       because


18   theres           a    lot      of         reasons                why    --       what       could       or    could       not


19   have       caused          that.


20   Q      Right.              Like           some          people          come          in    and       say         Well     I




21   dont think                 five           years             is    too       long       for       that.        Well        the


22   murder          theyre              thinking                 about          maybe          they       dont        know    what


23   all    the       things             they           might          hear.


24   A      Exactly.


25   Q      Might          make          it     justified                   on    some          other      case.
                                                                                                                                         206




 1   A       Exactly.


 2   Q       Well            thats        what        the        law    asks       you       to    do.         Youre

 3   going        to     take       an    oath        to     a    true        verdict         render           according


 4   to    the         law    the    Court        gives           you    and       the       evidence              you    hear


 5   in    the         courtroom.              And     all        were         looking            for        are    people          -




 6   who     will        a    true       verdict           render        on       the    law       and        evidence.


 7   A       Right.


 8   Q       If     the       law    and       evidence            leads          you    to       not    guilty               so


 9   be    it.          And    find       guilty             thats            fine.          Answer           these


10   questions               death        so    be     it.         If    it       leads       you       to     answer             no

11   he    gets         life        so    be    it.          But       just       take       that       oath        and       go


12   where        the        evidence          and     law        leads       me       and    do    my        job    as       a



13   juror.


14                                  Any    problem               with    that          aspect

15   A       No.


16   Q       Do     you       have       any    doubts            about       your       ability             to


17   participate               in    this       type         process          and       make       these           type       of


18   decisions               knowing       a    decision               you    might          make       if     thats              what


19   the     law        and    evidence          called            for       would       result          in        this       Judge


20   ordering            the    execution              of        this    defendant                over       here        on


21   trial        if     thats           what    the         law       and    evidence             call        for

22                                  Are    you        comfortable                 with       making          those        type


23   of    decisions            and       participating                  in       that       type       process

24   A       Yes         I    am.


25   Q       All        right.           Youve         not        been       on    a    jury       before            is       that
                                                                                                                                   207




 to-6
 1   correct

 2   A       Correct           I       have    not.


 3   Q       All    right.              Let    me       talk        to    you       for    a    little          bit     about


 4   the     punishment                stage       of    a    capital              murder       case.           First         of



 5   all      as    you       know       the       Judge       told           you    that       by    referring

     the     indictment                that    weve           alleged              the    defendant             in    this


 7   case     committed                capital          murder           in    two       ways         One

 8   intentionally                 taking          the       life        of    another          person          in    Harris


 9   County         Texas          during          the       course           of    kidnapping.                 And      two

10   intentionally                 taking          the       life        of    another          person           two


11   people         during             one    criminal             episode           also       in    Harris          County

12   Texas.


13                                 A    jury can             find        and       may have          both       paragraphs

14   submitted           to    them.           Maybe          six        jurors          could       find       hes

15   guilty        of    kidnapping                murder          and        six    could       find       hes guilty

16   of    killing        two          people       during          one        criminal          episode.              And


17   your    verdict           would          be         We        the        jury        find       the    defendant

18   as    guilty        as    charged             in    the       indictment              of    capital             murder.


19                                 You        in    other          words            dont        have       to    agree


20   which    method           was       done       as       long        as    you       agree       capital          murder


21   was    committed.                  Or    you       might       find           him not       guilty.              That


22   will    be     up    to       yall.            If       you    find           someone       guilty of

23   capital        murder             then    you       go    to        punishment             stage       of       trial.


24                                 Then       you       have       an     opportunity                to    hear


25   additional           evidence             that          you    didnt            hear       at    guilt-
                                                                                                                                  208




 1   innocence           because          it    wasnt           relevant             whether          or    not    he


 2   committed           the    crime.           Guilt          or    innocence              youre

 3   determining            did      we    meet.      all       the    elements             of    the       offense


 4   shown     in    the       indictment..


 5                              If    we       prove       beyond          a    reasonable             doubt       he       did


 6   it     say     yes.        Then       you       go    to    punishment                stage.           There       you


 7   may    hear     evidence             about       the       defendants                 character              his


 8   background             his      criminal history                      or    lack       thereof              mental


 9   ability        or    disability                 type       of    family life                he    had        where


10   he    grow     up      all      kinds       of       things       about          the    person          himself


11   because        youre deciding                    what       punishment                this       person       should


12   receive        for     the      crime       you       have       found          him    guilty          of.


13                              Lets           say    --    theres              no    crime       ever       that       I




14   know    of     where       you       automatically                get       the       death       penalty

15   because        you    have       to       answer       these          questions             and       theres           not


16   an    automatic           saying          the    answers          are       death       penalty.              It


17   depends        on    the     evidence            shown.           I       mean    the       evidence          show


18   wide    extremes.


19                              Somebody             could       be    in       and    out       of    the


20   penitentiary              all    his       life.           Thats           one    extreme.              Somebody

21   could    have        been       never       been       arrested before                       thats           another


22   extreme.            Ya11        have       to    decide          from       looking          at       his


23   character           and    background                and    how       that       will       apply       in


24   answering           all    these          questions.


25                              Special          Issue          No.    1
                                                                               says         Do    you       find    from
                                                                                                                                          209




 1   the    evidence            beyond             a    reasonable             doubt      theres              a



 2   probability the                  defendant                   would       commit      criminal                acts          of


 3   violence          that      would             constitute             a    continuing            threat                to



 4   society

 5                               First             of    all        lets        talk      about          a                            -




 6   probability.                It    doesnt                 say       possibility.                It       doesnt

 7   say    a    certainty.                I       mean           its     a   probability                I    could             win


 8   the    lottery Saturday                           but    not       likely.           Probably                I       suggest

 9   means       a   more       likely             than       a    possibility less                  than             a    100


10   percent         certainty.


11                               More          likely             than    not      that       the    defendant


12   would       commit         criminal                acts       of    violence.             Doesnt                 say


13   another         murder       or       capital                murder.          Those       are       obviously

14   acts       of   criminal violence.                             Could       be    a   robbery                 a



15   burglary           could         be       a       sexual       assault           could         be


16   hitting         someone          so       hard with                their      fist       knocking                them


17   out    causing            personal                injury       could       be    criminal               and          violent


18   in    nature.


19                               What          that          question         is     asking         you       to          do    is



20   look       at   the       crime       itself                 the    evidence         you       heard             at       guilt


21   or    innocence             look          at       the       evidence         you    heard          in    punishment

22   about       the    defendants                      character             background                 criminal


23   history           mental         abilities                    all    that        and     do     you       believe


24   now    beyond         a    reasonable                   doubt       there       is   a   probability that

25   its     more       likely         than             not       that    the      defendant             would             commit
                                                                                                                                                         210




 1   criminal                 acts          of       violence                 that      constitute                a    continuing


 2   threat              to       society.


 3                                          If       you       believe             the       answer          is       yes        you       answer


 4   yes.            If       you       believe                the       answer          is       no        we    have          failed          to


                     it            yes              you    answer              no.       Okay.              Now       some       people
 5   prove                    a                                                                                                                      -




 6   say             Well              if       I    have       found              somebody guilty of                           capital


 7   murder               I       would             always       find              theres          a    probability                   theyd

 8   be     a       continuing                      threat       to       commit             future          acts          of    violence


 9   but        that          may       not          be    the       case          when          you    look          at    background

10   his        character                       how       hes brought up                           all       these          other


11   things.


12                                          You          may    see       areas          in       here       and       say            Hey

13   this           is    somebody                   I    would          not       expect          to       commit          this          crime


14   let        alone             another                one.        We        know      he       committed                this       crime


15   but        I    wouldnt                    expect          him       to       be    a       continuing                threat.


16                                          Several             years           ago          I    think          its        South


17   Carolina                     Susan             Smith        the           lady      who       had       two       kids          in    the


18   back           of    the          car          and    road          it     off      into          the       lake       and       claimed


19   somebody                 abducted                   her    car       and        killed            her       two       kids           she    was


20   charged              with          capital                murder              was       found          guilty and               given           a



21   life           sentence.


22                                          I       dont        know          if     they         have       issues             or   not.


23   They           may       have          decided             she       wouldnt                 be    a    continuing                   threat


24   to     commit                future             violent             acts        even         though          horrible                 shes

25   not        going             to    be          robbing          a    bank          or       any    other.              That          might
                                                                                                                                               211




 1   be    an    area.


 2   A      Right.


 3   Q      You       see           it       depends              upon       the       facts        or    circumstances.


 4   Thats           why       you       have          to     wait          until        you       hear    everything                 to



 5   make       the       decision.                     If    you       answer           Issue       No.       1
                                                                                                                    yes        then        -




     the                       is    going             to     receive             the     death          penalty             unless
 6          person

            determine                on       Issue           No.            there        are       reason          or       reasons
 7   you                                                                2




 8   he    should          not.


 9                                   It       says                Do    you       find        that       after          taking        into


10   consideration                   all          of     the       evidence             and        goes    on       to       tell     you


11   what       is    the       circumstances                          of    the       offense            the       defendants


12   character             and       background                        his       personal           moral          culpability


13   I    like       to    refer             to    it        as    personal              responsibility                      for     the


14   crime           is    he       the       person              who       caused        the       death          or    getaway

15   driver          or    just          a    party           to       the       offense            and    then          do    you


16   find       there          is    a       sufficient                 mitigating                 circumstance                or


17   circumstances                       I    like           to    refer          it    to     as    sufficient                reasons


18   why    this          person             should           receive             life        as    opposed             to    death.


19                                   What          it        asks       you       to    do     basically                is    go     back


20   and    look          at    all          the       evidence              you       heard        and    see          if    any     of


21   the    evidence                mitigates                 towards             a    life        sentence.                 For


22   example              you       may       have           heard          during        the       course          of       trial     the


23   defendant             was       high          on        drugs          or    alcohol           when       he       committed


24   the    crime.


25                                   One          juror           might          say         Well         in       my mind           that
                                                                                                                                                  212




 1   mitigates towards                          a    life        sentence.                When        youre            high       on


 2   drugs       or    alcohol                 you    do       things       you       wouldnt                  do.         Youre

     not    in                  right          mind.             Somebody           else         may say                   Wait       a
 3                your


 4   second.           I       know       a     lot       of     people        who        get     high          on     drugs          and


 5   alcohol          and       dont           go     out        and      commit          capital              murder.            I           -




 6   dont        see       a    connection                  of      getting         high         on    drugs           or    alcohol


 7   that    causes             a       person        to       commit       capital              murder          and        get       high


 8   on    drugs       or       alcohol.


 9                                      Again         that          could      be     a    real        problem              and


10   thinks       thats                 not    mitigating.                  Thats               okay.           Two        people


11   look    at       the       same          evidence              and   came       up         with       different


12   opinions.                 Thats           okay.             What     the       process            asks          you     to       do


13   is    for    you          to       examine the                 witnesses              for        you       to    weigh           it


14   in    your       mind and                determine              what      affect            to    give          it.      Is          it


15   mitigating                or       not.


16                                      Same       thing         about      mental ability.                           May     be          a



17   slow    learner                or    Special              Ed    student.              Somebody              may        say       that


18   mitigates             towards             a     life        sentence.                Somebody              may        say        no

19   it    doesnt.                  I    know       people           that      have        that        kind          of     problem

20   all    along          in       neighborhood                     church          work             school          and     they


21   dont        --    theyre                 not     a    threat         or    anything                   I    see.         And          so


22   I    dont        think             that       has     any      affect          on     it     being          a    mitigating

23   factor.


24                                      Somebody           else        may think            it        is       the    age     of       a



25   person.           Say          hes        a    real         young      man.          When         youre               young       you
                                                                                                                                                 213




     1   do    stupid          things.                  Done       things           wish       you           hadnt.          When          you


                    older          you       mature.               Somebody            thinks                this    is
 2
         grow


     3   mitigating.                    Somebody           may       say          its      not          mitigating.                   When


 4       related          to       age        thats            not       a    factor.


 5                                       So        it     just       asks           you    to           go    back    and        look        -




 6       through          the       evidence              to       see       if     theres               anything          mitigating

 7       or    not.           If    there          is      set       it       aside        and          weigh        it     see       if



 8       its        sufficiently                   mitigating                 to     change              your       answer        from


 9       death       to       life.           If    it     is        you          do      or       if        its     not         you


10       dont.

11                                       Theres            a       question            about            mitigation               in    here.


12       Let    me    see.              Okay.           You        indicated              you       believe           the


13       mitigating                evidence              should          be       considered                  in    deciding           those


14       issues.              Sometimes             I     dont           know        that          everybody              understands

15       what       the       word       mitigation                 means.


16       A      I    didnt.                  To    be     honest             with      you          I        didnt        know.


17       Q      And       I    dont           think        anybody                does     except              for    a    few


18       lawyers          who       sit       around           here          and    talk           about           that.         Its

19       not    a    word          we    use       everyday.                  Were         talking                 about     evidence


20       that       tends          to    give       you        a    reason          to     give              somebody        a    break

21       if    you    will              to    give        them       a       life      sentence                as    opposed           to


22       death.


23                                       Thats           what        issue          No.        2    does.            When        youve

24       already decided                      --    when           you       get    there           youve            already

25       decided          capital            murder                already          decided              a     continuing
                                                                                                                                  214




 1   threat       to       commit       future        acts    of       violence.              Youre deciding

 2   is    there       a    reason       or     reasons       this       person          we        have    a    life


 3   sentence          as    opposed           to    death.        Maybe          had    something              to       with


 4   background             or    whatever.            Had    something             to       do     with


 5   anything.              Its     your        decision          to    make       and       youre         alone.             -




 6                                Every       individual           person          has       to     make       their


 7   own    decision.              And    it        gives    you       that       opportunity              to    make


 8   sure.        Basically              its         another       way       of    saying           are    you       sure


 9   that       you    want       him to        get    the    death          penalty               gives       you       an


10   opportunity             to    give       him     life    as       opposed          to    death        if    you


11   find       there       are    reasons           and    sufficient             ones            okay.


12                                Any problem              with    the       way    that          process        is


13   settled

14   A      No.        Nothing.


15   Q      Any       reason       that       you     know    of       that       you    wouldnt            be       able


16   to    go    through          this    type        of    process          and    go       through           those


17   decisions

18   A      No.




--24
19   Q      Okay.           Theres        a    question           in    here       more       likely        to       agree


20   or    disagree          with       statements.               One    of       them       says          The       death

21   penalty          is    always       justified           for       intentional                murder.            I




22   guess      someone           may    interpret           always          meaning          everytime.                 Of


23   course           the    only       murder        is    intentional             because           murder

     theres           not    accidental             murder         not       unintentional                 murder.


25                                So     what       you     would       be    saying          if     you    agreed
                                                                                                                              215




 1   with     that         now       you       learned       all       the       stuff       the     Judge       said


 2   through       voir         dire           is    the    death       penalty             applies        to    anybody


 3   who     kills.         Anybody             always       be    given          to    somebody           else.        You


 4   know     thats         a    process             that    doesnt              apply       to     everybody          who




 --9
 5   kills     somebody.                  In    fact        just       the       killing          alone     and


 6   intentional            murder             doesnt        even       apply          at    all.


 7                               Is       that       the    way    you       still          believe             And    if



 8   it    does       thats           fine.           Just       you


     A      Okay.          So        ask       this       question          again.           I    want     to    make


10   sure    my answer               is    correct.


11   Q      Just      answer          if       you    more       likely          disagree           with    this


12   statement.


13   A      Which      number             is    it

14   Q       Its      14    and       14.           Page    14    No.       14.


15   A      Okay.          Im sorry.

16   Q      Death      penalty             is       always       justified             for       intentional


17   murder.


18   A      Meaning         that          anytime          somebody          is    murdered           the       death


19   penalty       should            apply

20   Q      That      would          be    how       one    person          views       it        yes.


21   A      Okay.          Again           Im unsure              --    I    mean           going     by    that       then


22   they    wouldnt             necessarily                always          be    put       to    death.


23   Q      Thats          right.


24   A      How    long         they       got       some    sort       of       punishment.               Then       going


25   by    that       then       I    guess          --
                                                                                                                                        21.6




 1   Q      By    that       you    mean           the    questions

 2   A      Right.           Because           yes       and     then         no would             mean        death        or


 3   yes    and    yes       or    any     other          way       I    understand                that        it    would        be


 4   life    imprisonment.                     As    long        as      --    because             without           knowing


 5   the    evidence          you     dont           know        the      reason             for    the        murder            h-ow



 6   it    came    about.           So         I    dont         want         to       say    you       kill        somebody

 7   just    because          they       killed           somebody because                         you    dont            know


 8   the    circumstances                or        the    evidence.


 9                                Now      if       its        something                like       that        and    they


10   had    as    long       as    they        need       to     be      punished             period            I    felt


11   that    way.


12   Q      And    you       know     theres nothing                          --       no    two    punishments.

13   A      Exactly.


14   Q      Life       or    death.            You       find       somebody                guilty of           capital


15   murder and             going     to       get       to    decide          looking             at    the        questions

16   and    looking          at    everything                 thats           available.


17   A      Right.


18   Q      And    so       there    is        no        you     killed            somebody             you     die.        You


19   have    to    go       through        all       this       process.


20   A      Right.           Right.            Then       I    would          disagree             with        that


21   because       I    dont        --     I       understand             a    little          more       clearly           now.


22   Q      And        sure        thats            the       reason          we       go    through           all    this


23   process.           And       even     if       you       still       thought             you       got     the       death


24   penalty           thats        fine            just       as       long       as       youre        able        to    set


25   that    aside          and    follow           your       oath       as       a    juror.
                                                                                                                            217




 1   A      Right.


 2   Q      Which       is    going          to    mean    it    doesnt           apply       anymore.


 3   A      Right.


 4   Q       I   have    to       do    what       the    law    and    evidence             says.


 5   A      Exactly.              What       makes       more    sense       to    me.


 6   Q      Any    questions             you       have    of    me

 7   A      None.


 8   Q      I    thank       you       very       much    and    going       to    pass       you       to


 9   Mr.    Wentz.


10                                THE    COURT            Thank       you.        Mr.    Wentz.


11


12                                                  EXAMINATION


13   QUESTIONS          BY    MR.       WENTZ

14   Q      Morning          --    good       afternoon.              How    are       you

15   A      Fine.


16                                MR.    WENTZ            Your       Honor        is    there       a    copy


17          of    her    questionnaire                   she    could       look       at

18                                THE    COURT            If    its     agreeable             I   have           a



19          copy    I    have          not    written          on.


20                                MR.    WENTZ            Certainly.


21   Q       By    Mr.       Wentz            For    about       the    next       20    minutes             I




22   would       like    to       talk       to    you    basically          about       who      you        are


23   and    what    you       think          and    what       you    feel    because             ultimately

24   12    people       are       going       to    sit    in    judgment          of    a    case      brought

25   by    the    State       of       Texas       and    its        always       been       my   thought            that
                                                                                                                                             218




 1   when       it    comes           time      to    make          real            important decisions                          its

 2   the    values           and          beliefs         that       each            person          has        that       go    into




 would-6
 3   the    or       the     shaping            of    how       they           come        to       the    decision              they


 4   do    and       influence              the      decision                 that        they       do.


 5                                    So       as    we       talk        I    would        like           if       you


     to    share           with       me    your      thoughts                 and        feelings             you     might          have


 7   about       the        subjects            that          were            talking           about.              And     you       said


 8   something              --       Im going             to    start               off   maybe           by    insulting

 9   you.


10   A      Thats            fine.


11   Q      You       said           something            I    want           to     make       sure       you        answer


12   the    question                 correctly.                When           you     were          visiting           with


13   Mr.    McClellan                 --    there         are       no        right       or        wrong       answers           only


14   what       you        feel       or    think         and       thats             all       that       I    care        about.


15   A      Sure.


16   Q      On       Page        6    of    the      questionnaire                        youre           asked        to       answer

17   a    few    series              of    agree/disagree                      statements.                     And     one       of


18   them       is         Obedience                and       respect               for   authority                 are     the       most


19   important             virtues             children             should            learn.              And       you     said


20   that       you    strongly agree                         with       that.            Can        you       tell       me     the


21   reason          that        you       answered            in    that            respect

22   A      Was       it     No.          12

23   Q      No.       12         yes.


24   A      Okay.            Im going                to       answer           it     how       I    interpreted                 the


25   question.               I       might     have           did    it       wrong.                To   me     I    was
                                                                                                                                        219




 1   thinking         the       question                 was       asking       that          children          their


 2   virtues      as       them          growing           up       the       way       they       turn    out       is    going




 they-6
 3   to    reflect         on       them          from     the       way       they          were    brought          up      as



 4   opposed      to       obedience.


 5                                  To       me    when        I    think       of       that       where       are


     corrected         as       a    child                Did       they       get       away       with    anything

 7   they    wanted         were             they        taught          to    respect             certain          people         in



 8   positions as               far          as    what        is    wrong          and       right.


 9                                  Those          two     obedience                and       respect       as       far    as


10   the    virtues         of       children              should --                I    think       they       should

11   learn      that       in       order          for     them          to   make           strong       decisions

12   right      decisions                as       theyre            older.              Not    be    --    messed that


13   all    up    I    did.              Thats            what       I       thought          it    to    be.


14   Q      Dont       worry             at       all.         But       I    think          from    what       youre

15   telling me            is       that          you     do       feel       the       environment             in    which


16   children         is    raised                is     important             in       terms       of    how       they


17   ultimately grow                     up.


18   A      Definitely                   I    do.


19   Q     And    this          question                 talks       about          obedience             and       respect


20   for    authority.                   Do       you     think          that       love       and       respecting

21   others      are       important                   values        also       that          children          should        be


22   taught

23   A     Oh     yes.


24   Q     And    these             children              are       absolute             --    theres           a    little


25   bit   of    unfairness                   built        into          them.           I    would       like       for   you
                                                                                                                                               220




 1   if    you       could              to     turn       towards             the          end    of        the    questionnaire

     where                 were             asked        some       questions                   about        feelings             about
 2               you


 3   the    death          penitentiary                    at       this          point.              And     you       asked          these


 4   questions             before              you       had    this          elaborate                explanation                    given

 5   to    you.


 6                                      And     basically                off          the       top    of     your          head       what


 7   do    you       think             about        the    death          penalty




--10
 8   A      Meaning                what

 9   Q      In       other             words


     A      How       I    feel             about        another          persons                 ending           towards


11   that

12   Q      Yes           somebody              doing          something                   that       society           feels


13   that       the       death             penalty        is       an    option                for    if     they          did       that


14   thing       wrong.




--20
15   A      Okay.              Almost           kind       of       like          I    answered             earlier               I    do


16   believe          in       the          death        penalty.                 I    do       believe           that       in       some


17   cases       not       knowing              what       lead          up       to       that       moment           or    whats

18   happened              I       dont         believe             that          all          people       --     I    guess          its

19   kind       of    --       I       dont         want       to    contradict                   myself but

     Q      Youre              not.


21   A      I    do       believe              in    the       death          penalty                 yes.         I    guess          in


22   order       for       me          to     say    I    dont           have          a       problem       with           serial


23   killers          that             kill     several             people                 I    dont        have        a    problem

24   with       that.              I    mean         because             theyve                 killed       more           than       one


25   person          over          and        over.        Thats              a       role       theyre           taking              on.
                                                                                                                                         221




 1                                 If       a    person          just       killed            you       know           one


 2   person            depending                on       what    the       evidence           was       or


 3   circumstances                     what          that       could       be     a    whole          knew        I    mean

 4   reasoning.               I    mean              I    would       think        before          I    would          sit       there


 5   and     decide           yes           a    person          put       to    death.            If    I    was       a    juror


 6   in    that        case        I    would             really          have     to       know       the    evidence


 7   truly        factual          before                ending       a    persons            life.


 8   Q       You       know       that          one       of    the       allegations              contained                in    the


 9   States            case       is    that             Mr.    Mamou       allegedly took                    two       peoples

10   lives        in    the       course             of    the       same       transaction.


11   A       I    understand                that.


12   Q       In    your       mind does                   that       make       him     a    serial          killer              just


13   that        allegation

14   A       No        because          I       dont           know       what     the       evidence          is           what


15   happened           or what             lead          up    to    that       moment.


16   Q       Okay.        One          of       the       things          that     jurors          have       to       do    is



17   decide        whether             or       not       the    States           met        its       burden          of    proof


18   and     its        beyond          a       reasonable                doubt.            Now        this    is       your


19   first        experience                as       a    juror           correct

20   A       Correct.


21   Q       And       youve           had       some          conversations                 with       the    Judge


22   already about                 reasonable                   doubt.           Do     you       recall       some          of


23   those        words       he       mentioned                to    you       that        proof       beyond          a



24   reasonable           doubt             must be             proof       of    such        a    convincing

25   character           that          you       would          be    willing           to    rely and             act
                                                                                                                                             222




     1
         upon     it    without           hesitation                  in    the          most       important              of




 --8
     2   your     own     affairs.


     3                              So          youre          going            to       actually              get    a



     4   definition           for        it.         Did     you          understand                that

         A                     That                            be         the       one       putting           --        if    the
 5               Right.                        I.might


 6       person        was    guilty                yes     and       no        I    believe             it     was        I    dont

 7       have     a    problem putting                      somebody                to    death            I    mean


         Q      Why     not

 9       A      Well         one    of         the     questions                in       here       asked             Do       you


10       believe        in    like.an               eye.    for       an    eye          or    something              else.           And


11       I   didnt       pick       an         eye     for    eye          because             I    dont         always


12       believe        in    that.             I    guess        I       may       can       go    two        ways        I    dont

13       know.


14                                  I     believe            if       a    person             kills       somebody              else

15       murders        somebody               else         depending                on       the       reason        for       it

16       would        they    do    it         again          Why          did       they          do    it.


17       Q      So      lets        turn            from     those          concerns                that        you       have       about


18       somebody who              might            commit        a       capital          murder              and    look       at


19       Special        No.    1.         Thats             right          to       your       left.           And        you


20       understand           that        when        it     comes          time          to       answer        that          special


21       issue     you       will       have         at     least          at       the       very        very        least          the


22       evidence        of    the        crime            itself          because             all       this        guilt       or


23       innocence           evidence               will     come          forward             into       punishment

24       evidence.


25                                  And        at     that        point             youve           already           made       a
                                                                                                                                                         223



     1   pretty            important            determination                          this       person         has           committed

     2   societys             most          horrible               crime.               You       believe            it       beyond          a



     3   reasonable               doubt         and        you      believe              that          the      death          was       done


     4   intentionally.                      And         when       you       look           at    that         question              it      asks


     5   you     to    determine                a    couple             of    things               and       one      is       theres               -a




     6   probability                 that       the        defendant               would           commit            criminal              acts


     7   of     violence             in     the      future.


     8                                    Isnt           that       exactly              the       type         of    person             that


     9   you     would        expect            to       do       wrong       things              in    the      future              someone

10       who     would        commit            a    murder

11       A       Yes       and       no.        I    --
                                                              you       mean       if       somebody             --       if       the     State


12       was     able       to       show       --       prove          evidence                 that        yes          he       was


13       guilty of           the       murder             and       he       did       the        murder             well          then       we

14       already           know       that          No.       1    would       be           yes        hes           guilty.

15                                     And          then          the    next          one        would         be            Well         do


16       you     think       he       would          do       it    again               I        dont       know.              I    mean

17       its      different                on       each          person           I    guess           because                I    dont

18       know     him.           I    dont           know          anything             about          the       case.             I dont
19       know.         I    havent              read       nothing             in       the       papers.                 I    dont           know


20       anything.               And       every          individual                   person          is       different                to     me.


21       Q      And        you       know       though             in    answering                Special             Issue          No.        1



22       its     just        not       a    possibility he might                                  do    it        its              more


23       likely        than          not.           In    other          words              it    has       a   more           than      a      50


24       percent           chance          at       the    very          least

25       A      Right.
                                                                                                                                                          224




     1   Q         And      you           get        to       determine              for       yourself what                     those


     2   words          mean          to       you.            And     it       asks       you    to        look        at       his     future


     3   behavior               not        just           in        terms       of       would    he        do    something                  wrong


     4   but       would             it    be       a     wrong        of       such       a    magnitude               that       it    would


     5   be    a       criminal                act        of        violence             that    would           constitute              a            -




     6   continuing                   threat              to        society              which    is         I    think            a    step


     7   above         many           types             of     criminal              acts.


     8                                         Would           you     agree             with    me

     9   A         Right              I    do.




--14
10       Q         Have         you        ever           thought           about          what       it     would           be    like       to


11       spend         40       years              in    prison




--15
12       A         Honestly                    no         I    have       not.


13       Q         Certainly                   a    substantial                 amount           of        time


         A         Can      I    say           one       thing         though

         Q         Please.


16       A         I   thought                 about           it    to     a   degree           whereas           and       I    think           I




17       put    on      here              in       some        cases        where          someone          commits              murder

18       depending               on        the          individual                   I   think        sometimes              its         better

19       for    a      person              to       receive           life       imprisonment because

20       depending               on        that         person            the    death           penalty           --    how           can    I




21       say    this            --        giving              them    the       death           penalty            well          that        would

22       be    like         a    way           out      for         somebody             in     some       cases.


23                                             And      other         persons             that        if    they        have       like


24       morals         and          they          care         what        about         they        did        are    remorseful

25       for   what             they           did      that         they       have          this     40        years       to    think
                                                                                                                                          225



     1       about       what       they     did.


     2       Q      And        thats        at    least        40           years      could        conceivably            be


     3       more.


     4       A      Exactly.            And       that        40        years          I    mean        thats       something

     5       they       have     to    live       with      the             rest     of     their       life       and    nobody


     6       can    make        them    feel       any      differently about                           it.


     7   Q          The        Judge    was       speaking              to       you       about       prison       this


     8   morning.               Had     you       ever      thought                about         prison       being       our


     9   society

10       A          What       do     you    mean           Oh          yes          whenever           somebody says

11       the        community           or       society           I    think          of       everybody.           I    really

12       never           thought        about          it   any         other          way.

13       Q          So    prison        as       you    see        it       is   a    part        of    our    society

14       A         Uh-huh.


15       Q          Im sure            you       appreciate                 that       living          in   prison        is    a



16       whole           lot    different              than        living            in     the    world       you       and    I



17       live        in.        Basically              behind           bars.


18       A         Right.


19       Q         Around        policeman              but    certainly                    there       are    a   lot     of       the


20       guards           and    they        live       under           different               rules       and    regulations

21       you       and     I    live     under.             What            may be          a   prison        offense          is


22.      what       we     might       do     everyday                 of    the     week         and    nothing         happens


23       to      us.


24       A         Right.


25       Q         Do     you    think        prison          can           change         people
                                                                                                                                                               226




     1   A       Depending                  on        the        person               possibly.                     I    really            dont

     2   know.


     3   Q       I        think       you        stated                  on     Page    14       you       were               given        prison

     4   makes            convicted              people                  worse        and    you        disagree                 with          that.


     5   Do    you         see    it         No.           16

     6   A      Uh-huh.                 I    see.                Okay.            Prison          making                 convicted              people

 7       worse              I    dont            see             I       guess.         No        I    do       disagree.


 8       Q      In        what        way




--13
 9       A      Meaning               if     a       person               is     in    prison          for              committing              a



10       crime            such    as        murder               I       dont         know       how       it           can     make       a



11       person           any     worse              if     theyre                not       out       to    do           it     again          other


12       than        if     they       cant.                     I       dont         know        Im        just


         Q      Youre             doing              fine.                Dont         worry.


14       A      Im just                saying               I        dont         know.           Its           hard            for    me


15       because            Im        not        in        their              shoes.         I    dont                  know.         Im just

16       trying           to     assume              what            a    person        would          feel.                  Youre            asking

17       me    questions               --                 filled           this        out       trying             to
                                                 I                                                                            imagine

18       myself.


19                                          Would           it           make    any        worse               I        dont         know.               It


20       would        depend           on        each           individual               person.                    Some         people             it


21       may     some            people              it     may not.

22       Q      Have            you    ever           heard               of    cases        where          somebody                  is    found


23       guilty of               something                  actually              punished                 for           a    crime        and       it


24       was    later            determined                     that           they     were          not       guilty of                  crime


25       and    they            were        released                       Have        you       ever       heard              of     that
                                                                                                                                                   227




     1   happening                  Comes            up    in           the     news         every          now    and         then.


     2   A       Im       sure          I     have.             I       cant         think         right          off     the       top     of


     3   my    head.           I    dont             --    I        cant            think         of       anything.


     4   Q      Look          at    Special               Issue              No.     2       and       I    think       that        issue


     5   comes       at       the       tailend            of           this        process            and    it    gives           you     the


     6   opportunity                to        rethink               everything                thats           gone        before          you

     7   the    finding             of        guilty whether                         or      not       the    person           is    going


     8   to    be    a    future              danger           to        society.


     9                                      And      it    gives              you       as    a    member          of     society           one


10       last       chance          to        look        at        that       person             and      decide         if       this     is


11       really          the       right          decision                   and    you       find         there        is     a



12       circumstance                   or     circumstances                        that          warrant          life        you     can


13       say    so       at    that           point.


14                                          You    sort             of       indicated             when       you       were        filling


15       out    the       questionnaire                        in        Question             68       you    really           didnt

16       understand                or       fully         think              about       mitigating                evidence            when


17       you    answered                it.        Do      you           have       a     better           idea     about           that


18       now

19       A      Somewhat                from what                   I    understand                they       were       saying.


20       Q     Basically                    its        saying                that       you   may          see     in    terms         of    the


21       person       the          crime          or      all           of    the       evidence             put    together              that


22       leads       you       to       believe            that              life       is    really          the       proper         thing


23       for   the       person               even        though              he    may be          a      murderer             even


24       though       in       your mind.he                     may be              a     future           danger            theres

25       something             about           the        case               something             about         the     person         that
                                                                                                                                                                 228



     1       warrants            him        living                 forever.


     2                                      How           do        you       feel           about        answering                   that           type


         of     question



     --5
     3




     4   A         Well


         Q         Do    you       think             you            can       answer               the    question                                           -




     6   A         Well           Im        going                  to    because              if     I    was       picked                 as    a    juror


     7   thats           the       question                    that           may        come        up       that          I    would           have       to


     8   answer          depending                   on        what           that        part           of    the          trial           would       be.




--14
     9   I    do     believe               that           theres               a        lot    that           you       have         to         look    at

                                                                                                                                 thats




--13
10       a    lot       of       the       evidence                     that       you        have        to    know                                 factual


11       and       believe                 in    as        I        said       earlier                   before             you      would           want


12       to    make          a    decision                I        mean

         Q         The       question                asks               you    to        look       at        the       case         and


         A         Right.


15       Q         --    as       well          as    the                                     And                               find        from
                                                                    person.                              you    may

16       looking             at    the          case           theres                something                 that         may bother                  you

17       about          the       case           something                     that           is    still           a       lingering

18       problem.                 Do       you       think               in    that           circumstance                      you        could        say

19       okay           fine           I    do       believe                  thats            something                    Im not

20       satisfied                and       that          person               should              receive              a   life           sentence

21       because          of      my        uncertainty                        in       this        area

22       A      You       mean             during              trial           could           I
23       Q      Oh        yes.


24       A      If       that          came          --             mean                      believe               in
                                                               I                if       I                                  something

25       differently                   I    dont              have        --        I    will        disagree                   if     I    disagree
                                                                                                                                                             229



     1       with         other          people.                  If       I    believe             something             or    if        I   see       it


     2       another            way           Ill         speak            up    and       say       this       is       why    I    think          that


     3       and      its           different                 I    will              yeah.


     4       Q        And       I    think              thats              always          a    concern             with       young          people


     5       because            they          may        be       surrounded                   by    people          who       are    older              -




     6       than         themselves.                     Is       that         what           youre          telling           us




     --9
     7       A        I   would              not     be       intimidated by                         someone          that          was       older


     8       and      telling

             Q        And    you             wouldnt              change              your          mind

 10          A        Not    if          I    believe             in       something.

11                    One    of          --       the     State            has             do                                         evidence
             Q                                                                       to             is    provide           you

12           and      comes         from witnesses.                               Have                   ever
                                                                                               you                  thought           a       witness


13       might            lie                Have        you      ever          thought             that       a    witness           would

14       lie

15       A          Im      sure.


16       Q         Yes.             And           you     realize               sometimes                that       the    case           could

17       conceivably                         be     hinged         on          whether          or       not              believe
                                                                                                                   you                        a


18       witness            that              you        thought               was    lying.              This       morning              the

19       Judge            says       you            not    only            have       to       look      at        the                        but
                                                                                                                          message

20       look         at    the          messenger.                        Would                    be   able        to    do       that            A
                                                                                       you

21               Oh       yes.

22       Q         What         things              do                 think          are                                for          to          know
                                                           you                                  important                       me

23       about            you       as       my     last          question             to       you      this        afternoon

24       A         Ill          just              tell     you         a       few    things.             I     really          dont              know.

25       1       know      that          I     am       nervous.                 I    mean           like       I    said       Ive           never
     out-2
                                                                                                                                                                230




     some-3
     1   done       anything               like       that.                  Im an         honest              person.            Im

         spoken.            Ill            speak          my    mind           if    I    dont             understand


         thing.         Ill           be        the       first           to    say       it        if     I       disagree               Ill

     4   say    it.         Im a               family-oriented                       person.                   I    do    have        a



     5   family.            I    mean            I    dont               know       what       else.                                                    -




     6   Q      This        is    all          very         unfair             youre           sharing               so    much           of


     7   yourself with                 us        and       were              not     revealing                     very    much           about


     8   ourselves.               I    would              like        to       thank       you           very        much       for           being


     9   so    forthcoming                  and       talking                with     me.


10       A      Sure.            No    problem.


11                                     THE           COURT               Thank           you         sir.           Ms.     Risky                  in


12              just    a        second              Im going                  to    excuse              you.         Before              I       do        I




13              will    tell           you           we    want          you        back       on        Wednesday           the              29th


14              of    September                      which       I       believe           to       have           been     three                 weeks


15              from    yesterday.                         In    just           a    second              Ill        give     you              a



16              reminder and                    where           we       want        you       to        be.


17                                     First              off        I       want     to       tell        you       between                  now


18             and     when           we       do     see       you          again         please              dont         you       alter


19             your     lifestyle                     one       bit          for    us.         You        do       your     family

20             things            personal                 things              just       exactly               as    the    way               you

21             ordinarily                  do       them.            Do       your       work            things          just     like              you

22             ordinarily                  do.


23                                     If       you       have           a    chance           to        leave       town        for           a


24             time         take           a    chance           and          go.        The        only           thing    I     do          ask


25             of     you       between              now        and          when    we        see       you        again        is       this
                                                                                                                                231




     1   Please        do     not     talk        about         this        case      with        anybody.




     for-6
     2   Please        do     not     let     anybody               talk     about         this        case        with


     3   you.


     4                        Now   when          I    say      talk        about      the        case        Im.not

     5   talking         about      going             back      and    making          arrangements

         being     down        here.          Im talking                    about      the        details           of    the


     7   case.         Between         now        and      when       we     see      you      again          if


     8   theres          any    news        media          coverage             regarding              this        case

     9   avoid     it.         If   theres              any      television                   refuse          to    watch

10       it.      In     the    newspaper                  refuse          to     read      it.         On     the


11       radio         refuse       to      hear        it.


12                            And   the      reason              Ms.       Risky         for       each        of       those


13       five     restrictions               is        for      the    purpose           of       accomplishing

14       the     same     objective               and      thats           this          If       you    do        become

15       a     juror     in    this      case         the       decision             that     you       wind        up


16       reaching        whatever            that          decision             happens           to    be     must       be


17       based     exclusively               upon          the      information               you       receive


18       from    within         the      courtroom.


19                            VENIRE        PERSON            SIBLEY              Right.

20                          THE     COURT               And      cant           in   any      way       be


21       affected        or     influenced                 by    any    outside             the        courtroom

22       information.               So       it       is      for     this        reason          we    try        to    make


23       this    as    pristine           an      operation             as       possible.               If        you

24       need    something            for      the         folks       at    work       to        show       them


25       where    you       have      been        for        what      is    it      now      the       last        three
                                                                                                                                  232




     at-6
     1   days       with      us     this       is    the    reminder note                       that       where       we


     2   want       you    to       be    and     when      we    want           you       to    be    here


     3   Wednesday              September             29th        right          outside              the    door       at


     4   930.

     5                        Now        were        going       to    have            I    guess           right


         50   people.               If    we    can    get       everybody                 here       on    time       and


     7   if   we    can       get        started       on    time          everybody               will      be       out    of


     8   here      by    noon.            Everybody          will          leave           on    this       day


     9   knowing         definitely whether                       they       are           or    are       not    a



10       juror      in     the       case..


11                            Before           you    leave           do    you    have            any      questions

12       at   all       for    me

13                            VENIRE           PERSON       SIBLEY               No         sir.


14                            THE        COURT        With       that        youre               excused.


15       Thank      you       very        much.       Look       forward           to           seeing       you.

16                            MR.        MCCLELLAN            Thank          you           maam.

17                            THE        COURT        This       is        off    the           record.


18


19


20


21


22                            Court adjourned                    for       the     day.

23


24


25
                                                                                                   233




         1




         2



         3    THE    STATE      OF   TEXAS

         4    COUNTY       OF   HARRIS


         5

                       I
                       Wendy Wilkerson   Deputy. Official Court Reporter
         6   in and for the 179th District  Court of Harris County
             State of Texas  do hereby certify that the above   and
         7   foregoing pages contain a true and correct transcription
             of all  portions of evidence and other proceedings
         8   requested in writing by counsel for the parties to be
             included  in this volume of the Reporters  Record   in the

         9   above-styled   and numbered cause all of which  occurred  in

             open    Court      or   in   chambers    and    were   reported      by    me.
        10


        11             I         certify that this Reporters
                            further                           Record of
             the proceedings   truly and correctly reflects  the exhibits
        12   if any   admitted  by  the respective parties.


        13
                       WITNESS       MY    OFFICIAL    HAND     this    the    17th    day    of
        14   March     2000.


        15


        16


        17
                                      -




                                           ---WENDY    _
                                                     WIL    ERSON
                                            Deputy Official Court
                                                                       Texas
                                                                              dýý1
                                                                                CSR
                                                                               Reporter
                                            179th District Court
        18                                 Number     5744
                                           CSR. Expiration  12/31/99
        19                                 Business Address
                                            4314Piney Creek Lane
        20                                 Houston  Texas 77388
                                            281      353-9717
        21                                 Cause     No.


        22


        23


        24


        25

    1
i
